                                                                                                                        LYN / ALL
                                                                                                     Transmittal Number: 26985987
Notice of Service of Process                                                                            Date Processed: 05/24/2023

Primary Contact:           Melissa Hairston
                           State Auto Financial Corporation
                           518 E Broad St
                           Columbus, OH 43215-3976

Electronic copy provided to:                   Andrea (State Auto)
                                               Pamela Albery
                                               Suzanne Landacre
                                               Claim Service Dept
                                               Emilee Hanson
                                               Brittany Sheveland
                                               Janet (State Auto)

Entity:                                       State Auto Property & Casualty Insurance Company
                                              Entity ID Number 3047578
Entity Served:                                State Auto Property & Casualty Ins. Co.
Title of Action:                              Volunteer Management & Development Company Inc vs. State Auto Property &
                                              Casualty Insurance Company
Matter Name/ID:                               Volunteer Management & Development Company Inc vs. State Auto Property &
                                              Casualty Insurance Company (14111899)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Marshall County Circuit Court, TN
Case/Reference No:                            23-CV-13
Jurisdiction Served:                          Tennessee
Date Served on CSC:                           05/24/2023
Answer or Appearance Due:                     30 Days
Originally Served On:                         TN Department of Commerce and Insurance on 03/03/2023
How Served:                                   Certified Mail
Sender Information:                           Berkley Law Firm, PLLC
                                              901-800-8349

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                                                                                  Exhibit 1-1
           Case 1:23-cv-00041              Document 1-1            Filed 06/20/23          Page 1 of 137 PageID #: 6
       3     Department of
  .~   Commerce &
 =..Insurance




May 18, 2023




State Auto Property & Casualty Ins. Co.                               Certified Mail
2908 Poston Avenue C/O C S C                                          Return Receipt Requested
Nashville, TN 37203                                                   7020 1290 0001 6213 3692
NAIC # 25127                                                          Cashier # 231821

Re:    Volunteer Mgmt & Dev Co Inc V              State Auto Property & Casualty Ins. Co.

           Docket # 59Cc12023Cv13


To Whom It May ConcerrY

Pursuant to Tennessee Code Annotated §56-2-504 or § 56-2-506, the Department of
Commerce and Insurance was served March 03, 2023, on your behalf in connection with the
above-styled proceeding. Documentation relating to the subject is herein enclosed.

Designated Agent
Service of Process

Enclosures

cc: Circuit Court Clerk
    Marshall County
    301 Marshall County Courthouse
    Lewisburg, Tn 37091




                        State of Tennessee, Department of Commerce & Insurance
             500 James Robertson Parkway, Service of Process - 10th Floor, Nashville, TN 37243
                                  Service.Processantn.gov; 615-532-5260


 Case 1:23-cv-00041           Document 1-1        Filed 06/20/23     Page 2 of 137 PageID #: 7
  3/16/23, 11:32 AM                               STATE AUTO PROPERTY 8 CAS INS CO - Demotech




            Home / Financial Stability Ratings° / STATE AUTO PROPERTY & CAS INS CO



                       Demotech

           STATE AUTO PROPERTY & CAS INS CO
           NAIC: 25127
           NAIC Group: STATE AUTO                MUTUAL
           GROUP




           Additional Company Information
           Cumulative SPEQUELLAE (Unadjusted) Realization 2015-2019 as of 12/31/2020:
          100+
          Frequency of SPEQUELLAE (unadjusted) Realization: 4 out of 5 years




                Case 1:23-cv-00041        Document 1-1     Filed 06/20/23      Page 3 of 137 PageID #: 8
https://www.demotech.com/company/25127/
 Marshall County Circuit Court
     302 MC Courthouse
                               STATE OF TENNESSEE          Case Number
    Lewisburg, TN 37091            CI'VIL SUMMONS        59CC1-2023-CV-13
          931 359-0536                   page 1 of 1
     VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC vs STATE AUTO
                           PROPERTY & CASUALTY INSURANCE          o
 Served On:
       STATE AUTO              518 EAST BROAD STREET
      PROPERTY &
                               COLUMBUS, OH 43215                                                                                  U
                                                                                                                                   CD
        CASUALTY
     INSURANCE CO.                   t`1 L1.1                                                                                                cr. -_• ; .
 You are hereby summoned to defend a civil action filed against you in Marshall County Circuit Court, Marshall County, Tennesse. Yop;defeinse
 must be made within thirty (30) days from the date this summons is served upon you. You are directed to file your defense with~e c1erJ—o₹,lhe court
 and send a copy to the plaintifPs attorney at the address listed below. If you fail to defend this action by the required date, jud nt by default may
 be rendered against you for the relief sought in the complaint.                                                                           ..
                                                                                                           .. ~                              • • -
 Issued: 1/30/2023                                                                                                     /'W;   ra4e'
                                                                                     Clerk /    puty Clerk - Marshall Couiitytircuif Court
 Attomey for Plaintiff:    DRAYTON D. BERKLEY


                                                    NOTICE OF PERSONAL PROPERTY EXEMPTION
 TO THE DEFENDANT(S): Tennessee law provides a ten thousand dollar ($10,000) personal properry exemption as well as a homestead exemption
 from execution or seizure to satisfy a judgment. The amount of the homestead exemption depends upon your age and the other factors which are
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 written list, under oath, of the items you wish to claim as exempt with the clerk of the court. The list may be filed at any time and may be changed by
 you thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment
 issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed; these include items of necessary
 wearing apparel (clothing) for your self and your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family
 Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do not understand your exemption
 right or how to execute it, you may wish to seek the counsel of a lawyer. Please state file number on list.
 Mail list to    Michael Wiles, Marshall County Circuit Court Clerk, Marshall County
                 302 MC' C'onrthonse
                 Lewisburg, TN 37091
                                                     CERTIFICATION (IF APPLICABLE)
 I, Michael Wiles, Marshall County Circuit Court Clerk of Marshall County do certify this to be a true and correct copy of the original summons
 issued in this case.

 Date:
                                                   Clerk / Deputy Clerk — Marshall County Circuit Court
 OFFICER'S RETURN: Please execute this summons and make your return within ninety (90) days of issuance as provided by law.

 I certify that I have served this summons together with the complaint as follows:

 Date:                                                                            By:
                                                                                        Please Print: Officer, Title

 Agency Address                                                                         Signature
I RETURN ON SERVICE OF SUMMONS BY MAIL: I hereby certify and return that on                                                    , I sent postage
  prepaid, by registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint
  in the above siyled case, to the defendant                                . On                              I received the return receipt,
  which had been signed by _                            on                            . The return receipt is attached to this original
  summons to be filed by the Court Clerk.

 Date:
                                                                              Notary Public / Deputy Clerk (Comm. Expires                             )

  Signature of Plaintiff                                                 Plaintiff's Attorney (or Person Authorized to Serve Process)
                                                              return receipt on
 ADA: Ifyou need assistance or accommodattons because ofa disability, please call , ADA Coordinator, at
                                                                                                                                         Rev. 8/05/10


                Case 1:23-cv-00041                 Document 1-1              Filed 06/20/23              Page 4 of 137 PageID #: 9                          ~~
  Marshall County Circuit Court
      302 MC Courthouse
                                STATE OF TENNESSEE          Case Number
     Lewisburg, TN 37091             CIVIL SUMMONS        59CC1-2023-CV-13
         (931)359-0536                    page 1 of 1
      VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC vs STATE AUTO
                            PROPERTY & CASUALTY INSURANCE          a   ~
 Served On•                                                                                                                                   C''           -
         STATE AUTO              518 EAST BROAD STREET                                                                                        -r        ~—
         PROPERTY &
                                 COLUMBUS, OH 43215                                                                                           ~
          CASUALTY                           n                                                                                                O
     INSURANCE CO.                   ~~ ~ G oC               ~~.                                                                              T
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 and send a copy to the plaintiff's attomey at the address listed below. If you fail to defend this action by the required date, jud94vat by~iefault may
 be rendered against you for the relief sought in the complaint.

 Issued: 1/30/2023
                                                                                        Clerk /
                                                                                                      A       -           l
                                                                                                                          vd  ; L
                                                                                                   puty Clerk - Marshall County Circu' Court
 Attomey for Plaintiff:     DRAYTON D. BERKLEY


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 right or how to execute it, you may wish to seek the counsel of a lawyer. Please state file numbe
                                                                                                     VM 61ldersigned Circult Ca~rk 0I~rk, de horQay ~ ►~ ►
 Mail list to    Michael Wiles, Marshall County Circuit Court Clerk, Marshall County                 that this is a-tuue and correet copy of the origlrial of thfs
                                                                                                                G            C   111 iQg '

                 Lewisburg, TN 37091                                                                             ~^         da               Tyl,                   ~ p~3
                                                          CERTIFICATION (IF APPLICABLE) Thls                                     y Of~~G            ~
 I, Michael Wiles, Marshall County Circuit Court Clerk of Marshall County do certify this to be a~e~ndsorr r h~~pf~ttrig,~iaf, ~usu                         ns—Clerk.
 issued in this case.                                                                                          /S .

 Date:
                                                    Clerk / Deputy Clerk — Marshall County Circuit Court
 OFFICER' S RETURN: Please execute this summons and make your retum within ninety (90) days of issuance as provided by law.

 I certify that I have served this summons together with the complaint as follows:

 Date:                                                                               By:
                                                                                           Please Print: Officer, Title

 Agency Address                                                                            Signature
I RETURN ON SERVICE OF SUMMONS BY MAIL: I hereby certify and return that on                                                    , I sent postage
  prepaid, by registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint
  in the above siyled case, to the defendant                                  On                              I received the return receipt,
  which had been signed by                              on                            . The return receipt is attached to this original
  summons to be filed by the Court Clerk.

 Date:
                                                                                 Notary Public / Deputy Clerk (Comm. Expires                                    )

  Signature of Plaintiff                                                  Plaintiff's Attorney (or Person Authorized to Serve Process)
                                                               return receipt on
 ADA: Ifyou need assistance or accommodations because of a dtsabiltty, please call , ADA Coordfnator, at
                                                                                                                                                    Rev. 8105110

               Case 1:23-cv-00041                   Document 1-1               Filed 06/20/23              Page 5 of 137 PageID #: 10
Marshall County Circuit Court STATE OF TENNESSEE
    302 MC Courthouse                                     Case Number
   Lewisburg, TN 37091            CIVIL SUMMONS         59CC1-2023-CV-13
         931 359-0536                   page I of 1
    VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC vs STATE AIJTO
                          PROPERTY & CASUALTY INSURANCE
Served On•

    STATE AUTO                 518 EAST BROAD STREET
    PROPERTY &                                                                                                                    a
                               COLUMB S, OH 43215
     CASUALTY
   INSURANCE CO.                             N t (i               a,                                                                      rr~rrl
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You are hereby summoned to defend a civil action filed against you in Marshail County Circuit Court, Marshall County, Tennessee. Youldt ense
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be rendered against you for the relief sought in the complaint.
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Issued: 1 /30/2023
                                                                                     Clcrk /~puty.Clerk - Marshall Count)rCiicuid Court
Attorney for Plaintiff:     DRAYTON D. BERKLEY


                                                   NOTICE OF PERSONAL PROPERTY EXEMPTION
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Mail list to     Michael Wiles, Marshall County Circuit Court Clerk, Marshall County
                 102 MC C:rnirthn lc .
                 Lewisburg, TN 37091
                                                       CERTIFICATION (IF APPLICABLE)
I, Michael Wiles, Marshall County Circuit Court Clerk of Marshall County do certify this to be a true and correct copy of the original summons
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Date:
                                                  Clerk / Deputy Clerk — Marshall County Circuit Court
OFFICER'S RETURN:.Please execute this summons and make your return within ninety (90) days of issuance as provided by law.

 I cert9fy that I have served this summons together with the complaint as follows:

Date:                                                                            By:
                                                                                       Please Print: Officer, Title

Agency Address                                                                         Si nature

RETURN ON SERVICE OF SUMMONS BY MAIL: I hereby certify and return that on                                                      , I sent postage
prepaid, by registered return receipt mail or certified return receipt mail, a certified copy  of the summons     and a copy   of  the complaint
in the above styled case, to the defendant                                  On                                I received the return   receipt,
which had been signed by                              on                              The  return  receipt is attached to this  original
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 Date:
                                                                              Notary Public / Deputy Clerk (Comm. Expires                          )

 Signature of Plaintiff                                                   PlaintifPs Attomey (or Person Authorized to Serve Process)
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 ADA: Ifyou need assistance or accommodations because of a disability, please call , ADA Coordinator, at
                                                                                                                                         Rev. 8/05/10

               Case 1:23-cv-00041             Document 1-1              Filed 06/20/23             Page 6 of 137 PageID #: 11
MarshaIl County Circuit Court
    302 MC Courthouse
                              STATE OF TENNESSEE .        Case Number
   Lewisburg, TN 37091            CIVIL SUlYIMONS       59CC1-2023-CV-13
         931 359=0536                   page I of 1
    VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC vs STATE AIJTO
                          PROPERTY & CASUALTY INSURANCE          o   ~~
Served On:                                                                                                                               `-''   fC~
     STATE AUTO                518 EAST BROAD STREET                                                                                     `       ~^
     PROPERTY &
                               COLUMBUS OH 43215
        CASUALTY                              '                                                                                          a
   INSURANCE CO.                             ~    Q~ C. ~.        s( o~+l                                                                       ~r~.~;~
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Issued: 1/30/2023                                                                                   mj          ~o lvd;
                                                                                     Cle:k/      puty Cler:: - Ivlarshall County Circu' Court
Attomey for Plaintiff:     DRAYTON D. BERKLEY


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right or how to execute it, you may wish to seek the counsel of a lawyer. Please state file numbStrpffMF TENNESSEE, MARSHALL COUNTY
Mail list to     Michael Wiles, Marshall County Circuit Court Clerk, Marshall County             I,.. the undersigned Circuit Court Clerit, do hereby certify
                                                                                                       ..        .      I_  ____   ---- _fiL_         -IIL:-



                Lewisburg, TN 3709I                                                                   instrument filed in this catise.
                                                    CERTIFICATION (IF APPLICABLE
                                                                                              ?his               day of_. VAk1UAA V
I, Michael Wiles, Marshall County Circuit Court Clerk of Marshall County do certify this to be a true and correct co of e on m su onbi0 ~
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                                                                                          Please Print: Officer, Title

Agency Address                                                                            Signature
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in the above slyled case, to the defendant                                   On                             I received the return receipt,
which had been signed by                              on                            . The return receipt is attached to this original
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 Signature of Plaintiff                                                         Plaintii₹'s Attomey (or Person Authorized to Serve Process)
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ADA; Ifyou need asststance or accommodattons because of a dfsability, please call , ADA Coordfnator, at
                                                                                                                                                Rev, 8/05/!0

             Case 1:23-cv-00041                   Document 1-1               Filed 06/20/23                Page 7 of 137 PageID #: 12
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Marshall County Circuit Court
    302 MC Courthouse
                              STATE OF TENNESSEE          Case Number
   Lewisburg, TN 37091            CIVIL SiTMMONS        59CC1-2023-CV-13
        931 359-0536                    page 1 of 1
    VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC vs STATE AIJTO
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Served On•                                                                                                                              ``'
     STATE AUTO               518 EAST BROAD STREET
                              COLUMBUS, OH 43215                                                                                        a                ~~ ~
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   'INSURANCE CO.                       p►-t ( I        S 1
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Issued: 1/30/2023
                                                                                    Cle;k; )-bYuty Cleri: - Marshall County Circu' Court
Attorney for Plaintiff:   DRAYTON D. BERKLEY


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                                                                                                                                                     Rev, 8/05/10

               Case 1:23-cv-00041                  Document 1-1            Filed 06/20/23              Page 8 of 137 PageID #: 13
   IN THE CIRCUIT COURT OF MARSHALL COUNTY, TENNESSEE FOR TW~
            SEVENTEENTH JUDICIAL DISTRICT AT TENNESSEE

  VOLUNTEER MANAGEMENT &                                                                 ~.   • --+ c:
  DEVELOPMENT COMPANY INC;
                                                                                         ..   r-; ..
                                                                                              ~-►~;_;
  Plaintiff,
                                                CASE NO, 2        3--
  V.                                                                     C- V•--

  STATE AUTO PROPERTY &
  CASUALTY INSURANCE CO.

  Defendant,


       COMPLAINT TO COMPEL APPRAISAL AND BREACH OF CONTRACT

          Comes now Volunteer Management & Development Company Inc., by and

  through counsel, and requests this Honorable Court to select an umpire and order the

  carrier to comply with the appraisal provision and identify a competent appraiser to

  participate as authorized in the homeowners policy; and does show this Honorable Court

  the following:

  1.       Volunteer Management & Development Compariy Inc. "Plaintiff', is a

  Tennessee corporation conducting the business of property management and owns the

  insured premises locations covered by policy No. PBP 2864751.

  2.      State Auto Property & Casualty Insurance Company ("Defendant") is a foreign

  corporation that conducts the business of insurance in Tennessee and may be served with

  process by any means authorized by Rule of the Tennessee Rules of Civil Procedure.


  i For purposes of judicial economy, only the Declarations Page and Appraisal
  provision of the policy are attached as Exhibit "A", to preclude the necessity for the
  Judge to "rifle through" a voluminous policy to locate the limited provisions
  relevant to this proceeding (e.g. the Appraisal Provision)

Case 1:23-cv-00041      Document 1-1        Filed 06/20/23     Page 9 of 137 PageID #: 14
  3.      Defendants issued Policy No. PBP 2864751 to Plaintiffs providing coverage for

  direct physical loss that occurred on multiple locations and was in effect on the date of
                                    ,
  loss of December 10, 2021 with all of the locations assigned Claim No. PR-0000000-

  400349. Excerpts of the policy (declaration pages, Appraisal, and Loss provisions) are

  attached herewith as (Exhibit "A").

  4.       Defendants have extended coverage and paid certain amounts for storm damages

  at each location, however, desk adjuster Mike Wakefield provided Plaintiffs with a letter

  from Engineering & Environmental Services Group, (EES) to Mike Wakefield, and dated

  June 29, 2022 (See Exhibit "B") detailing the results of their June 1-2 2022 inspections.

   5.       Upon review of the report. Plaintiffs discover that EES had failed to properly

  inspect the subject properties, failed to show the blatant damages to the roofs, exterior

  claddings, that had been previously photographed and documented by Plaintiffs Public

  adjuster and other consultants, and sent to EES prior to inspections. See Exhibit B and B1

  6.       The report goes as far as to falsely accuse the Public Adjuster of causing damage

  to a shingle he was pointing out to them that was clearly dated damage and violated his

  rights as an insurance professional. (Pg 34 of Exhibit B)

  7.            In a follow up June 30, 2022 denial letter, Defendants admitted to making

  payments for each location and relying on the EES report to support the denial of

  coverage. Defendants also knowingly, and repeatedly, misrepresented the policy

   coverage term of deterioration and wear and tear (existing conditions) as "causes of loss"

  to deny coverage to Plaintiffs throughout the letter but the payments Defendant admits to

  making to Plaintiffs on the second page is still subject to appraisal process.

   See Exhibit C




Case 1:23-cv-00041       Document 1-1       Filed 06/20/23      Page 10 of 137 PageID #: 15
  8.       Due to the insufficient payments on each location and the debris removal dispute

  on several others, Plaintiffs submitted a written demand for appraisal to determine the

  respective amounts of loss at all locations on August 15, 2022, naming therein a

  competent appraiser, and pursuant to the policy term of appraisal,

  9.         Instead of naming their appraiser as required, Defendants adjuster, Mike

  Wakefield, responded the same day falsely stating they "needed specifrc detafls on the

  damage scope in disagreement before proceeding with appraisal ", after having reviewed

  their Public Adjusters' estimates for months, he knew this was a misrepresentation of

  policy coverage terms, and was certainly not a prerequisite to Defendants mandatory

  participation in the appraisal process or a policy condition Plaintiffs must comply after

  their proper demand.

  10.          All conditions precedents for notice to Defendants to identify a competent

  appraiser and choose an umpire have occurred, yet Defendants continue to refuse to

  comply and the process cannot proceed as mandated by the policy due to their inaction.

               COUNT I COMPEL APPRAISAL AND APPOINT UMPIRE

  11.          The policy appraisal provision provides as follows:
   Appraisal

  If we and you disagree on the amount of loss, either may make written demand for an
  appraisal of the loss. In this event, each party will select a competent and impartial
  appraiser. The two appraisers will select an umpire. If they cannot agree, either may
  request that selection be made by a judge of a court having jurisdiction. The appraisers
  will state separately the amount of loss. If they fail to agree, they will submit their
  differences to the umpire. A decision agreed to by any two will be binding. Each party
  will:


   i For purposes of judicial economy, only the Declarations Page and Appraisal
   provision of the policy are attached as Exhibit "A", to preclude the necessity for the
   Judge to "rifle through" a voluminous policy to locate the limited provisions
   relevant to this proceeding (e.g. the Appraisal Provision)

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  a. Pay its chosen appraiser; and
  b. Bear the other expenses of the appraisal and umpire equally.
  If there is an appraisal, we will still retain our right to deny the claim.

  12.          Both parties are entitled to an expeditious appraisal, pursuant to the policy

  language, with two competent appraisers and an impartial umpire, as these three are

  essential to an effective and fair process to determine the correct amounts of loss and

  both parties are mandated to participate.

                               II. UMPIRE QUALIFICATIONS

  13.          Although the policy provision does not outline the criteria to be used in the

  umpire selection process "Generally accepted insurance principles dictate only that 'an

  umpire selected to arbitrate a loss should be disinterested, unprejudiced, honest, and

  competent. "' Brothers v. Generali Us. Branch, No. CIV.A. 1:97-CV-798-MHS, 1997 WL

  578681, at *3 (N.D. Ga. July 11, 1997) (quoting 6 Appleman, Insurance Law and

  Practice § 3928, at 554 (1972». The umpire "should be impartial, honest, and competent,

  and should not live an unreasonable distance from the scene of the loss." Corpus Juris

  Secundum, Insurance § 1897 (2011) See, e.g., 6 Appleman, Insurance Law and Practice §

  3928, at 554 (1972); Corpus Juris Secundum, Insurance § 1897 (2011).

  14.     Petitioner proposes the individuals who are well qualified, have no business or

   personal relationships with either party, and meet the criteria described herein.

        a) Scott Heidelberg — TN — Certified PLAN Ump/Appr- CV attached
        b) Andy Fraraccio — Intrust Claims — CV attached
        c) Zach Baker — TN - The David Group - Certified Umpire — CV attached
        d) Mary Jo O'Neal — TN/Ind. Adj./- Certified Umpire-CV attached.
        e) Ben Perry -- TN / Dir. Of Appraisals — CV attached




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  15. This Honorable Court is authorized by the mutual consent of the parties', and as

  outlined in the policy appraisal provision, to choose an impartial umpire and/or a

  competent appraiser, if necessary, upon the request of either party.

                            COUNT V BREACH OF CONTRACT

  16.        The Plaintiff incorporates the foregoing allegations as if fu11y set forth herein.

  17.           Defendant has refused to pay the amounts owed to Plaintiff for the Loss

  pursuant to the insurance coverage afforded by the Policy.

  18.        Defendant materially breached the insurance contract by refusing to participate

  in the appraisal process after it was properly demanded by Plaintiffs.

  19.        Defendant breached its contractual obligations by failing to properly and

  reasonably inspect the Properties and failing to pay for cost related benefits to properly

  repair the Properties, as well as for losses associated with the subject loss event, including

  substantial business interruption costs.

  20.       . Defendant breached the contract by ignoring the objective evidence of storm

   related damage to the Properties roofing systems and exterior claddings.

  21.       Prior to making its determination on the Claim, Defendant retained the services

  of Engineering and Environmental Services Group, and they operated as an agent of

   Defendant who relied upon their report to wrongfully deny the claims through false reports.

   22.     EES's report stated there was no wind or haiI related damage to the buildings on the

   Properties, and no storm created damages found by their engineering inspections.




   i For purposes of judicial economy, only the Declarations Page and Appraisal
   provision of the policy are attached as Exhibit "A",'to preclude the necessity for the
   Judge to "rifle through" a voluminous policy to locate the limited provisions
   relevant to this proceeding (e.g. the Appraisal Provision)


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      23.        Plaintiffs Public Adjuster inspected the properties and his photographs clearly

      show EES failed to acknowledge blatant damage on all of the buildings at each location, and

      these damages occurred within the Policy period.

      24.        Nevertheless, Defendant refused to pay on the claim and relied solely on the EES

       report to deny the claim in full. Therefore, Defendant wrongfully denied Plaintiffls Claim

      and refused to issue a full and fair payment for the covered losses as Plaintiff was rightfully

       owed under the Policy.
                                                                 e


       25.       Defendant's investigation was unreasonable as it was outcome oriented with the

       intended purpose of denying the claim. Defendant ignored clear damage to the Property and

       did not provide any supplemental estimates for the damages. Nor did Defendant attempt to

       distinguish what damages may have resulted from what storm event.

       26.       Defendants reports are directly contradicted by photographic and eyewitness

       evidence..

J      27.       Specifically, Defendant, independently and through Engineering and

       Environmental Services Group, Inc, intentionally and knowingly conducted a substandard

       investigation of the Properties. This is evidenced by Defendant's failure to identify or

       photograph any of the obvious damage to the Properties. Defendant failed to include all

       necessary items Plaintiff is entitled to under the Policy to place the Property in replacement

       cost condition.

                                                 AGENCY

       28.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

       under the foregoing paragraphs.

       29.     All acts by EES were undertaken and completed by its officers, agents, servants,

       employees, and/or representatives. All such acts were either done with the full




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  authorization or ratification of Defendant and/or were completed in its normal and routine

  course and scope of employment.

  30.     Defendant's acts, omissions, and/or breaches, individually and through its agents,

  caused significant damage to Plaintiff, and were a proximate cause of Plaintiffs

  damages.

                              COUNT V INSURANCE FRAUD

  31. On August 15, 2022, Mike Wakefield, who is on information and belief is a resident

  if the State of Ohio, and whose business address is 518 East Broad St. Columbus, Ohio

  43215, and while in the Course and scope of his employment with State Auto, presented

  false information to an insurance professional related to a claim by falsely stating in the

  that Defendants "needed specific details on the damage scope fn disagreement before

  proceeding with appraisal ", when there is no such requirement in the express terms of

  the policy appraisal provision, and Wakefield's actions constitute a violation of the

  Insurance Fraud Act found at §56-53-103(a)(1) and has wrongfully delayed and denied

  the payment of benef ts to Plaintiff. A copy of this letter is incorporated herein by

  reference. See Exhibit C

  32. The actions of Wakef eld, EES, and State Auto were part of a pattern or practice of

  violation of the Insurance Fraud that authorize the Plaintiff to treble damages.

         WHEREFORE PREMISES CONSIDERED, PLAINTIFF requests the court grant

  his petition to compel appraisal, appoint umpire, award pre judgment interest, post-

  judgment interest, compensatory damages, attorney fees, treble damages, expenses and


  i For purposes of judfcial economy, only the Declarations Page and Appraisal
  provision of the policy are attached as Exhibit "A", to preclude the necessity for the
  Judge to "rifle through" a voluminous policy to Iocate the limited provisions
  relevant to this proceeding (e.g. the Appraisal Provision)


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  other damages and expenses authorized by §56-53-107 of no less than FORTY

  MILLIONS DOLLARS AND punitive damages of no less than FORTY MILLION

  DOLLARS.


                                                            Respectfully submitted,

                                                          Drayton D. Berkley, Esq.
                                                          Berkley Law Firm, PLLC
                                                           1255 Lynnfield Ste 226
                                                              Memphis, TN 38119
                                                              Phone: 901.800.8349
                                                     a tto rn ey b erkl ey n.am a il.co m
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           STATE AUTO®
~ r o'     Insurance Companies                                                               PBP 2864751                           02

          PREFERRED BUSINESS POLICY COMMON DECLARATIONS
 NAMED INSURED AND MAILING ADDRESS:                           AGENT NAME AND ADDRESS:
 First Named Insured Is Specified To Be:                      COMMERCIAL INSURANCE ASSOCIATE
 VOLUNTEER MANAGEMENT &                                       103 POWELL CT STE 200
 DEVELOPMENT COMPANY INC;                                     BRENTWOOD, TN 37027
 1001 AIRPORT RD
 FULTON, KY 42041

 POLICY PERIOD:                                                AGENT TELEPHONE NUMBER:                                         AGT. NO.

    From: 05/1212021       To: 05/12/2022                     (615) 515-6000                                               0002432
 COVERAGE PROVIDED BY:                                         A STATE AUTO INSURED SINCE:
 State Auto Property and Casualty Insurance Co.                                                2019
 AUDITABLE POLICY:          POLICY STATUS:                     AFTER-HOURS CLAIMS SERVICE:
 Yes                   ~ Renewal                                  1-877-SA-CLAIM or www.stateauto.com
The coverage and these declarations are effective 12:01 AM Standard Time on 0511212021 at the above mailing
address.
 BUSINESS ENTITY TYPE:                        BILLING ACCOUNT NUMBER:                  BILLING QUESTIONS?
 Corporation

 BUSINESS DESCRIPTION:      Apartment Buildings


Upon vafid payment of premium when due, these renewal declarations continue your policy for the period indicated.
In retum for the payment of the premium and subject to all the terms of this policy, we agree with you to provide the
insurance as stated in this policy.

PREMIUM SUMMARY BY COVERAGE PARTS AND POLICIES
This policy consists of the following coverage parts or policies for which a premium is indicated. This premium may be
subject to adjustment.

 COVERAGE PARTS                                                                                                  PREMIUMS
   Commercial Property Coverage Part
   Commercial General Liability Coverage Part
   Employment Practices Liability Coverage Part

 SELF-CONTAINED POLICIES
   Commercial Inland Marine Policy
   Commercial Umbrella Policy
                         Taxes and Surcharges:
                             Tax District:
                                  Fulton County
                                  Burkesville
                                  Albany
                                  Dixon
                                  Mayfield
                                  Princeton




 These declarations together with the Common Policy Conditions and coverage form(s) and any
 endorsement(s) identified on these declarations and attached to your policy complete the above
 numbered policy.
 Countersigned                                        By
                                    (Date)                                     (Authorized Representative)

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         PREFERRED BUSINESS POLICY COMMON DECLARATIONS



PREMIUM SUMMARY BY COVERAGE PARTS AND POLICIES (Continued)
This policy consists of the following coverage parts or policies for which a premium is indicated. This premium may be
subject to adjustment.

                                                                                                        PREMIUMS
                         Taxes and Surcharges:
                             Tax District:
                                   Glasgow
                                   Cave City
                                   Murray
                                   Russellville
                                   Bardwell
                                   Arlington
                              Kentucky Surcharge
                         Ten-orism (included in total below)
                         POLICY TOTAL AT INCEPTION




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                                  FORMS AND ENDORSEMENTS
                                   APPLICABLE TO ALL COVERAGE PARTS
NEW            FQRM OR ENDORSEMENT         ENDORSEMENT TITLE
                  AND EDITION DATE         (Only the endorsement titles are shown below, please review the
                                           form for a complete description of coverage.)


                 IL 00 17 11 98             Common Policy Conditions
                 SI 00 19 11 98             Common Policy Conditions Amendment
                 IL 00 03 09 08             Calculation of Premium
                 IL 02 63 09 08             Kentucky Changes - Cancellation and Nonrenewal
                 IL02500908                 Tennessee Changes - Cancellation and Nonrenewal
                 SI 00 17 11 98             Common Policy Conditions
                 SI 10 08 01 16             Common Policy Jacket
                 SI 11 0001 04              Installment Payments
     t           PN00830115                 Notice of Terrorism Insurance Coverage

`Indicates a new form has been added or a replacement form has been substituted for one of an earlier
  edition. Please retain all forms.



                          NAMED INSURED AND MAILING ADDRESS
In addition to the First Named Insured shown on page 001
of this-Declarations, the following are also named insureds:   Business Entity Type




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                       NAMED INSURED AND MAILING ADDRESS
In addition to the First Named Insured shown on page 001
of this Declarations, the following are also named insureds:      Business Entity Type




TURSKY CONSTRUCTION COMPANY                                        Corporation
LLC;




BTT DEVELOPMENT III LP,                                            Corporation
DBA MUR-CAL APARTMENTS;




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                      NAMED INSURED AND MAILING ADDRESS
In addition to the First Named Insured shown on page 001
of this Declarations, the following are also named insureds        Business Entity Type

BTT DEVELOPMENT III LP                                             Corporation
DBA PARKWAY SQUARE APARTMENTS;
BTT DEVELOPMENT III LP


DBA DIXON MANOR APARTMENTS;                                        Corporation
BTT DEVELOPMENT III LP
DBA MAYFIELD MANOR II
APARTMENTS;

BTT DEVELOPMENT III LP                                             Corporation
DBA LEGION MANOR APARTMENTS;




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Mi         Insurance ComPanies                                                         PBP 2864751                    02


        COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


.Blanket Summary Information
                                           COVERAGES PROVIDED
Insurance at the described premises appiies only for coverages for which a limit of insurance is shown.
            LIMIT               COVERED                                                  LOSS
             OF                 CAUSES                    COINSURANCE                  PAYMENT
COVERAGE INSURANCE              OF LOSS        DEDUCTIBLE       %                        BASIS               PREMIUM




Blanket Business Personal Property - Per Statement of Values on File with Company
                   $938,965 Special Form           $1, 000         100%         Replacement Cost
             Inflation Guard: 4%
                              Terrorism Insurance Coverage




 DESCRIPTION OF PREMISES              Premises 0001          Building 001


             Building Address                                              Construction/Protection Class

 1001 Airport Rd                                                    Construction: Frame
 Fulton, KY 42041                                                   Protection Class 03




 CLASS CODE          OCCUPANCY

 0311                Apartment

                                            COVERAGES PROVIDED
 Insurance at the described premises applies only for coverages for which a limit of insurance is shown.

             LIMIT              COVERED                                                  LOSS
              OF                CAUSES                    COINSURANCE                  PAYMENT
                                OF LOSS        DEDUCTIBLE       %                        BASIS               PREMIUM
 COVERAGE INSURANCE


Building
                   $548,843 Special Form          $5,000            100%           Replacement Cost
             Wind and Hail Deductibie: $10,000
             Inflation Guard: 4%
                              Terrorism Insurance Coverage


 Equipment Breakdown
                                                    $5,000




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        COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


COVERAGES PROVIDED PREMISES                        Premises 0001            Building 001      Continued


Insurance at the described premises applies oniy for coverages for which a limit of insurance is shown.
                   LIMIT      COVERED                                                    LOSS
                    OF         CAUSES                         COINSURANCE            PAYMENT
COVERAGE INSURANCE                           DEDUCTIBLE                 %               BASIS                PREMIUM
                               OF LOSS


Business Income - Rental Property: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eliminated
                             Terrorism Insurance Coverage


Business Personal Property - Blanket - See Blanket Summary




-DESCRIPTION     OF PREMISES          Premises 0001          Building 002


             Building Address                                               ConstructionlProtection Class

 1001 Airport Rd                                                     Construction: Frame
 Fulton, KY 42041                                                    Protection Class 03




 CLASS CODE          OCCUPANCY

 0311                Apartment

                                            COVERAGES PROVIDED
                                                                                               is shown.
 Insurance at the described premises applies only for coverages for which a limit of insurance
                    LIMIT       COVERED                                                  LOSS
                     OF          CAUSES                       COINSURANCE             PAYMENT
                                               DEDUCTIBLE               %                  BASIS             PREMIUM
 COVERAGE INSURANCE              OF LOSS


 Building
                     $596, 524 Special Form        $5, 000          100%           Replacement Cost
              Wind and Hail Deductible: $10,000
              Inflation Guard: 4%
                               Terrorism Insurance Coverage


 Equipment Breakdown
                                                     $5,000




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All ®~J Insurance ComPanies                                                            PBP 2864751                        02

         COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


COVERAGES PROVIDED PREMISES                         Premises 0001            Building 002     Continued

                                                                                             e is shown.
Insurance at the described premises applies only for coverages for which a limit of insuranc
                   LIMIT      COVERED                                                    LOSS
                    OF          CAUSES                        COINSURANCE             PAYMENT
                                             DEDUCTIBLE                 %                BASIS                   PREMIUM
COVERAGE INSURANCE              OF LOSS


Business Income - Rental Properry: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eliminated


Business Personal Property - Blanket - See Blanket Summary




 DESCRIPTION OF PREMISES              Premises 0001          Building 003


             Building Address                                                Construction/Protection Class

 1001 Airport Rd                                                     Construction: Frame
 Fulton, KY 42041                                                    Protection Class 03




 CLASS CODE           OCCUPANCY

  )311                Apartment

                                             COVERAGES PROVIDED
 Insurance at the describe d premises applies only for coverages for which a limit of insurance is shown.

                    LIMIT       COVERED                                                    LOSS
                     OF           CAUSES                       COINSURANCE             PAYMENT
                                                DEDUCTIBLE              %                   BASIS                PREMIUM
  COVERAGE INSURANCE              OF LOSS


 Building
                    $596, 524 Special Form         $5, 000           1.00%          Replacement Cost
              Wind and Hail Deductible: $10,000
              Inflation Guard: 4%
                               Terrorism Insurance Coverage


 Equipment Breakdown
                                                     $5,000




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       COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


COVERAGES PROVIDED PREMISES                        Premises 0001            Building 003     Continued

                                                                                              is shown.
Insurance at the described premises applies only for coverages for which a limit of insurance
                   LIMIT      COVERED                                                    LOSS
                    OF         CAUSES                        COINSURANCE             PAYMENT
                                             DEDUCTIBLE                 %               BASIS               PREMIUM
COVERAGE iNSURANCE             OF LOSS


Business Income - Rental Property: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eliminated


Business Personal Property - Blanket - See Blanket Summary




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       COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS




DESCRIPTION OF PREMISES           I Premises 0005          Building 001


           Building Address                                               Construction/Protection Class

1080 Us Highway 41a                                                Construction: Frame
Dixon, KY 42409                                                    Protection Class 05




CLASS CODE          OCCUPANCY

0311                Apartment

                                           COVERAGES PROVIDED
                                                                                              is shown.
Insurance at the described premises applies only for coverages for which a limit of insurance
                   LIMIT      COVERED                                                    LOSS
                    OF          CAUSES                       COINSURANCE             PAYMENT
                                              DEDUCTIBLE              %                  BASIS            PREMIUM
COVERAGE INSURANCE              OF LOSS


Building
                  $677, 692 Special Form         $5, 000           100%           Replacement Cost
            Wind and Hail Deductible: $10,000
            Inflation Guard: 4%
                             Terrorism Insurance Coverage


Equipment Breakdown
                                                   $5,000




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  ~         STATE AVTO®
            Insurance ComPanies                                                       PBP 2864751                       02

        COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


COVERAGES PROVIDED PREMISES                        Premises 0005            Building 001      Continued


Insurance at the described premises applies only for coverages for which a limit of insurance is shown.
                   LIMIT         COVERED                                                LOSS
                    OF           CAUSES                      COINSURANCE             PAYMENT
                                             DEDUCTIBLE                 %               BASIS                 PREMIUM
COVERAGE INSURANCE               OF LOSS


Business Income - Rental Property: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eliminated


Business Personal Property - Blanket - See Blanket Summary




 DESCRIPTION OF PREMISES            I   Premises 0005        Building 002


              Building Address                                              Construction/Protection Class

 1080•Us Highway41a                                                 Construction: Frame
 Dixon, KY 42409                                                    Protection Class 05




 CLASS CODE          OCCUPANCY

 )311                Apartment

                                            COVERAGES PROVIDED
 Insurance at the described premises applies only for coverages for which a limit of insurance is shown.

                    tIMIT        COVERED                                                 LOSS •
                     OF           CAUSES                      COINSURANCE             PAYMENT
                                               DEDUCTIBLE               %                  BASIS              PREMIUM
 COVERAGE INSURANCE              OF LOSS


 Building
                    $677, 692 Special Form          $5, 000         100%           Replacement Cost
              Wind and Hail Deductible: $10,000
              Inflation Guard: 4%
                               Terrorism Insurance Coverage


 Equipment Breakdown
                                                    $5,000




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              COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


      COVERAGES PROVIDED PREMISES                        Premises 0005           Building 002      Continued

                                                                                                   is
    . Insurance at the described premises applies only for coverages for which a limit of insurance shown.
                         LIMIT      COVERED                                                    LOSS
                          OF         CAUSES                       COINSUR    ANCE            PAYMENT
      COVERAGE INSURANCE OF LOSS                  DEDUCTIBLE               %                    BASIS      PREMIUM



     Business Income - Rental Property: Actual Loss Sustained
                                  Special Form
                 Period of Restoration - 72 Hour Time Period is Eliminated


     Business Personal Property - Blanket - See Blanket Summary




      DESCRIPTION OF PREMISES              Premises 0005          Building 003


:                 Building Address                                               Construction/Protection Class

      1080 Us'Highway41a                                                  Construction: Frame
      Dixon, KY 42409                                                     Protection Class 05




       CLASS CODE          OCCUPANCY

       0702                Olm

                                                  COVERAGES PROVIDED
                                                                                                     is shown.
       Insurance at the described premises applies only for coverages for which a limit of insurance
                   LIMIT              COVERED                                                  LOSS
                    OF                CAUSES                   COINSURANCE                   PAYMENT
                                                    DEDUCTIBLE       %                         BASIS             PREMIUM
       COVERAGE INSURANCE             OF LOSS


      Building
                           $47, 834 Special Form        $5, 000            80%           Replacement Cost
                   Wind and Hail Deductible: $10,000
                   Inflation Guard: 4%
                                    Terrorism Insurance Coverage


      Equipment Breakdown
                                                            $5,000




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       COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


COVERAGES PROVIDED PREMISES                        Premises 0005            Building 003      Continued

Insurance at the described premises applies only for coverages for which a limit of insurance is shown.
                   LIMIT      COVERED                                                    LOSS
                    OF         CAUSES                        COINSURANCE             PAYMENT
CO.VERAGE INSURANCE                          DEDUCTIBLE                 %               BASIS                   PREMIUM
                               OF LOSS


Business Income - Rental Property: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eliminated


Business Personal Properry - Blanket - See Blanket Summary




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       COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS




DESCRIPTION OF PREMISES              I   Premises 0008      Building 001


            Building Address                                               Construction/Protection Class

320 Indiana St                                                      Construction: Frame
Mayfield, ,KY 42066                                                 Protection Class 03




CLASS CODE             OCCUPANCY

0311                   Apartment

                                           COVERAGES PROVIDED
                                                                                              is shown.
Insurance at the described premises applies only for coverages for which a limit of insurance
                      'LIMiT       COVERED                                              LOSS
                       OF          CAUSES                       COINSURANCE            PAYMENT
                                               DEDUCTIBLE             %                   BASIS             PREMIUM
COVERAGE INSURANCE                 OF LOSS


Building
                    $537,343 SpecialForm           $5,000           100%           Replacement Cost
             Wind and Hail Deductible: $10,000
             Inflation Guard: 4%
                              Terrorism Insurance Coverage


Equipment Breakdown
                                                       $5,000




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    ®5J Insurance ComPanies                                                            PBP 2864751                    02

         COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


COVERAGES PROVIDED PREMISES                        Premises 0008            Building 001      Continued

Insurance at the described premises applies only for coverages for which a limit of insurance is shown.
                   LIMIT      COVERED                                                    LOSS
                      OF        CAUSES                         COINSURANCE           PAYMENT
COVERAGE INSURANCE                           DEDUCTIBLE                 %               BASIS               PREMIUM
                               OF LOSS


Business Income - Rental Property: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eliminated


Business Personal Property - Blanket - See Blanket Summary




DESCRIPTION OF PREMISES               Premises 0008          Building 002


               Building Address                                             Construction/Protection Class

 320 Indiana St                                                     Construction: Frame
 Mayfield, KY 42066                                                 Protection Class 03




 CLASS CODE            OCCUPANCY

  )311     -           Apartment

                                            COVERAGES PROVIDED
 Insurance at the described premises applies only for coverages for which a limit of insurance is shown.
                      LIMIT     COVERED                                                  LOSS
                      OF           CAUSES                      COINSURANCE            PAYMENT
                                              DEDUCTIBLE                %                BASIS              PREMIUM
 COVERAGE INSURANCE                OF LOSS


Building
                      $537, 343 Special Form        $5, 000         100%           Replacement Cost
               Wind and Hail Deductible: $10,000
               Inflation Guard: 4%
                                Terrorism Insurance Coverage


 Equipment Breakdown
                                                    $5,000




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    ®~ Insurance ComPanies                                                             PBP 2864751                    02

        COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


COVERAGES PROVIDED PREMISES                        Premises 0008            Building 002      Continued

Insurance at the described premises applies only for coverages for which a limit of insurance is shown.
                   LIMIT      COVERED                                                    LOSS
                      OF        CAUSES                       COINSURANCE               PAYMENT
COVERAGE INSURANCE                           DEDUCTIBLE                 %               BASIS                PREMIUM
                                OF LOSS


Business Income - Rental Property: Actual Loss Sustained
                             Special Form
            Period.of Restoration - 72 Hour Time.Period is Eliminated


Business Personal Property - Blanket - See Blanket Summary




 DESCRIPTION OF PREMISES            I Premises 0008          Building 003


             Building Address                                               Construction/Protection Class

 320 Indiana St                                                     Construction: Frame
 Mayfield, KY 42066                                                 Protection Class 03




 CLASS CODE           OCCUPANCY

 1311                 Apartment

                                            COVERAGES PRO.VIDED
 Insurance at the described premises applies only for coverages for which a limit of insurance is shown.
                    LIMIT      COVERED                                                    LOSS.
                      OF          CAUSES                      COINSURANCE              PAYMENT
                                                DEDUCTIBLE              %                  BASIS             PREMIUM
 COVERAGE INSURANCE               OF LOSS


 Building
                $1, 038, 648 Special Form          $5, 000          100%           Replacement Cost
             Wind and   Hail Deductible : $10,000
             Inflation Guard: 4%
                               Terrorism Insurance Coverage


 Equipment Breakdown
                                                    $5,000




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           STATE AVTO®
 r         Insurance ComPanies                                                        PBP 2864751                      02

        COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


COVERAGES PROVIDED PREMISES                         Premises 0008           Building 003      Continued


Insurance at the described premises applies only for coverages for which a limit of insurance is shown.
                   LIMIT          COVERED                                               LOSS
                    OF            CAUSES                       COINSURANCE           PAYMENT
COVERAGE INSURANCE                           DEDUCTIBLE                 %               BASIS                PREMIUM
                                  OF LOSS


Business Income - Rental Property: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eliminated


Business Personal, Property - Blanket - See 131anket Summary




 DESCRIPTION OF PREMISES               Premises 0009           Building 001


             Building Address                                               Construction/Protection Class

 520 Cadiz St                                                        Construction: Frame
 Princeton, KY 42445                                                 Protection Class 05




 CLASS CODE            OCCUPANCY

 0311                  Apartment

                                            COVERAGES PROVIDED
                                                                                               is shown.
 Insurance at the described premises applies only for coverages for which a limit of insurance
                    LIMIT         COVE-RED                                               LOSS
                       OF          CAUSES                       COINSURANCE           PAYMENT
                                                 DEDUCTIBLE             %                  BASIS             PREMIUM
 COVERAGE INSURANCE                OF LOSS


Building
                    $535, 911 Special Form         $5, 000           100%          Replacement Cost
              Wind and Hail Deductible: $10,000
              Inflation Guard: 4%
                               Terrorism Insurance Coverage


 Equipment Breakdown
                                                     $5,000




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    ®      Insurance Companles                                                         PBP 2864751                       02


        COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


COVERAGES PROVIDED PREMISES                        Premises 0009            Building 001      Continued

Insurance at the described premises applies only for coverages for which a limit of insurance is shown.
                   LIMIT       COVERED                                                  LOSS
                    OF         CAUSES                         COINSURANCE            PAYMENT
COVERAGE INSURANCE                           DEDUCTIBLE                 %               BASIS                    PREMIUM
                               OF LOSS


Business Income - Rental Property: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eliminated


Busiriess Personal Property - Blanket = See Blanket Summary




DESCRIPTION OF .PREMISES             I Premises 0009          Building 002


             Building Address                                               Construction/Protection Class

 520 Cadiz St                                                       Construction: Frame
 Princeton, KY 42445                                                Protection Class 05




 CLASS CODE            OCCUPANCY

 0311                  Apartment

                                            COVERAGES PROVIDED
 Insurance at the described premises applies only for coverages for which a limit of insurance is shown.
                    LIMIT       COVERED                                                  LOSS. .
                       OF          CAUSES                      COINSURANCE            PAYMENT
                                              DEDUCTIBLE                %                BASIS                   PREMIUM
 COVERAGE INSURANCE                OF LOSS


Building
                    $266,240 SpecialForm          $5,000            100%           Replacement Cost
             Wind and Hail Deductible: $10;000
             Inflation Guard: 4%
                              Terrorism Insurance Coverage


 Equipment Breakdown
                                                    $5,000




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mirou Insurance ComPanies                                                              PBP 2864751                     02


        COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


COVERAGES PROVIDED PREMISES                        Premises 0009           Building 002      Continued

Insurance at the described premises applies only for coverages for which a limit of insurance is shown.
            LIMIT              COVERED                                                 LOSS
             OF                CAUSES                   COINSURANCE                  PAYMENT
COVERAGE INSURANCE             OF LOSS       DEDUCTIBLE       %                        BASIS                 PREMIUM



Business Income - Rental Properry: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eliminated


Business Personal Property - Blanket - See Blanket Summary




 DESCRIPTION OF PREMISES           I Premises 0009           Building 003


             Building Address                                              Construction/Protection Class

 520 Cadiz St                                                       Construction: Frame
 Princeton, KY 42445                                                Protection Class 05




 CLASS CODE            OCCUPANCY

 )311                  Apartment

                                            COVERAGES PROVIDED
 Insurance at the described premises applies only for coverages for which a limit of insurance is shown.
                    LIMIT      COVERED                                                    LOSS
                     OF         CAUSES                       COINSURAN      CE          PAYMENT
                                             DEDUCTIBLE               %                   BASIS          PREMIUM
 COVERAGE INSURANCE OF LOSS


Building
                    $535, 911 Special Form         $5, 000          100%           Replacement Cost
             Wind and Hail Deductible: $10,000
             Inflation Guard: 4%
                              Terrorism Insurance Coverage


 Equipment Breakdown
                                                    $5,000




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           STATE AVTO®
      ®~J Insurance ComPanies                                                          PBP 2864751                02

         COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


DESCRIPTION OF PREMISES           I   Premises 0043        Building 001


            Building Address.                                               Construction/Protection Class

902 Northwood Dr                                                   Construction: Frame
Murray, KY 42071                                                   Protection Class 03



CLASS CODE          OCCUPANCY

0311                Apartment

                                           COVERAGES PROVIDED
Insurance at the described premises applies only for coverages for which a limit of insurance is shown.
'                  LIMIT       COVERED                                                  LOSS
                   OF           CAUSES                       COINSURANCE              PAYMENT
                                             DEDUCTIBLE                 %               BASIS             PREMIUM
COVERAGE INSURANCE              OF LOSS


Building
                    $455, 834 Special Form        $5, 000          100%            Replacement Cost
             VUind and Hail Deductible: $10,000
             Inflation Guard: 4%
                              Terrorism Insurance Coverage


Equipment Breakdown
                                                   $5,000

Business Income - Rental Property: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eliminated




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XF3 Insurance ComPanies                                                             PBP 2864751                02


       COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


DESCRIPTION OF PREMISES           I Premises 0043          Building 002


           Building Address                                              Construction/Protection Class

902 Northwood Dr                                                  Construction: Frame
Murray, KY 42071                                                  Protection Class 03




CLASS CODE          OCCUPANCY

0311                Apartment

                                        COVERA'GES PROVIDED
         at
Insurance the described premises applies only for coverages for which a limit of insurance is shown.

                LIMIT      COVERED                                                    LOSS
                 OF         CAUSES                       COINSUR    ANCE            PAYMEN    T
                                         DEDUCT    IBLE           %                    BASIS         PREMIUM
COVERAGE INSURANCE OF LOSS


Building
                   $277, 956. Special Form        $5, 00.0        100%          Replacement Cost
            Wind and   Hail Deductibl e: $10,000
            Inflation Guard: 4%
                              Terrorism Insurance Coverage


Equipment Breakdown
                                                   $5,000


Business Income - Rental Property: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eliminated




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   ®~ Insurance ComPanies                                                                PBP 2864751                      02

       COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


DESCRIPTION OF PREMISES             I   Premises 0043          Building 003


            Building Address                                                 Construction/Protection Class

902 Northwood Dr                                                       Construction: Frame
Murray, KY 42071                                                       Protection Class 06



CLASS CODE           OCCUPANCY

0311                 Apartment

                                           COVERAGES PROVIDED
Insurance at the described premises applies only for coverages for which a limit of insurance is shown.
                   LIIIfIIT       COVERED                                                 LOSS
                    OF            CAUSES                         COINSURANCE             PAYMENT
                                  OF LOSS     DEDUCTIBLE                 %                BASIS                 PREMIUM
COVERAGE INSURANCE


Building
                   $445, 728 Special Form        $5, 000              100%          Replacement Cost
            Wind and Hail Deductible: $10,000
            inflation Guard: 4%
                             Terrorism Insurance Coverage


Equipment Breakdown
                                                        $5,000

Business Income - Rental Property: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eiiminated




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   ®L J Insurance ComPanies                                                            PBP 2864751                  02

       COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


DESCRIPTION OF PREMISES           I   Premises 0043        Building 004


           Building Address                                                 Construction/Protection Class

902 Northwood Dr                                                   Construction: Frame
Murray, KY 42071                                                   Protection Class 03




CLASS CODE          OCCUPANCY

0311                Apartment

                                           COVERAGES PROVIDED
                                                                                                 shown.
Insurance at the described premises applies only for coverages for which a limit of insurance is
                   LIMIT       COVERED                                                  LOSS
                   OF           CAUSES                       COINSURANCE              PAYMENT
                                              DEDUCTIBLE                %               BASIS             PREMIUM
COVERAGE INSURANCE              OF LOSS


Building
                  $505, 264 Special Form         $5, 000           100%            Replacement Cost
            Wind and Hail Deductible: $10,000
            Inflation Guard: 4%
                             Terrorism Insurance Coverage


Equipment Breakdown
                                                   $5,000

Business Income - Rental Property: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eliminated




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        COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS

DESCRIPTION OF PREMISES              Premises 0043          Building 005


            Building Address                                                Construction/Protection Class

902 Northwood Dr                                                    Construction: Frame
Murray, KY 42071                                                    Protection Class 03



 CLASS CODE          OCCUPANCY

0311                 Apartment

                                            COVERAGES PROVID:ED
 Insurance at the described premises applies only for coverages for which a limit of insurance is shown.
                   LIMIT         COVERED                                                 LOSS
                    OF           CAUSES                       COINSURANCE             PAYMENT
                                 OF LOSS      DEDUCTIBLE                %                BASIS             PREMIUM
 COVERAGE INSURANCE


Building
                    $368, 644 Special Form        $5, 000           100%           Replacement Cost
             Wind and 'Hail Deductible: $10,000
             Inflation Guard: 4%
                              Terrorism Insurance Coverage


Equipment Breakdown
                                                    $5,000

Business Income - Rental Property: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eliminated




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         COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


DESCRIPTION OF PREMISES              Premises 0043         Building 006


              Building Address                                              Construction/Protection Class

902 Northwood Dr                                                   Construction: Frame
Murray, KY 42071                                                   Protection Class 03




CLASS CODE           OCCUPANCY

0311                 Apartment

                                           COVERAGES PROVIDED
Insurance at the described premises applies only for coverages for which a limit of insurance is shown.
                    LIMIT      COVERED                                                  LOSS
                     OF          CAUSES                       COINSURANCE             PAYMENT
                                               DEDUCTIBLE      -        %               BASIS              PREMIUM
    COVERAGE INSURANCE           OF LOSS


Building
                     $505, 264 Special Form        $5, 000         100%            Replacement Cost
              Wind and Hail Deductible: $10,000
              Inflation Guard: 4%
                               Terrorism Insurance Coverage


Equipment Breakdown
                                                   $5,000

Business Income - Rental Property: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eliminated




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       COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


DESCRIPTION OF PREMISES             Premises 0043          Building 007


 -          Building Address                                                ConstructionlProtection Class

902 Northwood Dr                                                   Construction: Frame
Murray, KY 42071                                                   Protection Class 03




CLASS CODE          OCCUPANCY

0311                Apartment

                                           COVERAGES PROVIDED
Insurance at the described premises applies only for coverages for which a limit•of insurance is shown.

                   LIMIT         COVERED                                                LOSS
                   OF            CAUSES                      COINSURANCE              PAYMENT
                                             DEDUCTIBLE                 %               BASIS               PREMIUM
COVERAGE INSURANCE               OF LOSS


Building
                   $505, 264 Special Form        $5, 000           100%            Replacement Cost
            Wind and Hail Deductible: $10,000
            Inflation Guard: 4%
                             Terrorism Insurance Coverage


Equipment Breakdown
                                                   $5,000

Business Income - Rental Property: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eliminated




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   ®~J Insurance ComPanies                                                             PBP 2864751                   02

        COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS


DESCRIPTION OF PREMISES              Premises 0043          Building 008


            Building Address                                                Construction/Protection Class

902 Northwood Dr                                                   Construction: Frame
Murray, KY 42071                                                   Protection Class 03



CLASS CODE          OCCUPANCY

 1311               Apartment

                                           COVERAGES PROVIDED
Insurance at the described premises applies only for coverages for which a limit of insurance is shown.
                   LIMIT       COVERED                                                  LOSS
                   OF           CAUSES                       COINSURANCE              PAYMENT
                                             DEDUCTIBLE                 %               BASIS              PREMIUM
COVERAGE INSURANCE              OF LOSS


Building
                    $45, 849 Special Form        $5, 000           100%            Replacement Cost
            Wind and Hail Deductible: $10,000
            Inflation Guard: 4%
                             Terrorism Insurance Coverage


Equipment Breakdown
                                                   $5,000

Business Income - Rental Property: Actual Loss Sustained
                             Special Form
            Period of Restoration - 72 Hour Time Period is Eliminated




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~         Insurance ComPanies                                                          PBP 2864751                        02

                                FORMS AND ENDORSEMENTS
                    APPLICABLE TO THE COMMERCIAL PROPERTY COVERAGE PART
NEW      FORM OR ENDORSEMENT             ENDORSEMENT TITLE
            AND EDITION DATE             (Only the endorsement titles are shown below, please review the
                                         form for a complete description of coverage.)


            CP 00 90 07 88                Commercial Properry Conditions
            CP 0140 07 06                 Exclusion of Loss Due to Virus or Bacteria
            CP00101012                    Building and Personal Property Coverage Form
            IL09520115                    Cap on losses from Certified Acts of Terrorism
            CP 01 66 09 00                Kentucky Changes
            CP10301012                    Causes of Loss-Special Form
            SP00190916                    Equipment And Technology Breakdown Coverage
            SP 10 07 10 16                Premier Property Plus Endorsement
            CP00301012                    Business Income (And Extra Expense) Coverage Form
            CP 15 56 06 07                Business Income Changes - Beginning Of The Period Of Restoration
                                          (No Waiting Period)
            CP 12 18 10 12                Loss Payable Provisions
            SP 00 15 01 05                Business Income Changes
    *       IL09850115                    Disclosure Pursuant to Terrorism Risk Insurance Act




*Indicates a new form has been added or a replacement form has been substituted for one of an earlier
  edition. Please retain all forms.

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/®         Insurance ComPanies                                                       PBP 2864751                 02


COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

 COMMERCIAL GENERAL LIABILITY COVERAGE LIMITS OF INSURANCE:

  Each Occurrence Limit                                        $1,000,000
     Damage To Premises Rented To You Limit                      $.100, 000      Any One Premises
     Medical Expense Limit                                          $5, 000      Any One Person
  Personal And Advertising Injury Limit                        $1, 000, 000      Any One Person or Organization
  General Aggregate Limit                                      $2,000,000
  Products - Completed Operations Aggregate Limit              $2,000,000



 AUDIT PERIOD
  Annual



! EMPLOYEE BENEFITS LIABILITY LIMITS OF INSURANCE
                                                                          CAREFULLY.
 THIS POLICY PROVIDES CLAIMS-MADE COVERAGE. PLEASE READ THE ENTIRE POLICY

  Each Employee Limit                                           $1, 000, 000
  Aggregate Limit                                               $2, 000, 000

  Deductible Amount Applicable To Each Employee ,                    $1, 000

  Employee Benefits Liability Coverage does not apply to "wrongful acts" which occur before
  the retroactive date shown here: 05/12/2019



 DEDUCTIBLE LIABILITY SCHEDULE (See CG 03 OOfor complete details)

                                                                    Deductible Amount         Basis
   Coverage
                                                                                     $2.50    Per Claim
   Property Damage Liability

                                                                                            of this deductible.
 APPLICATION OF DEDUCTIBLE - see endorsement CG 03 00 for any limitation on the application




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         Insurance ComPanies                                                    PBP 2864751                 02

COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

SCHEDULE OF PREMISES - AII Premises You Own, Rent or Occupy                   PREMISES 0001

          Location Address                                                     Territory

 1001 Airport Rd                                                                 503
 Fulton, KY 42041




CLASS CODE      CLASSIFICATION DESCRIPTION
 60010          Apartment Buildings
                Product-Completed Operations Are Included, Subject To The General Aggregate Limit
PREMIUM BASIS             24 Units


                               Per       Premises/Operations          Products/Completed Operations

RATE                       1
ADVANCE PREMIUMS




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   ®~J Insurance ComPanies                                                             PBP 2864751                  02

COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS




SCHEDULE OF PREMISES - AII Premises You Own, Rent or Occupy                            PREMISES 0005

           Location Address                                                            Territory

 1080 Us Highway 41a                                                                     503
 Dixon, KY 42409




CLASS CODE CLASSIFICATION DESCRIPTION
 60010          Apartment Buildings
                Product-Compieted Operations Are Included, Subject To The General Aggregate Limit
PREMIUM BASIS                  20 Units


                                   Per       Premises/Operations            Products/Completed Operations

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   ®`iJ Insurance ComPanies                                                         PBP 2864751                02

COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

SCHEDULE OF PREMISES - AII Premises You Own, Rent or Occupy                 PREMISES 0005              Continued




CLASS CODE      CLASSIFICATION DESCRIPTION

  61224         Building Or Premises-Office-Premises Occupied By Employees Of The Insured
                N Not-For-Profit
                Product-Completed Operations Are Included, Subject To The General Aggregate Limit

PREMIUM BASIS                650 Square Feet


                              Per         PremiseslOperations           Products/Completed Operations

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  ®~ Insurance ComPanies                                                         PBP 2864751                     02

COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

SCHEDULE OF PREMISES - AII Premises You Own, Rent or Occupy                     PREMISES 0008

            Location Address                                                    Territory

 320 Indiana St                                                                   503
 Mayfield, KY 42066




CLASS CODE       CLASSIFICATION DESCRIPTION
 60010           Apartment Buildings
                 Product-Completed Operations Are Included, Subject To The General Aggregate Limit
PREMIUM BASIS              23 Units


                                Per           Premises/Operations      Products/Completed Operations

RATE                        1
ADVANCE PREMIUMS




SCHEDULE OF PREMISES - AII Premises You Own, Rent or Occupy                     PREMISES 0009

             Location Address                                                    Territory

  520 Cadiz St                                                                     503
  Princeton, KY 42445




.CLASS CODE      CLASSIFICATION. DESCRIPTION

  6001:0.         Apartment Buildings
                  Product-Completed Operations Are Included, Subject To The General Aggregate Limit

 PREMIUM BASIS              20 Units


                                 Per          Premises/Operations       Products/Completed Operations

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         Insurance ComPanies                                                   PBP 2864751                 02


COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

SCHEDULE OF PREMISES - AII Premises You Own, Rent or Occupy                   PREMISES 0043

          Location Address                                                    Territory

 902 Northwood Dr                                                               503
 Murray, KY 42071




CLASS CODE     CLASSIFICATION DESCRIPTION
 60010         Apartment Buildings .
               Product-Completed Operations Are Included, Subject To The General Aggregate Limit
PREMIUM BASIS            48 Units


                              Per       Premises/Operations          Products/Completed Operations

RATE                      1

ADVANCE PREMIUMS




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      ®~ ~STATE AVTQ®
                         ce Companies

      The most we will pay for loss or damage to                            The Deductible and Limits of Insurance are the same
      outdoor signs, whether or not the sign is                             as those in Example 1.
                                                                            Loss to Building 1:                        $ 70,000
      attached to a building, is $2,500 per sign in any
      one occurrence.                                                         (Exceeds Limit of InsUrance plus Deductible)
                                                                            Loss to Building 2:                        $ 90,000
      The amounts of insurance stated in the following
      Additional Coverages apply in accordance with                           (Exceeds Limit of Insurance plus Deductible)
                                                                            Loss Payable - Building 1:                 $ 60,000
      the terms of such coverages and are separate
   from the Limit(s) Of Insurance shown in the                                (Limit of Insurance)
                                                                            Loss Payable - Building 2:                    $ 80,000
   Declarations for any other coverage:
   1. Fire Department Service Charge;                                         (Limit of Insurance)
                                                                            Total amount of loss payable:               $ 140,000
   2. Pollutant Clean-up And Removal;
   3. Increased Cost Of Construction; and                                   E. Loss     Conditio  ns
   4. Electronic Data.                                                          The following conditions apply in addition to the
   Payments under the Preservation Of Property                                  Common Policy Conditions and the Commercial
   Additional    Coverage   will not    increase the                            Property Conditions:
    applicable Limit of Insurance.                                              1. Abandonment
D. Deductible                                                                       There can be no abandonment of any
      In    any   one    occurrence       of    loss     or   damage                 property to us.
      (hereinafter referred to as loss), we will first                           2. Appraisal
      reduce the amount of loss if required by the                                   If we and you disagree on the value of the
      Coinsurance       Condition    or    the     Agreed      Value                 property or the amount of loss, either may
      Optional Coverage. If the adjusted amount of loss                              make written demand for an appraisal of the
      is less than or equal to the Deductible, we will                               loss. In this event, each party will select a
      not pay for that loss. If the adjusted amount of                               competent and impartial appraiser. The two
      loss exceeds the Deductible, we will then                                      appraisers will select an umpire. If they
      subtract the Deductible from the adjusted amount                               cannot agree, either may request that
      of loss and will pay the resulting amount or the                               sejection be made by a judge of a court
      Limit of Insurance, whichever is less.                                         having jurisdiction. The appraisers will state
      When the occurrence involves loss to more than                                 separately the value of the property and
      one item of Covered Property and separate                                      amount of loss. If they fail to agree, they
      Limits of Insurance apply, the losses will not be                              will submit their differences to the umpire.
       combined in determining application of the                                    A decision agreed to by any two will be
      Deductible. But the Deductible will be applied                                 binding. Each party will:
       only once per occurrence.                                                     a. Pay its chosen appraiser, and
Example 1                                                                            b. Bear the other expenses of the appraisal
(This example assumes there is no Coinsurance                                            and umpire equally.
penalty.)                                                                           If there is an appraisal, we will still retain
Deductible:                                  $ 250                                  our right to deny the claim.
Limit of Insurance   - Building 1:           $ 60,000                            3. Duties In The Event Of Loss Or
Limit of Insurance - Building 2:             $ 80,000                               Damage
Loss to Building 1:                          $ 60,100                               a. You must see that the following are
Loss to Building 2:                          $ 90,000                                    done in the event of loss or damage to
The amount of loss to Building 1($60,100) is less                                        Covered Property:
than the sum ($60,250) of the Limit of Insurance                                         (1) Notify the police if a law may have
 applicable to Building 1 plus the Deductible.
                                                                                            been broken.
The Deductible will be subtracted from the amount                                        (2)Give us prompt notice of the loss
                                                                                                 or damage. Include a description of
 of loss in calculating the loss payable for Building
                                                                                                 the property involved.
 1:
                                                                                         (3)As soon         as   possible, give   us a
       $ 60,100
       - 250                                                                                     description of how, when and where
          ,
      _T1~56 -Coss Payable - Building 1                                                    the loss or damage occurred.
           Deductible   appiies     once       per occurrence     and                      Take all reasonable steps to protect
                                                                                         (4)
 The
                                                                                                 the Covered Property from further
 therefore is not subtracted in determining the amount
                                                                                                 damage, and keep a record of your
 of loss payable for Building 2. Loss payable for
 Building 2 is the Limit of Insurance of $80,000.
                                                                                                 expenses necessary to protect the
                                                                                                 Covered Property, for consideration in
 Total amount of loss payable:
                                                                                                 the settlement of the ciaim. This
 $59,850 + $80,000 = $139,850
                                                                                                 will not increase the Limit of
 Example 2
                                                                                                 Insurance. However, we will not pay
 (This example, too, assumes there is no Coinsurance
                                                                                                 for any subsequent loss or .damage
 penalty.)



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                                                       ® Insurance Services Office, Inc., 2011
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~                                                    EXHIBIT B
r       STAT!E AtJ'6"®
    oWnsurance Companies



       CERTIFIED MAIL
       RETURN RECEIPT REQUESTED
       RECEIPT NO:
       AND REGULAR MAIL



        Jun 30, 2022



       Volunteer Mariagement & Development Company, Inc.
       Attn: Chris Tursky & Tyler Tursky
       60 Miller Avenue
       Jacl<son, TN 38305



       Our Insured:    Volunteer MGMT & Development Company, Inc.
       Policy No:      PBP2864751
       File Number:    PR-0000000-400349
       Date of Loss:   12/10/2021
        Locations:     73 Hobbs Street, Arlington, KY 42021
                       205 Ringo Drive, Clinton, KY 42031
                       1230 Ellington Pkwy, Lewisburg, TN 37091
                       1520 Glen Avenue, Lewisburg, TN 37091
        Company:       State Auto Property & Casualty Insurance Company
        NAIC No:       25127
                                           PARTIAL DECLINATION


        Dear Mr. Tursky:

        I write on behalf of State Auto Property & Casualty Insurance Company ("State Auto"). State
        Auto is in receipt of the supplemental claim presented by Volunteer Management &
        Development Company, Inc., for a building exterior storm loss at your four above listed locations
        under policy number PBP2864751. Damage claimed is for the date of loss, 12/10/21.

        We initially inspected, adjusted, and paid for the actual cash value minor damages. Our recent
        engineering inspection finds no additional damage and unrelated non covered damages.

        Please see damage and coverage evaluation below:

Corporate Headquarters 518 East Broad Street Columbus, Ohio 43215      614.464.5000   StateAuto.com




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   I.      FACTUAL BACKGROUND


12/10/21.....Mayfield, Kentuckytornado loss date
12/11/21.....claim was reported to State Auto Insurance
12/12/21...... loss site inspected by our GA Jeff Maday
01/18/22......additional claim for other locations reported to State Auto Insurance
01/18/22.......loss sites inspected by our CAT adjuster Aaron Rundberg
03/07/22......actual cash value payments issued for all loss sites
04/01/22.......received letter of representation from public adjuster William Griffin, Griffin Loss
ConsuIta nts
06/01/22......our hired engineers, Ben Hall and Noah Monhemius, EES Group, inspected
additional loss sites

In review of. EES Group's inspeciion report, no additional covered storm damage was
discovered. In addition, older wind and hail, mechanical, and wear/tear damages were
discovered. I have attached EES Group's report for your review.

THE EES GROUP REPORT WAS REFUTED IN ITS ENTIRETY AND THEIR PHOTOS
SHOWED DAMAGE THAT WAS COVERED BUT CARRIER DID NOT PAY FOR NOR DID
ENGINEERS CORRECT THE ERRORS.
    II.     STATE AUTO POLICY

State Auto ,issued Businessowners Poficy No. PBP2864751 to Volunteer Management
& Development Company, Inc., for the policy period of 05/12/2021— 05/12/2022 (the "State Auto
Policy"). The State Auto Policy, provides coverage pursuant to form (CP0010 10/12) and
varLous endorsements. THE READINGS WERE TAKEN MILES AWAY.

We quote pertinent portions of the State Auto Policy in the letter below. The provisions in the
letter are for your ease of reference and are not intended to be an exhaustive list of all policy
terms, conditions, and exclusions that may ultimately apply to the issues presented in this
rnatW PIeeoWOAKTDRbSBWNAuto Policy for its complete terms and conditions.

    A. Wind and hail damage outside of the date of loss and coverage period, mechanical and
       wear/tear damage are not covered un,der this policy
                                                             NONE HAS BEEN CLAIMED.

 Pursuant to Building and Personal Property Coverage Form (CP0010 10/12), coverage applies to
 direct physical loss of or damage to Covered Property:

     A. Coverage
        We will pay for direct physical loss of or damage to Covered Property at the premises
        described in the Declarations caused by or resulting from any Covered Cause of Loss.
        1. Covered Property




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           Covered Property, as used in this Coverage Part, means the type of property
           described in this section, A.1., and limited in A.2. Property Not Covered, if a Limit Of
           Insurance is shown in the Declarations for that type of property.
           a.. Building...


       3. Covered Causes Of Loss
           See applicable Causes Of Loss form as shown in the Declarations.

   B. Exclusions And Limitations
       See applicabie Causes Of Loss form as shown in the Declarations.

Next, please see Causes of Loss - Special Form (CP1030 10/12)



A. Covered Causes Of Loss

When Special is shown in the Declarations, Covered Causes of Loss means direct physical loss
unless the loss .is excluded or limited in this policy

When Special is shown in the Declarations, Covered Causes of Loss means direct physical loss
unless the loss is excluded or limited in this policy.

B. Exclusions

        2. We will not pay for loss or damage caused by or resulting from any of the following,
3.a. through 3.c. But if an excluded cause of loss that is listed in 3.a. through 3.c. results
                                                                                               in a
Covered Cause of Loss, we will pay for the loss or damage caused by that Covered        Cause   of Loss.

                                  At no time has this condition been submitted as a cause
        d.(1) Wear and tear;
                                  of these losses
       (2) Rust or other corrosion, decay, deterioration, hidden or latent defect or any quaiity
in property that causes it to damage or destroy itself;

        (3) Smog;

        (4) Settling, cracking, shrinking or expansion;

m. Neglect of an insured to use all reasonabie means to save and preserve property from
further damage at and after the time of loss.

         3. We will not pay for loss or damage caused by or resulting from any of the following,
                                                                                                   a
 3.a. through 3.c. But if an excluded cause of loss that is listed in 3.a. through 3.c. results in
                                                                                                 of Loss.
 Covered Cause of Loss, we will pay for the loss or damage caused by that Covered Cause

          a. Weather conditions. But this exclusion only applies if weather conditions contribute
 in ariy way with a cause or event excluded in Paragraph 1. above to produce the loss or damage.




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       b. Acts or decisions, including the failure to act or decide, of any person, group,
organization or governmental body.

          c. Faulty, inadequate or defective:

          (1) Planning, zoning, development, surveying, siting;

       (2) Design, specifications, workmanship, repair, construction, renovation, remodeling,
grading, compaction;

          (3) Materials used in repair, construction, renovation or remodeling; or

          (4) Maintenance;

of part or all of any property on or off the described premises.




Next, please see Commercial Property Conditions (CP0090 07/88)

This Coverage Part is subject to the following conditions, the Common Policy Conditions and
applicable Loss Conditions and Additional Conditions in Commercial Property Coverage Forms.

D. LEGAL ACTION AGAINST US

   No one may bring a legal action against us under this Coverage Part unless:
    1. There has been full compliance with all of the terms of this Coverage Part; and
    2. The action is brought within 2 years after the date on which the direct physical loss or
       damage occurred.                  THIS 15WHY YOU HAVE TO PAftTICIPAT E IN
                                               APPF2AI5AL WFiEN DEMANDED.
   H. POLICY PERIOD, COVERAGE TERRITORY
    Under this Coverage Part:
    1.    We cover loss or damage commencing:
            a. During the policy period shown in the Declarations; and
              b.   Within the coverage territory.



State Auto reserves its rights under the policy provisions cited above and all other provisions of
the Policy. State Auto does not waive any provisions of the Policy. -

    IV.       CONCLUSION

We are always willing to reconsider our coverage evaluation in light of any new or additional
facts, information, evidence, reported case law or federal statute. If you are aware of any new
or additional facts, information, -evidence, reported case law or federal statute which would


State Auto has been -in possession of our information and it was provided to EE%'
as well. However, it was not given to'the engineers prior to their inspection and
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thus could not have been properly considered. (see rebuttal attached)
 EES WAS GIVEN A COPY OF EVERYTHING WEEKS IN ADVANCE.


have any bearing on the coverage issues outlined in this correspondence, please provide the
same to us as soon as possible and we will give any new information due consideration. Please
be advised, however, that our invitation to submit additional information or documentation is
made without waiving or limiting State Auto's coverage position as stated in this letter.

This letter is not intended to, nor should it be construed as, setting forth all coverage defenses
that may arise in connection with the claim. We specificalfy reserve all of our rights under the
Policy and the laws of the States of Kentucky & Tennessee and no waiver or estoppel of any kind
is intended, nor should it be inferred. State Auto reserves its rights under the Policy and
applicable law to cite additional policy provisions and defenses as may be appropriate. By
limiting policy references to the policy language cited above, State Auto does not waive any
other provisions of the Policy. The Policy in its entirety is incorporated by reference as though
fully set forth in this letter.  APPRAISUL IS A TERCVI ANd CONDITION OF THE POLICY.

Please let me know if you have any questions.

Respectfully,



Mike Wakefiefd, CPCU, AIC
CARE Manager / EGA
State Auto Insurance Companies
Phone: 614-301-5769

cc: Griffen Loss Consultants,
    Commercial Insurance Associates, LLC




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                                    Mr. Mike Wakefield
                                    State Auto Insurance
                                    P.O. Box 182822
                                    Columbus, OH 43218



                                     RE:                   Hail and Wind Damage Assessment at the Volunteer Management
                                                                                                                              Clinton,
                                                           Properties, 73 Hobbs Street, Arlington, KY 42021, 205 Ringo Drive,
                                                                                                                                  and
                                                           KY 42031, 1230 South Ellington Parkway, Lewisburg, TN 37091,
                                                           1520 Glenn Avenue, Lewisburg, .TN 37091 (22-388-BJH).

                                      Dear Mr. Wakefield:
                                                                                                                           performed
                                      In accordance with your May 12, 2022 request, EES Group, Inc. (EES)
                                                                                                                     lated damages.
                                      inspections on June 1-2, 2022 to assess the buildings for storm-re
                                                                                                                      No destructive
                                      These: weie •:visual :itispections :.Qf.: readily :observab`le surfaces,,only:
                                                                                                          during these  assessments.
                                      testing or collection/analysis of materials was undertaken
                                      This report summarizes our findings.



                                       INSPECTION INFORMATION:

                                       Insured:                                                                                            Volunteer Management

                                       Claim #:                                                                                            PR-0000000-4Q0349

                                        Date of Loss:                                                                                      December 10, 2021

                                        Date and Time of Inspections: June 1, 2022;8:00 A.M. to 5:00 P.M.
                                                                      June 2, 2022 8:00 A.M. to 5:00 P.M.

                                        Insp,ec~te;d:;b~~::                                                                                 Mr. Benjamin J. Hall, P.E.
                                                                                                                                            Mr. Noah P. Monhemius, RRC, Project Engineer




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Mr. Mike Wakefield
                     INTE~ITI®NAL. IF l~IJ® TO ®ENY                                  June 29, 2022

                     BENEFITS
73 HOBBS STREET, ARLINGTON, KY 42021

Building Information:        The complex consisted of two apartment buildings.                The
exteriors -of the buildings were clad with ribbed metal panels and vinyl siding. The roof
surfaces were covered with ribbed metal panels. A layout of the apartment complex is.
shown in Figure 1:




                                Figure 1: Complex Layout

EES Inspection Observations: Observations made during the inspection of the
exterior and roof surfaces of the buildings are summarized below; photographs are
provided in Appendix A.
                           See our attached photo report of the slopes showing circled
 Building #1 —"Building B" damage to the metal roof panels (aerial wide angles)
                           Detailed photos accompany.
 Exterior lnspaction:

 ➢       The exteriors were clad with —3' wide ribbed metal panels. The gable walls were
         clad with —9" wide double-lap vinyl siding.
 ➢       Spatter marks, up to —1/2" in diameter, were present to the siding and electric
         rneters throughout the north and west 4leotlons' No; dernts ;;uvere :presentj~t tlie
         spatter iriark 'locatlnns' T.he onentatlon .of;ahe: spatter marks indicated the hail
          arrived from the northwest.
 ➢        The four (4) downspouts on-°the west elevation, —10' long each, contained dents
          consistent with hailstone impacts which measured up to —3/8" in width. Spatter
          marks were present at the dents. They are confirming damage covered under the policy
 ➢        The remaining exterior surfaces were clear of damage attributable to hailstone
          impacts and/or wind forces. This is not true and is refuted in its entirety by our
                                      photo report


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 EES Group                                               Engineering & Environmental Services, Inc. 0
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         Roof Inspection:

         ➢       The ,roof surfaces were clad with -3' wide ribbed metal panels. The roof pitch
                 measured -4:12.
         ➢       Spatter marks, up to -1/2" in diameter, were present to the roof paneis. No dents
                 were present at the spatter mark locations. The orientation of the spatter marks
                 indicated the hail arrived from the northwest. This is false
          ➢      A total of two (2) -18" diameter turbine vents contained dents consistent with
                 hailstone impacts up to -3/8" in width. Spatter marks were present at the dents,
          ➢      The remaining roof surFaces were clear of damage attributable to hailstone
                 impacts and/or wind forces.

          Building #2 - "Building A"

          Exterior Inspection:

          ➢     The exteriors were clad with -3' wide ribbed metal panels. The gable walls were
                clad with -9" wide double-lap vinyl siding.
          ➢     Spatter marks, up to -1/2" in diameter, were present to the siding and electric
                meters throughout the north and west and elevations. No dents were present at
                the spatter mark locations. The orientation of the spatter marks indicated the hail
                arrived from the northwest.
          ➢     The vinyl siding contained sporadic areas of wavy panels and indentations not
                consistent with storm-related damages (i.e., wind forces or hailstone impacts).
          ➢     The northwest downspout on the north elevation, -20' long, contained dents
                 consistent with hailstone impacts which measured up to -3/8" in width. Spatter
                marks were present at the dents. Covered damage
          ➢      The remaining exterior surfaces were clear of damage attributable to hailstone
                 impacts and/or wind forces.
                             This is not true as our report photos clearly depict and document
          Roof Inspection: the tree and wind debris to the roof, siding, and brick cladding.
                             The only way to miss this damage was to not
          ➢      The roof surfaces were clad with -3' wide ribbed metal panels. The roof pitch
                 measured -4:12.
          ➢      Spatter marks, up to -1/2" in diameter, were present to the roof panels. No dents
                 were present at the spatter mark locations. The orientation of the spatter marks
                 indicated the hail arrived from the northwest. This is false and the photos are prima facie
          ➢        A total of two (2) -18" diameter turbine vents contained dents consistent with
he turbines are    hailstone impacts up to -3/8" in width. Spatter marks were present at the dents.
amaged yet carrier
as not paid ➢      The remaining roof surfaces were clear of damage attributable to hailstone
                   impacts and/or wind forces. This assessment is inaccurate and was written solely to deny
                                                  coverage through misrepresentation of material facts.



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           Mr. Mike Wakefield                                                                                                           June 29, 2022



           Discussions: Discussions pertaining to EES' observations and conclusions are
           provided below.

           WEATHER DATA

           NWS Wind Data:            Wind data was researched from the National Weather Service
           (NWS) Paducah Weather Station (the closest reporting stations to the subject property)
           for December 2021. Results are provided below. Experts should not use weather data from a
                                                            source 36 miles away. Useless
           ➢      NWS Paducah December 2021: The maximum two-minute wind and the
                  highest peak gust wind speeds reported in December 2021 ranged up to 25 MPH
                  and 51 MPH, respectively, on December 10, 2021. The winds on this date
                  arrived primarily from the south.
           The reported peak gust wind speeds from the NWS at the Paducah Weather Station in
           December 2021 did not exceed 90 MPH, the resistance threshold prescribed urider
           Kentucky building codes since —2000. Further, the reported two-minute wind speeds
           did not exceed 70 MPH, the threshold prescribed in Kentucky building codes prior to
                                                                                                                          To
            2000.    To state the winds on the day of the Tornado outbreak were within threshold acceptance is ludicrous.
                     deny coverage based upon this report is criminal and should be investigated.
            NWS Tornado Data: EES researched several tornado events on the NWS' website.
                                                                                                                       in
            Results follow. Why would an expert use data from 2019 36 miles from the subject property to be considered
                            a coverage decision for structures with obvious wind and hail damage
            ➢       June 23, 2019: Three different tornados (all EF-1) struck down in Carlisle,
                    McCracken, and Ballard Counties. The subject property was well outside all
                    three tornado paths (https://www.weather.gov/pah/1un23severe).

            ➢       December 10-11, 2021: An EF-4 tornado passed through northwest Tennessee
                    and southwest Kentucky. The tornado passed through nearby Mayfield, KY;
                    however, the tornado path did not pass through Arlington, KY where the subject
                    property was located (hftps://www.weather.gov/pah/December-10th-llth-2021-
                    Toraado).
                            *     ....;
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                                                                                                f~               ~          rMr,
                                 s                                                                               .
                                                                            hflimiii — ..     ' i ~- FancvFaim


)ur team personally witnessed S•;                                                             .1
 evere structural damage v.vithin-= .~°Wm~=               a1
I mile of subject propert~~~
Ind tree damage to the k~l~gs
iere. Local contractors
                                                                                 : :;~.:.:.~~:,~w                ;
-ee companies reported"  r     •;~ _ ~:      ,                 ~               ..=~~~
 axtensive damage to       ~•.      . ",~,,~                                                   ;.
.tructures.

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                                                      ~   hi
                                                                                     Inin lS,NGG~'rPC
                                                                                           SC          L'SDG N?S I NOG1✓NY.5 r~~.~~~




                            Figure 2— NWS Tornado Path — December 10 and 11, 2021
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             EES Group                                                                              Engineering & Environmental Services, Inc.,'
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CoreLogicT"" Hail Verification Report: A Hail Verification ReportTM from CoreLogic
Spatial Solutions, LLC was provided to EES and reviewed for the subject property. The
address-specific report gives a history of hail-fall activity at the location and within 1, 3,
and 10 miles from January 1, 2009 through June 13, 2022. It accomplishes this with the
use of their HaiIScopeTM "verification algorithm" which assesses hail equal to or greater
than 3/4" falling within a 10-mile radius of the address and produces a report of the
dates and sizes of the hail. The Hail Verification ReportTM is reproduced below as
Figure 3.


              It             CoreLogic                                               41/eather Verification Services

                                                                     This property damage did not even
                                                                     require this type of report as there is
                                                                     sufficient visible damages from the
                Hail Verificatiofl Replort
                                                                     wind and tree to support our estimates
                 Cialm or Reference Il     22-388-BJH
                 InsurodlProperty OWnor    State Auto-Volunteer Mgmt (Hobbs)-Wlnd
                 Address                   14 Habbs SL
                                           Arllhgton, KY 42021
                 Caordinate9               Latltude 38_78872, Longltude-89.010335
                 Dato Range                Jan 01, 2009 to Jun 13, 2022
                 Repart Generatad          June 141h, 2022 at 17:44:5T UTC




                Storm Events
                                                                     Esflmated Maximum Hell Slae
                           Date            At Locatloh       Within 1.m111.61 km     Witflln 3 ml 14.83 km    Within'10 mi 119,09
                                                                                                                      km
                     May 18, 2022              —                 0_75 In f 1:91 cm      0.9 In 1229 cm          0.9 In 1229 cm
                      Dec 5, 2021              —                 0.8 in 12.03 cm        0.8 In 12.03 cm         0.8 In 12.03 om
                     Apr 26, 2017              —                          —             0.8 In ! 2.03 cm        0:0 In 12.03 cm
                     Jun 28, 2015              —                          —             O.B In 12.03 cm         0.8 In 12.03 om



         Figure 3: CoreLogic Hail Verification Report for the Subject Property
Review of the information in the figure above indicated that 0.75" diameter hail fell within
one mile of the subject property on May 18, 2022. Additionally, hail up to 0.8" diameter
hail fell within one mile of the subject property on December 5, 2021.
Note, hail sizes less than 0.75" in diameter may have fallen at the subject property and
gone unreported- At least they admit it and we have provided photo proof in our report.

Determining Hail Size: The size (diameter) of the hail which likely fell on the subject
property was approximated by inspectiQn of the metal surfaces and measurements of
the impact marks which appeared consistent with hail-strikes. For hailstones measuring
up to 2" in diameter, the hailstone size typically ranges from 1-1/2 to 2-1/2 times the
diameter of the inner dent created upon impact with the most common metal surfaces
on average (Petty 2013). The inner dents of the impact marks observed on the metal
surfaces measured up to -3/8" in diameter indicating the hailstones may have ranged
conservatively from -9/16" to -15/16" in diameter. Taking into account the average
multiplier and the maximum inner dent diameter, the hail that struck the property likely
was -3/4" in diameter.
    This statement on determining hail size is presented solely to defeat the insureds claim for.legitimate damage covered under their
    policy. No governing standards or reference to authority to support these statements is provided and should be disallowed

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EE5 Group                                                                                 Engineering & Environmental Services, Inc. @
      The debris strikes shown in our photo report are sufficie nt to warrant
Mr. MigMakefi d                             6                June 29, 2022
             6 nent


Hail-Spatte,r Marks: When hailstones strike , metal surfaces, they leave behind a
spatter mark in the oxidation layer. It typically takes one to two years for the surFace to
re-oxidize and cover the mark. Thus, when dents consistent with hailstone impacts are
found on metal surfaces without spatter marks this is an indicator that the dents were
caused by an older hailstorm evenThis opinion irrelevant to the reported damages
The dents to the subject metal surfaces (downspouts and turbine vents) contained
spatter marks which indicated they were relatively fresh. Also, spatter marks were
present to the exterior and roof inetal panels; , however, no dents were at the spatter
locations which indicated the hailstones were not of sufficient size to cause damage toto this rooi
                                                          photographed the damage
the ribbed metal panels. we have clearly marked and

 Conclusions: Based on the information gained during the inspection; review of
 weather data, building codes, and information from industry literature; and our
 professional experience, EES has arrived at the following_ conclusions;

 ➢       The exterior and roof surfaces were ciear of damages attributable to wind forces.
 ➢       The hail that impacted the property was —3/4" in diameter. The orientation of the
         dents and spatter marks indicated that the hailstorm arrived from the
         west/northwest. The components (turbine vents) which were affected by hail
         impacts are provided. in the observations section of this report.
 ➢       A review of weather data indicated hail of that magnitude was present within the
         area of the subject property on May 18, 2022 and December 5, 2021 (i.e.,
         multiple storms). The damage was likely attributed to the May 18, 2022 or earlier
         hail event.


Please note that EES was in possession of our detailed estimates and photo reports at
                                                                                        on the
the time of this inspection showing all claimed damages and their specific locations
                                                                                          that
properties, yet they did not provide our report to their "experts" even after I requested
they review our findings before issuing any opinions stating "no damage" or that could
                                                                                           of
result in a denial of coverage to the insured. Clearly, they refused to consider the facts
this loss. They do not even mention the tree wind damage that was submitted.
EES does not provide reference support for the industry literature they rely on for their
opinions and they omit blatant siding and tree and other wind damages to the roof and
exteriors of the buildings on the property, and ignore damages we presented for
payment.


 Brick damage was not inspected or documented by EES as shown in our report




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205 RINGO DRIVE, CLINTON, KY 42031

Building Information: The complex consisted of four apartment buildings and one
mail room. The exteriors of the buiidings were clad with brick masonry and vinyl siding.
Tlie roof surfaces were covered with three-tab asphalt shingles. A layout of the
apartment complex is shown in Figure 4:




                               Figure 4: Complex Layout

EES Inspection Observations: Observations made during the inspection of the
exterior and roof surfaces of the buildings are summarized below; a summary of
damages is provided in Table 1; photographs are provided in Appendix B

Building #1 = "Building C Units- 17-20"

Exterior Inspection:

➢       The exteriors were clad with —9" wide double-lap vinyl siding .and brick masonry.
➢       The siding contained shatter marks consistent with mechanical damage. Several
        pieces cqntained face-nailed repairs.
➢       A couple sectio-ns of siding on the east elevation were- unlapped but otherwise
        free of damage.. The condition was not co.nsistent with wind forces, but rather
        showed signs of long-term expansion and contraction combined with improper
        installation.
➢       The downspouts contained dents and scrapes consistent with mechanical
        damages.

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➢       The tops of the gutters contained dents, measuring -1/2" in width, consistent with
        hailstone impact. Spatter marks were present at the dents.
➢       The remaining exterior surfaces were clear of damage attributable to hailstone
        impacts and/or wind forces.

Roof Inspection:

➢       The roof surfaces were covered with a single layer of three-tab asphalt shingles
        over felt underlayment. Starter strips and drip edge were present at the eaves.
        The roof pitch measured -4:12. The shingle exposure averaged -5".
➢       A total of two (2) -18" diameter turbirie vents and four (4) slant-back box vents
        contained dents consistent with hailstone impacts up to -1/2" in width. Spatter
        marks were present at the dents.
➢       Representative roof areas for each facing slope were inspected and found to be
        clear of damage attributable to hailstone impacts.
➢       One shingle tab on the south slope was torn. The shingle tab was sealed to the
        roof. The dull grey exposed fiberglass fibers indicated the condition was oider.
➢       One shingle tab on the north slope was torn. The dull grey exposed fiberglass
        fibers indicated the condition was older.
➢       The roof surfaces were clear of damage attributable to wind forces.

Building #2 - "Building D Units 21-24"

Exterior Inspection:

➢      The exteriors were clad with -9" wide double-lap vinyl siding and brick masonry.
➢      The downspouts contained dents and scrapes consistent with mechanical
       damages.
➢      The tops of the gutters contained dents, measuring -1/2" in width, consistent with
       hailstone impact. Spatter marks were present at the dents.
➢      The remaining exterior surfaces were clear of damage attributable to hailstone
       impacts and/or wind forces.

Roof Inspection:

➢      The roof surFaces were covered with a single layer of three-tab asphalt shingles
       over felt underlayment. Starter strips and drip edge were present at the eaves.
       The roof pitch measured -4:12. The shingie exposure averaged -5".
➢      A total of two (2) -18" diameter turbine vents contained dents consistent with
       hailstone impacts up to -1/2" in width. Spatter marks were present at the dents.
➢      Representative roof areas for each facing slope were inspected and found to be
       clear of damage attributable to hailstone impacts.


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 ➢       One (1) shingle tab on the west-facing slope contained a diagonal crease. The
         dark color of the crease li'ne indicated the damage was fresh. The delamination
         present beneath the shingle tab indicated the damage was mechanical in nature
         and not consistent with wind forces. The tab was located within the field of the
         roof slope. THIS IS DAMAGE AND THEY DID NOT COMPARE OUR PHOTOS
 ➢       Two (2) shingle tabs on the south-facing slope were creased. The dark color of
         the crease line indicated the damage was fresh. The delamination present
         beneath the shingle tab indicated the damage was mechanical in nature and not
         consistent with wind forces. The tab was located within the field of the roof
         slope.
 ➢       One (1) shingle tab on the north-facing slope was creased/torn. The dark color
         of the crease line and underlying shingle indicated the damage was fresh. The
         delamination present beneath the shingle tab indicated the damage was
       mechanical in nature and not consistent with wind forces. The tab was located
       within the field of the roof slope. DAMAGE THAT IS COVERED AND OUR
       ESTIMATE IS CORRECT
 ➢     The roof surfaces were clear of damage attributable to wind forces.
 Building #3 —"Building B Units 9-12 & 13-16°

 Exterior /nspection:

 ➢       The exteriors were clad with —9" wide double-lap vinyl siding and brick masonry.
 ➢       The downspouts contained dents and scrapes consistent with mechanical
         damages.
 ➢       Small spatter marks were present on the shufters on the south elevation. No
         damage was observed at the spatter mark locations.
- ➢      The tops of the gutters contained dents, measuring —1/2" in width, consistent with
         hailstone impact. Spatter marks were present at the dents.
 ➢        The remaining exterior surFaces were clear of damage attributable to hailstone
          impacts and/or wind forces.

 Roof Inspection:

 ➢        The roof surfaces were covered with a single layer of three-tab asphalt shingles
          over felt underlayment. Starter strips and drip edge were present at the eaves.
          The roof pitch measured —4:12. The shingle exposure averaged —5".       -                      -
 ➢        A total of two (2) —18" diameter turbine vents and five (5) slant back box vents
          contained dents consistent with hailstone impacts up to —1/2" in width. Spatter
          marks were present at the dents.
 ➢        Representative roof areas for each facing slope were inspected and found to be
          clear of damage attributab'le to hailstone impacts.
 ➢       A shingle tab was present on the north-facing slope; however, no missing shingle
         tabs were on the roof. The debris under the tab indicated the tab had been in
         that position for an extended period of time.
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                                              10                                        June 29, 2022
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➢        One shingle tab on the south-facing slope contained a diagonal crease. Heavy
                                                                                                           -   --
         sealant repairs were present to the shingle tab. The shingle tab was sealed.
         The dull grey exposed fiberglass fibers indicated the condition was older.
➢        The roof surfaces were clear of damage attributable to wind forces.

Building #4 —"Building A Units 1-4 & 5-8"

Exterior Inspection:

➢         The exteriors were clad with —9" wide doubie-lap vinyl siding and brick masonry.
➢         The downspouts contained dents and scrapes consistent with mechanical
          damages.
➢         Small spatter marks were present on the shutters on the south elevation. No
          damage was observed at the spatter mark locations.
 ➢        Shingle debris was observed in the south yard. The debris appeared to have
          been cut as opposed to damage from wind forces.
 ➢        One piece of siding, measuring —10' long, was on the ground at the east
          elevation. The piece was still intact and clear of" tearing consistent with wind
          forces. The section of siding should be reinstalled.
                                                                                        with
 ➢        The tops of the gutters contained dents, measuring —1/2" in width, consistent
          hailstone impact. Spatter marks were present at the dents.
 ➢        The remaining exterior surfaces were clear of damage attributable to hailstone
          impacts and/or wind forces.

 Roof Inspection:

    ➢     The roof surfaces were covered with a single layer of three-tab asphalt shingles
          over felt underlayment. Starter strips and drip edge were present at the eaves.
          The roof pitch measured —4:12. The shingle exposure averaged —5".
    ➢     A total of two (2) —18" diameter turbine vents and five (5) slant back box vents
          contained dents consistent with hailstone impacts up to —1/2" in width. S.patter
          marks were present at the dents.
    ➢     Representative roof areas for each facing slope were inspected and found to be
          clear of damage attributable to hailstone impacts.
    ➢      Several areas of replacement shingles were on the south-facing slope: —5 near
           the ridge at the east end, —2 within the field of the roof slope, ~15 near the ridge
           at the west end, and —1 near the west eave. Further observations follow:
               • The replacement shingles were dimensional shingles, not three-tab like
                  the shingles on the remainder of the roof slope.




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     EES Group                                             Engineering & Environmental Services, Inc.'~~
                                                                                                June ?_9, 2022
                                                       11
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                                                                                                            nt
                                                                     in the course above the replaceme
                •    Three (3) shingle tabs were missing
                                                                          e. The dull color of the exposed
                     shingles at the west end near the ridg                                                  s
                                                                       dition was oider. The missing tab
                     underlying shingles indicated the con
                                                                      during replacements as opposed to
                      were consistent with damaged tabs
                                                                          hand dabbing to resecure the now
                      damage attributable to wind forces. No
                                                                       (i.e., improper replacement shingle
                      missing shingle tabs was apparent
                      installment).
                                                                                                           the
                                                                   above the replacement shingles at
                 • One (1) shingle tab was missing
                                                                        r of the exposed underlying shingles
                      east end near the ridge. The dull colo
                                                                    The missing tabs were consistent with
                       indicated the condition was older.                                                    to
                                                                      as opposed to damage attributable
                       damaged tabs during replacements                                                       s
                                                                        ecure the now missing shingle tab
                       wind forces. No hand dabbing to res
                                                                           nt shingle installment).
                       were apparent (i.e., improper replaceme
                                                                                                            the
                                                                 t end near the rake. The dull color of
  ➢           One shingle tab was missing at the eas
                                                               the damage was older.
              exposed underlying shingles indicated
                                                                                                            the
                    (2)   shin gle tab  s  on the  nor th-f acin g  slope were torn. The dark color of
  ➢           Two                                                                                        h the
                                                                 h. The delamination present beneat
              tear iline indicated the darnage was fres                                             con sist ent
                                                            was mechanical in nature and not
              shingle tabs indicated the damage
                                                             ted within the field of the roof slope.
              with wind forces. The tabs were loca
                                                                                                            The
                           shin gle tab   s on  the  nor th-f acin  g slope had weathered creases.
  ➢           Two (2)                                                                                  shingle
                                                             Sealant repairs were present to the
               shingles were sealed to the roof.
               tabs.
                                                                                                        es.
                     rem  ain ing roo f sur fac es wer  e clea  r of damage attributable to wind forc
   ➢           The

   Mail Room

      Exterior Inspection:
                                                                                              sonry.
                                                      e double-lap vinyl siding and brick ma
      ➢        The exteriors were clad with —9" wid
                                                                                             chanical
                                                        and scrapes consistent with me
      ➢        The downspouts contained dents
               damages.
                                                                                         vation. No
                  all spa tter ma rks wer e pre sen t on the shutters on the south ele
      ➢        Sm
                                                       mark locations.
               damage was observed at the spatter
                                                                                               ent with
                                                        ts, measuring —1•/2" in width, consist
      ➢        The tops of the gutters. contained den
                                                       e present at the dents.
               hailstone impact. Spatter marks wer
                                                                                             hailstone
                                                        e clear of damage attributable to
       ➢        The remaining exterior surfaces wer
                impacts and/or wind forces.

       Roof Inspection:
                                                                                                t shingles
                     .roo f sur fac es wer e cov ere d with  a single layer of three-tab asphal
          ➢      The                                                                          the eaves.
                                                          ps and drip edge were present at
                 over felt underlayment. Starter stri
                                                            shingle eXposure averaged —5".
                 The roof pitch measured —4:12. The

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➢       Representative roof areas for each facing slope were inspected and found to be
        clear of damage attributable to hailstone impacts.     :
➢       One shingle tab was missing from the north slope. The dull color of the exposed
        underlying shingles indicated the damage was older.
➢       One (1) shingle tab on the south-facing siope was creased. The dark color of the
        fear line indicated the damage was fresh. The delamination present beneath the
        shingle tab and the multiple crease lines indicated the damage was mechanical
        in nature and not consistent with wind forces. The tab was located within the
        field of the roof slope and at a nail pop.
➢       The remaining roof surfaces were clear of damage attributable to wind forces.




THIS REPORT IS NOT TRUE ON ITS FACE




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Damape Summary: Table 1 below summarizes the damages observed.
                                      Table 1— Ringo Drive Damage Summary
                                                        Hail                             Wind       Wind
  EES                                              Damage to                                    Damage     Replacement                         Z
            Building ID               Exterior                       Roof            Damage                                             Other
Building                   Faces                    Shingles                                    — Newer        Shingles2
            & Unit #'s               Damage' z                     Metals3            — Old
  ID                                              (Bruises/100                       Damage2    Damage2
                                                     sq. ft.)
                                                                                                                              E Ext - Unlapped siding
                                     N: G                           (4) SBBV                                                  Roof-Two (2) mechanically
                                     S: G          0                (2) TV           0          0          0                  creased shingles (S-1, N-1)
    1       C-17-20        South
                                                                                                                              Roof - Four (4) fresh
                                     N: G                                                                                     mechanically creased
                                     S: G          0                (2) TV           0          0          0                  shingles (S-2, N-1, W-1))
    2       D- 21-24       South
                                     N: G                           (5) SBBV                                                  S Slope - One older
            B- 9-12 &
                                     S: G          0                (2) TV           0          0          0                  mechanically torn shingle
    3       13-16          North
                                                                                                           S-5atEend
                                                                                                           near ridge, 1
                                                                                                           damaged tab
                                                                                                           above              E Ext -'"10' long vinyl siding
                                                                                                           S- 2 in field      piece removed near AC
                                                                                                           S- 1 at W eave     N Slope - 2 mechanically
                                                                                                           S-15 at W end      damaged shingle tabs
                                                                                                           near ridge, 3
                                     N: G                           (5) SBBV         S- 1                  damaged tabs
                            North    S: G          0                (2) TV           N- 2       0          above
     4      A-1-4 & 5-8
                                                                                                                              S Slope - One fresh
                                     N: G                                                                                     mechanically creased
  Mail
                                     S: G          0                0                N -1                                     shingle
  Room                      North
 1- Exterior features include gutters (G)
 2- North (N), South (S), East (E), West (W), Exterior (Ext)
 3- Standard Slant-Back Box Vent (SBBV), ^'18" Diameter Turbine Vent (TV)




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Discussions:                   Discussions pertaining to EES' observations and conclusions are
provided below.

WEATHER DATA

NWS Wind Data: Wnd data was researched from the National Weather Service
(NWS) Paducah Weather Station (the closest reporting stations to the subject property)
for December 2021. Results are provided below.

➢       NWS Paducah December 2021: The maximum two-minute wind and the
        highest peak gust wind speeds reported in December 2021 ranged up to 25 MPH
        and 51 MPH, respectively, on December 10, 2021. The winds on this date
        arrived primarily from the south.
The reported peak gust wind speeds from the NWS at the Paducah Weather Station in
December •2021 did not exceed 90 MPH, the resistance threshold prescribed under
Kentucky building codes since —2000. Further, the reported two-minute wind speeds
did not exceed 70 MPH, the threshold prescribed in Kentucky building codes prior to
2000.

NWS Tornado Data: EES researched tornado events on the NWS' website. Results
follow.

➢        December 10-11, 2021: An EF-4 tornado passed through northwest Tennessee
         and southwest Kentucky. The tornado passed through nearby Mayfield, KY;
         however, the tornado path did not pass through Clinton, KY where the subject
         property was located (https://www.weather.gov/pah/December-10th-llth-2021-
         Tornado).
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                 Figure 5— NWS Tornado Path — December 10 and 11, 2021




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CoreLogicT"" Hail Verification Report: A Hail Verification ReportTM from CoreLogic
Spatial Solutions, LLC was provided to EES and reviewed for the subject property. The
address=specific report gives a history of hail-fall activity at the location and within 1, 3,
and 10 rniles from January 1, 2009 through June 13, 2022. It accomplishes this with the
use of their HailScopeT"" "verification algorithm" which assesses hail equal to or greater
than 3/4" falling within a 10-mile radius of the address and produces a report of the
dates and sizes of the hail. The Hail Verification ReportTM is reproduced below as
Figure 6.
                  WE FOUND DEBRIS STRIKES - THEY
                      LIT HAIL V1lHERE CONVENIENT
                CCCt L@Logic       . Weather Verification Services •




                Hail Verification Report
                Clalm or Refaranco p      22388-BJH
                InsuredlProparty Owner    Stale Aulo-Volunleer Mgml{Ringo}Ha117Wlnd

                Addreas                   205 Ringo Dr
                                          Cllnlnn, KY 42031
                Coordlnatos               LaUtude36.669699..Longltdde-89.0005&t

                Data Range                Jan 01, 200910 Jun 13, 2022
                Report Oeneratod          June 141h, 2022 at 18:2520 UTC




                Storm Events
                                                                     Estlmated Mexlmum HaII Slze

                          Date            At t.ocatlon        wlthin 1 nd r 1.81 km   Withln 3 m114.1t3 km   Wlthln 1D m1116.09
                                                                                                                     krn

                     Dec 10, 2021              —                  1,In 1254 cm           1.3 En l 9.3'crrl     1.5 fn (3:81 crim
                     Apr 8, 2020         0_8,n /203 cm           0.91n /229 art          ~1`Iri (2.54 otd       i 1n! 2§4 cm

                     May 26. 2016              —                        —                0.8 In 12.03 cm        1In 1 2.54 cm



      Figure 6: CoreLogic Hail Verification Report for the Subject Property
Review of the information in the figure above indicated that 1.0" diameter hail fell within
one mile of the subject property on December 10, 2021. Additionally, hail up to 0.8"
diameter hail fell on the subject property on April 8, 2020.
 Note, hail sizes less than 0.75" in diameter may have fallen at the subject property .and
 gone unreported.

 Determinina Hail Size: The size (diameter) of the hail which likely fell on the subject
 property was approximated by inspection of the metal surfaces and measurements of
 the impact marks which appeared consistent with hail-strikes. For hailstones measuring
 up to 2" in diameter, the hailstone size typically ranges from 1-1/2 to 2-1/2 times the
 diameter of the inner dent created upon impact with the most common metal surfaces
 on average (Petty 2013). The inner dents of the impact marks observed on ,the metal
 surfaces measured up to —1/2" in diameter indicating the hailstones may have ranged
 conservatively from —3/4" to —1-1/4" in diameter. Taking into account the average
 multiplier and the maximum inner dent diameter, the hail that struck the property likely
 was -1" in diameter.
                                       PURE CONJECTURE -
                                       GUESSWORK
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Hail-Spatter Marks: When hailstones strike metal surfaces, they . leave behind a
spatter mark in the oxidation layer. It typically takes one to two years for the surPace to
re-oxidize and cover the mark. Thus, when dents consistent with hailstone impacts are
found on metal surfaces without spatter marks this is an indicator that the dents were
caused by an older hailstorm event.
The dents to the subject metal surfaces (gutters and roof vents) contained spatter
marks which indicated they were relatively fresh. Also, spatter marks were present to
the exteriors; however, no dents were at the spatter locations.

Wind Effects to Asphalt Shingles: Wind traveling over and around a pitched roof
surface creates both positive and negative (i.e., suction/uplift) pressures on the roofing
material. Wind-related damages to asphalt shingles on a pitched roof typically occur as
a result of high suction/uplift pressures and the localized effects on the individual
shingles as air flows over its surface. Further, these higher suction/uplift pressures
occur along the lower eaves, rakes, valleys, and/or ridges of the roof surface. Hence,
wind-related damages normally first appear in these locations, especially if the shingles
are aged/weathered, poorly installed, and/or poorly bonded (i.e., un-adhered). Wind
damage to asphalt shingles is typically identified as lifted shingles, cracking in the
shingle mat (i.e., creases), torn/missing shingles/tabs, and, in severe cases, sections of
shingles displaced from the roof surface.
The roof surfaces contained a few shingles that contained damage consistent with wind
forces. A summary of the damage locations was provided within the observations and
damage surnmary section of this report. It should be noted, the damage appeared to be-
relatively older. Also, damage was found on opposing roof slopes which was consistent
with multiple historical storm events as opposed to damage from a single event.
Additionally, a few areas of missing shingle tabs were observed upsiope of replacement
shingles. These shingle tabs were rendered susceptible to damage due to poor
replacement shingle installation techniques. General best practices include resealing
the upsiope shingles via hand dabbing (i.e., dabs of sealant to resecure the shingles to
the roof surFaces after the replacement shingle has been installed).

 Mechanical Damage and Delamination:             Damage that results from mechanical
 manipulation may cause delamination of the adhesive strip from the asphalt surfaces.
 Delamination is apparent when portions of the granular base or asphalt mat of the
 adjoining shingles are torn from either shingle and are attached to the sealant strip.
 Delamination of the sealant strip implies that the adhesive bonds were stronger than
 those between the granules and its asphalt shingle adhesive bonds, much like a weld is
 stronger than the adjoining metals. This type of failure rarely occurs unless encouraged
 mechanically (Stephen E. Petty, Forensic Engineering: Damage Assessments for
 Residential and Commercial Structures, 2013).
 Evidence of inechanical damage was observed to several shingle tabs on the roof
 slopes. A summary of the damage locations was provided within the observations and
 damage summary section of this report.
                                           SPECULATION


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           Conclusions: Based on the information gained during the inspection; review of
           weather data, building codes, and information from industry literature; and our
           professional experience, EES has arrived at the following conclusions:

           ➢        The exteriors were clear of damages attributable to wind damages.
LIE
           ➢        The roof surfaces contained minor areas of damages attributable to wind forces.
                    Based on inspection observations, the damage appeared to be older and
,NOR
aMAGE IS            occurred over multiple storm events. Specific damage was provided within the
RECT                observations and damage summary sections of the report.
1YSICAL
)ss        ➢        Evidence of inechanical damage was observed to several shingle tabs on the
                    roof slopes. A summary of the damage locations was p.rovided within the
                    observations and damage summary section of this report.
           ➢        The hail that impacted the property was —1" in diameter. The components which
                    were affected by hail impacts are provided in the observations section of this
                    report.
           ➢        A review of weather data indicated hail of that magnitude was present within the
                    area of the subject property on December 10, 2021. The damage was likely
                    attributed to the December 10, 2021 or earlier hail event.




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1230 SOUTH ELLINGTON PARKWAY, LEWISBURG, TN 37091

Building Information: The complex consisted of eleven apartment buildings and an
office building. The exteriors of the buildings were clad with brick masonry veneer. The
roof surFaces were covered with three-tab asphalt shingles. A layout of the apartment
complex is shown in Figure 7:




                              Figure 7: Complex Layout

 EES Inspection Observations:        Observations made during the, inspection of the
 exterior and roof surfaces of the buildings are summarized below; a summary of
 damages is provided in Table 2; photographs are provided in Appendix C.




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Building #1 - "H" Units 2467-2478

Exterior Inspection:

➢       The exteriors were clad with brick masonry and the breezeway was clad with -7"
        wide Hardie-board.
➢       The -12" wide soffits around the perimeter and the soffits within the breezeway
        were sporadically hanging/sagging/drooping of varied severity throughout the
        perimeters. There was a severe lack of fasteners aiong the channels to which
        the soffits were secured. Some of the dull exposed surfaces indicated the
        conditions were older.
➢       The exterior components were clear of damage attributable to wind forces and/or
        hailstone impact.

Roof Inspection:

➢        The roof surfaces were covered with a singie layer of three-tab asphalt shingles
         over felt underlayment. Drip edge was present at the eaves. No starter
         strip/form of securement was present along the eaves. The roof pitch measured
         -4:12. The shingle exposure averaged -5".
 ➢       Representative roof areas for each facing siope were inspected and found to be
         ciear of damage attributable to hailstone impacts.
 ➢       The two (2) -18" turbine vents and six (6) slant-back box vents contained small
         dents (-1/4" in diameter) consistent with hailstone impacts. Spatter marks were
         present in the dents.
 ➢       The remaining roof surFaces were clear of damage attributable to wind forces
         and/or hailstone impact.

 Building #2 - "G" Units 2455-2468

 Exterior Inspection:

 ➢       The exteriors were clad with brick masonry and the breezeway was clad with -7"
         wide Hardie-board.
 ➢       The -12" wide soffits around the perimeter and the soffits within the breezeway
         were sporadically hanging/sagging/drooping of varied severity throughout the
         perimeters. There was a severe lack of fasteners along the channels to which
         the soffits were secured. Some of - the dull exposed surfaces indicated the
         conditions were older. The more severe damage (i.e., missing/collapsed) to the
         sofPit included:
              •      - 5 linear feet (LF) of the sofflt at the east elevation
              •      -2 LF at the north elevation
    ➢     The remaining exterior components were clear of damage attributable to wind
          forces and/or hailstone impact.

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Roof lnspection:

➢        The roof surfaces were covered with a single layer of three-tab asphalt shingles
         over felt underlayment. Drip edge was present at the eaves. No starter
         strip/form of securement was present along the eaves. The roof pitch measured
         -4:12. The shingle exposure averaged -5".
➢        Representative roof areas for each facing slope were inspected and found to be
         clear of damage attributable to hailstone impacts.
➢        The two (2) -18" turbine vents and six (6) slant-back box vents contained small
         dents (-1/4" in diameter) consistent with hailstone impacts. Spatter marks were
         present in the dents.
➢        Two shingle tabs were missing on the upper south-facing slope. The dull color of
         the exposed surfaces indicated the damage was older.
➢        The remaining roof surfaces were ciear of damage attributable to wind forces
         and/or hailstone impact.

Building #3 - "I" Units 2483-2494

Exterior lnspection:

 ➢       The exteriors were clad with brick masonry and the breezeway was clad with -7"
         wide Hardie-board.
 ➢       The -12" wide soffits around the perimeter and the soffits within the breezeway
         were sporadically hanging/sagging/drooping of varied severity throughout the
         perimeters. There was a severe lack of fasteners aiong the channels to which
         the soffits were secured. Some of the dull exposed surfaces indicated the
         conditions were older.
 ➢       The exterior components were clear of damage attributable to wind forces and/or
          hailstone impact.

 Roof Inspection:

    ➢     The roof surfaces were covered with a singie layer of three-tab asphalt shingies
          over felt underlayment. Drip edge was present at the eaves. No starter
          strip/form of securement was present along the eaves. The roof pitch measured
          -4:12. The shingle exposure averaged -5".
    ➢     Representative roof areas for each facing slope were inspected and found to be
          ciear of damage attributable to hailstone impacts.
    ➢     The two (2) -18" turbine vents and six (6) slant-back box vents contained small
          dents (-1/4" in diameter) consistent with hailstone impacts. Spatter marks were
          present in the dents.
    ➢     The remaining roof surfaces were clear of damage attributabie to wind forces
          and/or hailstone impact.


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Building #4- "K" Units 2567-2578

Exterior Inspection:

➢       The exteriors were clad with brick masonry and the breezeway was clad with -7"
        wide Hardie-board.
➢       The -12" wide soffits around the perimeter and the soffits within the breezeway
        were sporadically hanging/sagging/drooping of varied severity throughout the
        perimeters. There was a severe lack of fasteners along the channels to which
        the soffits were secured. Some of the dull exposed surfaces indicated the
        conditions were older. The more severe damage to the soffit included:
             •   -10 LF at the east elevation
➢        The remaining exterior components were clear of damage attributable to wind
         forces and/or hailstone impact.

Roof lnspection:

 ➢       The roof surfaces were covered with a single layer of three-tab asphalt shingles
         over felt underlayment. Drip edge was present at the eaves. No starter
         strip/form of securement was present along the eaves. The roof pitch measured
         -4:12. The shingle exposure averaged -5".
 ➢       Representative roof areas for each facing slope were inspected and found to be
         clear of damage attributabie to hailstone impacts.
 ➢       The two (2) -18" turbine vents and six (6) slant-back box vents contained small
         dents (-1/4" in diameter) consistent with hailstone impacts. Spatter marks were
         present in the dents.
 ➢       The remaining roof surfaces were clear of damage attributable to wind forces
         and/or hailstone impact.

 Building #5 - "J" Units 2495-2566

 Exterior Inspection:

    ➢    The exteriors were clad with brick masonry and the breezeway was clad with -7"
         wide Hardie-board.
    ➢     One shutter was missing from the north elevation.
    ➢    Spatter marks, up to -1/2" in width, were present on the west elevation
          components consistent with a more recent hail event. No damage was observed
          at the spatter mark locations.
    ➢     The -12" wide soffits around the perimeter and the soffits within the breezeway
          were sporadically hanging/sagging/drooping of varied severity throughout the
         .perimeters. There was a severe lack of fasteners along the channels to which
          the soffits were secured. Some of the dull exposed surfaces indicated the
          conditions were older.

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➢        The remaining exterior components were clear of damage attributable to wind
         forces and/or hailstone impact.

Roof Inspection:

➢        The roof surfaces were covered with a single layer of three-tab asphalt shingles
         over felt underlayment. Drip edge was present at the eaves. No starter
         strip/form of securement was present along the eaves. The roof pitch measured
         -4:12. The shingle exposure averaged -5".
➢        Representative roof areas for each facing slope were inspected and found to be
         ciear of damage attributable to hailstone impacts.
➢        The two (2) -18" turbine vents and six (6) slant-back box vents contained small
         dents (-1/4" in diameter) consistent with hailstone impacts. Spatter marks were
         present in the dents.
 ➢       There were -4 shingles with tears on the north slope. The dull color of the tears
         indicated the damage was older. Of note, heavy tree coverage and branches in
         contact with the roof surface were in the area.
 ➢        The remaining roof surfaces were clear of damage attributable to wind forces
          and/or hailstone impact.

 Building #6 - "F" Units 2445-2454

 Exterior Inspection:

 ➢        The exteriors were clad with brick masonry and the breezeway was clad with -7"
          wide Hardie-board.
    ➢     The -12" wide soffits around the perimeter and the soffits within the breezeway
          were sporadically hanging/sagging/drooping of varied severity throughout the
          perimeters. There was a severe lack of fasteners along the channels to which
          the soffits were secured. Some of the dull exposed surfaces indicated the
          conditions were oider. The more severe damage to the soffit inciuded:
              0      -15 LF at the north elevation
              •  -12 LF at the west eievation
    ➢     A section of gutter, measuring -15' long, was missing at the north gutter.
    ➢     The remaining exterior components were clear of damage attributable to wind
          forces and/or hailstone impact.

    Roof Inspection:

    ➢     The roof surfaces were covered with a single layer of three-tab asphalt shingles
          over felt underlayment. Drip edge was present at the eaves. No starter
          strip/form of securement was present along the eaves. The roof pitch measured
          -4:12. The shingie exposure averaged -5".


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➢        Representative roof areas for each facing slope were inspected and found to be
         clear of damage attributable to hailstone impacts.
➢        The two (2) -18" turbine vents and six (6) slant-back box vents contained small
         dents (-1/4" in diameter) consistent with hailstone impacts. Spatter marks were
         present in the dents.
➢        The remaining roof suriaces were clear of damage attributable to wind forces
         and/or hailstone impact.

Building #7 - "E" Units 2437-2444

Exterior lnspection:

➢         The exteriors were clad with brick masonry and the breezeway was clad with -7"
         .wide Hardie-board.
➢         The -12" wide soffits around the perimeter and the sofFts within the breezeway
          were sporadically hanging/sagging/drooping of varied severity throughout the
          perimeters. There was a severe lack of fasteners along the channels to which
          the soffits were secured. Some of the dull exposed surfaces indicated the
          conditions were older. The more severe damage to the soffit included:
             •   -6 LF at the east elevation
             • ,-6 LF at the west elevation
             •   -17 LF at the south elevation
             •   -10 LF of the breezeway soffit at the north end
➢        A section of fascia, measuring -6' long, was missing at the east elevation.
➢        The remaining exterior components were clear of damage attributable to wind
         forces and/or hailstone impact.

Roof Inspection:

➢        The roof surFaces were covered with a single layer of three-tab asphalt shingles
         over felt underlayment. Drip edge was present at the eaves. No starter
         strip/form of securement was present along the eaves. The roof pitch measured
         -4:12. The shingle exposure averaged -5".
 ➢       Representative roof areas for each facing slope were inspected and found to be
         clear of damage attributable to hailstone impacts.
 ➢       The two (2) -18" turbine vents and six (6) slant-back box vents contained small
         dents (-1/4"in diameter) consistent with hailstone impacts. Spatter rnarks were
         present'in the dents.
 ➢       The remaining roof surfaces were clear of damage attributable to wind forces
         and/or hailstone impact.




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Building #8 — "D" Units 2429-2434

Exterior Inspection:

➢       The exteriors were clad with brick masonry and the breezeway was clad with —7"
        wide Hardie-board.
➢       The —12" wide soffits around the perimeter and the soffits within the breezeway
        were sporadically hanging/sagging/drooping of varied severity throughout the
        perimeters. There was a severe lack of fasteners aiong the channels to which
        the soffits were secured. Some of the dull' exposed - surfaces indicated the
        conditions were older. The more severe damage to the soffit included:
             •   -12 LF at the east elevation
➢       The remaining exterior components were clear of damage attributable to wind
        forces and/or hailstone impact.

Roof Inspection:

➢        The roof surfaces were covered with a single layer of three-tab asphalt shingies
         over felt underlayment. Drip edge was present at the eaves. No starter
         strip/form of securement was present along the eaves. The roof pitch measured
         —4:12. The shingle exposure averaged —5".
➢        Representative roof areas for each facing siope were inspected and found to be
         clear of damage attributable to hailstone impacts.
➢        The one (1) —18" turbine vents and six (6) slant-back box vents contained small
         dents (-1/4" in diameter) consistent with hailstone impacts. Spatter marks were
         present in the dents.
 ➢       One of the turbine vents was missing which left a large hole in the roof exposed
         to the interior attic spaces.
 ➢       A section of the gutter guards, measuring —24' long, was missing from the south
         gutter.
 ➢       The remaining roof surfaces were clear of damage attributable to wind forces
         and/or hailstone impact.

 Building #9 — "A" Units 2401-2402

 Exterior Inspection:

 ➢       The exteriors were clad with brick masonry and the breezeway was clad with —7"
         wide Hardie-board.
 ➢       The —12" wide soffits around the perimeter and the soffits within the breezeway
         were sporadically hanging/sagging/drooping of varied severity throughout the
         perimeters. There was a severe lack of fasteners along the channels to which
         the soffits were secured. Some of the dull exposed surFaces indicated the
         conditions were older.

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➢       The exterior components were clear of damage attributabie to wind forces and/or
        hailstone impact.

Roof Inspection:

➢       The roof surfaces were covered with a single layer of three-tab asphalt shingles
        over felt underlayment. Drip edge was present at the eaves. No starter
        strip/form of securement was present along the eaves. The roof pitch measured
        -4:12. The shingle exposure averaged -5".
➢       Representative roof areas for each facing slope were inspected and found to be
        clear of damage attributable to hailstone impacts.
➢       The two (2) -18" turbine vents and six (6) slant-back box vents contained small
        dents (-1/4" in diameter) consistent with hailstone impacts. Spatter marks were
        present in the dents.
➢       A total of four shingle tabs had irregular tears along the bottom edges of the
        exposure. Further observations follow:
             • Two tabs were present on the south-facing slope and two on the north-
                facing slope.
             • The dull grey exposed fiberglass mat at the tear line indicated the
                 condition was older.
             • The damage was located in the field of the roof slopes away from the
                 eaves.
             • The tears were not consistent with damages attributable to wind forces.
 ➢       The remaining roof surfaces were clear of damage attributabie to wind forces
         and/or hailstone impact.

 Building #10 - "B" Units 2411-2418

 Exterior Inspection:

    ➢    The exteriors were clad with brick masonry and the breezeway was clad with -7"
         wide Hardie-board:
    ➢    The -12" wide soffits around the perimeter and the soffits within the breezeway
         were sporadically hanging/sagging/drooping of varied severity throughout the
         perimeters. There was a severe lack of fasteners along the channels to which
         the soffits were secured. Some of the dull exposed surfaces indicated the
         conditions were older.
    ➢    The exterior components were clear of damage attributable to wind forces and/or
         hailstone impact.




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Roof Inspection:

➢        The roof surfaces were covered with a single layer of three-tab asphalt shingles
         over felt underlayment. Drip edge was present at the eaves. No starter
         strip/form of securement was present along the eaves. The roof pitch measured
         -4:12. The shingle exposure averaged -5".
➢        Representative roof areas for each facing slope were inspected and found to be
         clear of damage attributable to hailstone impacts.
➢        The two (2) -18" turbine vents and six (6) slant-back box vents contained small
         dents (-1/4" in diameter) consistent with hailstone impacts. Spatter marks were
         present in the dents.
➢        An area of replacement gutter guards was present within the south gutter. The
         south gutter was pulled out from the roof. The presence of replacement gutter
         guards indicated long-term issues with clogged gutters. The dull exposed fascia .
         board indicated the condition was oider.
➢        The remaining roof surFaces were clear of damage attributabie to wind forces
          and/or hailstone impact.

Building #11 - "C" Units 2421-2128

Exterior Inspection:

 ➢        The exteriors were clad with brick masonry and the breezeway was clad with -7"
          wide Hardie-board.
 ➢        The -12" wide soffits around the perimeter and the soffits within the breezeway
          were sporadically hanging/sagging/drooping of varied severity throughout the
          perimeters. There was a severe lack of fasteners along the channels to which
          the soffits were secured. Some of the dull exposed surfaces indicated the
          conditions were older. The more severe damage to the sofFit included:
              •      -10 LF at the east elevation
              •      -6 LF at the west elevation
    ➢      The remaining exterior components were clear of damage attributable to wind
           forces and/or hailstone impact.

 Roof Inspection:

    ➢     The roof surfaces were covered with a single layer of three-tab asphalt shingles
          over felt underlayment. Drip edge was present at the eaves. No starter
          strip/form of securement was present along the eaves. The roof pitch measured
          -4:12. The shingle exposure averaged -5".
    ➢     Representative roof areas for each facing slope were inspected and found to be
           clear of damage attributable to hailstone impacts.
    ➢      The two (2) -18" turbine vents and six (6) slant-back box vents contained small
           dents (-1/4" in diameter) consistent with hailstone impacts. Spatter marks were
           present in the dents.
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➢        The remaining roof surfaces were clear of damage attributable to wind forces
         and/or hailstone impact.

Office

Exterior Inspection:

➢        The exteriors were clad with brick masonry and the breezeway was clad with -7"
         wide Hardie-board.
➢        The exterior components were clear of damage attributable to wind forces and/or
         hailstone impacts.

Roof lnspection:

➢        The roof surfaces were covered with a single layer of three-tab asphalt shingles
         over felt underlayment. Drip edge was present at the eaves. No starter
         strip/form of securement was present along the eaves. The roof pitch measured
         -4:12. The shingle exposure averaged -5".
 ➢       Representative roof areas for each facing siope were inspected and found to be
         clear of damage attributable to hailstone impacts.
 ➢       The one (1) slant-back box vents contained small dents (-1/4" in diameter)
         consistent with hailstone impacts. Spatter marks were present in the dents.
 ➢       One partial shingle tab on the south-facing slope was missing. The dull color and
         lack of adhesive transfer indicated the partial shingle tab was missing for an
         extended period of time and likely never fully bonded.
 ➢       The remaining roof surfaces were clear of damage attributable to wind forces
         and/or hailstone impact.




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                                                      observed.
Damage Summary: Table 2 below summarizes the damages
                             Table 2— South Ellington Parkway Damage Summary
                                                                            Hail Damage                  Wind
 EES                                                                         to Shingles     Roof       Damage              Wind Damage Newer                       Other1,2
Building
              Building ID          Faces       Exterior Damage1 2           (Bruises/100    Metals3      — Old                    Damage2
  ID           & Unit #'s                                                                               Dama ez
                                                                                s . ft.)
                                                                                              2-TV
                                                                                                             5-2                    0             Sporadic Loose Soffits
                                               0                                 0           6- SBBV
    1        H- 2467-2478         South
                                               E- 5 LF Soff                                   2- TV
                                                                                                              0                     0             Sporadic Loose Soffits
                                               N- 2 LF Soff                       0          6- SBBV
    2         G- 2455-2468         North
                                                                                              2-TV
                                                                                                              0                     0             Sporadic Loose Soffits
                                               0                                  0          6- SBBV
    3         1- 2483-2494         South
                                                                                              2-TV
                                                                                                               0                    0              Sporadic Loose Soffits
                                               E-10 LF Soff                       0          6- SBBV
    4         K- 2567-2578         North                                                                                                           Sporadic Loose Soffits,
                                                                                              2-TV
                                                                                             6- SBBV         N- 4                   0              - 1/2" Spatter on W Ext
                                   North       N- 1 missing shutter               0
    5         J- 2495-2566
                                               N-15LFSoff
                                               N-15 LF Gut Missing                            2-TV
                                                                                                               0                    0              Sporadic Loose Soffits
                                                W-12 LF Soff                      0          6- SBBV
    6         F- 2445-2454         South
                                                E - 6 LF Soff
                                                W-6LFSoff
                                                E - 6 LF Fascia
                                                S -17 LF Soff                                                                                      Sporadic Loose Soffits
                                                N-10 LF Soff                                  2-lV
                                                                                                               0                    0              24 LF Missing Gutter Guards in South Gut
                                                Breezeway                         0          6- SBBV                    1
     7         E- 2437-2444         South                                                                                                          Sporadic Loose Soffits,
                                                                                              2 -TV
                                                                                                               0                    0              1 Missing TV
                                                E- 12 LF Soff                     0          6- SBBV
        8      D- 2429-2434         North                                                                                                          Sporadic Loose Soffits,
                                                                                                                                                   Four (4) mechanical damages to tabs (S-2,
                                                                                               2-TV
                                                                                                               0                    0              N-2)
                                                0                                 0           6- SBBV
        9      A- 2401-2402         North                                                                                                          Sporadic Loose Soffits,
                                                                                               2-TV                                                Replacement Gutter Guards & Gutter
                                                                                                               0                        0          Pullout in S Gut
                                                   0                                 0        6- SBBV
     10        B- 2411-2418         North
                                                   E- 10 LF Soff                               2- TV

     11        C- 2421-2128         West           W- 6 LF Soff                       0       6- SBBV   1         0                     0         1 Sporadic Loose Soffits


   Office                           South       0                                     0       1- SBBV   I   S-1/2 Tab

 1- Exteriorfeatures include gutters (G), - 12" wide soffit (Soffit)
 2- North (N), South (S), East (E), West (W), Exterior (Ext)
                                                                     Vent (TV)
 3- Standard Slant-Back Box Vent (SBBV), -18" Diameter Turbine




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Discussions: Discussions pertaining to EES' observations and conclusions are
provided below.

WEATHER DATA

NWS Wind Data:                                                           Wind data was researched from the National Weather Service
(NWS) Nashville Weather Station (the closest reporting stations to the subject property)
for December 2021. Results are provided below.
➢      NWS Nashville December 2021: The maximum two-minute wind and the
       highest peak gust wind speeds reported in December 2021 ranged up to 47 MPH
       and 74 MPH, respectively, on December 11, 2021. The winds on this date
       arrived primarily from the south.
The .reported peak gust wind speeds from the NWS at the Nashville Weather Station in
December 2021 did not exceed 90 MPH, the resistance threshold prescribed under
Tennessee building codes since —2000. Further, the reported two-minute wind speeds
 did not exceed 70 MPH, the threshoid prescribed in Tennessee building codes prior to
 2000:

NWS Tornado Data: EES researched several tornado events on the NWS' website.
Results 'follow.
➢     December 10-11, 2021: An EF-0 tornado passed through northwest Tennessee
      and southwest Kentucky. The tornado passed south of the subject property
      (https://www.weather.gov/pah/December-10th-11th-2021-Tornado).

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                                   Figure 8— NWS Tornad,o -Path — December 10 and 11, 2021



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CoreLogicT"" Hail Verification Report: A Hail Verification ReportTM from CoreLogic
Spatial Sotutions, LLC was provided to EES and reviewed for the subject property. The
address-specific report gives a history of hail-fall activity at the.location, and within 1, 3,
and 10 miles from January 1, 2009 through June 22, 2022. It accomplishes this with the
use of their HailScopeTM "verification algorithm" which assesses hail equal to or greater
than 3/4". falling within a 10-mile radius of the address and produces a report of the
dates and sizes of the hail. The Hail Verification ReportTM is reproduced below as
Figure 9.

                                COI'eLoglC                                                Weather Verificat.ion Serrices



                     'Hail Verification Report
                     Claim or Reference #     22-388-BJH
                     Insured/propertyOwner    SlateAuto-VolunteerMgmt(SouthEJlington}Hail:Wind
                     Address                  1230 S Ellingtan PKvry
                                              Lewisburg, TN 37091
                     Coordnates               l.atltude 35.429147. Longitude -86.796807
                     Date Range               Jan 01, 2009 lo Jtm 22, 2022
                     Repott Generatetl        June 23rd, 2022 at 17:14:53 UTC



                     Storm Events
                                                                           E'timaterl Ma)lmum Hall Slze
                               Date           At Location       ' Whhln 1 m1/1.61 km      Whhin 3 ml 14.83 km      Wnhln 10 m1/16.09
                                                                                                                          km
                         Jun 12, 2021              —                   0_751n / 1.91 cm      0,91n 1229 cm            1 In /254 cm
                         Apr 24, 2021              —                          —             0.75 In 11.91 cm         0.9 In 1229 cm
                         Mar21,2017          0.91n/2.29cm                  In/3.3cm          1.81nY4.57cm            1,8.In14.57cm
                          Mar 9, 2017              —                   0.75 In 11.91 rm      0.9 In1229 cm            i.ln % 254 cm
                         Mar31,2012          id-lnl3i56cm              :1.61n/4.06an         1.6 In)4.06cin          1.61n14:06nn
                          Mar 2, 2012        1In /2.54 cn               4 In /2.54 rm        1.2 In / 3.05 r.m .     1.51n / 3.81 an
                         Junt8,2011                —                   0.81n/2.03an           1In/2.54an              1In/2.54cm
                          Apr 10, 2009       0.9 In / 229 cm           0.9 In 12.29 an        1 In 12.54 on          1:4in 13.56 cm



       Figure 9: CoreLogic Hail Verification Report for the Subject Property
Review of the information in the figure above indicated that 0.75" diameter hail fell within
one mile of the subject property on June 12, 2021. Reported storms at the subject
property included March 21, 2017 (0.9"), March 31, 2012 (1.4"), March 2, 2012 (1.0")
and April 10, 2009 (0.9").
Note, hail sizes less than 0.75" in diameter may have fallen at the subject property on
other dates not listed.

 Determining Hail Size: The size (diameter) of the hail which likely fell on the subject
 property was approximated by inspection of the metal surfaces and measurements of
 the impact marks which appeared consistent with hail-strikes. For hailstones measuring
 up to 2" in diameter, the hailstone size typically ranges from 1-1/2 to 2-1/2 times the
 diameter of the inner dent created upon impact with the most common metal surfaces
 on average (Petty 2013). The inner dents of the impact marks observed on the metal
 surfaces measured up to -1/4" in diameter indicating the hailstones may have ranged
 conservatively from -3/8" to -5/8" in diameter. Taking into account the average
 multiplier and the maximum inner dent diameter, the hail that struck the property likely
 was -1/2" in diameter.
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Hail-Spatter Marks: When hailstones strike metal surfaces, they leave behind a
spatter mark in the oxidation layer. It typically takes one to two years for the surface to
re-oxidize and cover the mark. Thus, when dents consistent with hailstone impacts are
found on metal surfaces without spatter marks this is an indicator that the dents were
caused by an oider hailstorm event.
The dents to the subject metal surfaces (roof vents) contained spatter marks which
indicated they were relatively fresh. Also, spatter marks were present to the exteriors;
however, no dents were at the spatter locations.

Wind Effects to Asphalt Shingles: Wind traveling over and around a pitched roof
surface creates both positive and negative (i.e., suction/uplift) pressures on the roofing
material. Wind-related damages to asphalt shingles on a pitched roof typically occur as
a result of high suction/uplift pressures and the localized effects on the individual
shingies as air flows over its surface. Further, these higher suction/uplift pressures
occur along the lower eaves, rakes, valleys, and/or ridges of the roof surface. Hence,
wind-related damages normally first appear in these locations, especially if the shingies
are aged/weathered, poorly installed, and/or poorly bonded (i.e., un-adhered). Wind
damage to asphalt shingles is typically identified as lifted shingles, cracking in the
shingle mat (i.e., creases), torn/missing shingles/tabs, and, in severe cases, sections of
shingles displaced from the roof surface.
The roof surFaces contained damage consistent with wind forces. A summary of the
damage locations was provided within the observations and damage summary section
of this report. It shouid be noted, the damage appeared to be relatively older.

Wind Effects to Exterior Claddings: As mentioned, wind traveling over and around a
structure creates both positive and negative (i.e., suction/uplift) pressures on the
exterior surfaces. Therefor, all exterior claddings must be properly secured in order to
prevent damages. Tennessee requires exterior components to withstand 90 MPH wind
speeds. ' When damage to exterior claddings occurs with wind speeds well beiow
design wind speeds, other factors are typically the reason.
The soffits around the perimeter and ,breezeways on the subject buildings were
sporadically hanging/sagging/drooping of varied severity throughout the perimeters.
Additionally, the condition was present on all cardinal direction elevations. . Close
observations of the chanhels to which the components were fastened indicated a lack of
proper securement to the substrates which rendered the soffits susceptible to below
design wind speeds and/or gravitational forces.
For further review, the 2007 Vinyl Siding Institute (VSI) Installation Manual was
reviewed for pertinent information regarding installation of soffits. Figure 10 below
shows general steps to secure the soffit sections to the structure.




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            3. Iizsert the panel into:the ohanoel on the watl,
               then Inta tha channel at tha fascia board (Fig.
               eB).
                                                                       UGTIib~}r         ~~
                 I>r It mlghtbe n6Gessary to flax Ihe;panal             trim       ..~        VJaodfaaetx
                      slig.htly.to insert it int,a the second
                      d,annef.
                 11 q+lake oertain itie panel Is perRendicular                 YIip~U
                    to the wall, tl,en nail: Depending on the                aluminum              f'
                                                                        1
                      installalion melhod baing used, nails will
                      be hari,mered alther into a nallirtg sldp
                      or a fascia boa rd..
                 A When ttsing a nailing strip, do nbi nail
                   Hghtiy—allow mbvenient fdr. e)tpansion,
                   Gontfnue the installaBon by looking                                          1=igure 68.
                      and nalling'the panels. Matie certairti
                      the panels are fully. lo*ed along their
                      antirs length_                                    NOTE- When nailingtatihefasaia boarxi,
            d. To ium a comer, measure from the dhan-                   use trim.nali5. I7riae the nail through the
               nol at the wall comer to the channel at die              natlflangeaitd "V"-shaped groovewithln
               comer pf the fiascia board (F1g: 69). Sutnracl           the rydffst pane) (Fig. 68). 'i'his is one of
                1/4" (fi.4mm) for expansion. Gut and install             trhe rare instancesthat ftce-nailing Is
                sotflt double channal Ilneal or back•to-back             perrni56ible. Qnoe a safF1C panel lb fae.e-
                J-al,annel, It nbe;essary, Install nailing strips           nalled, Yt: wlll expand orily Inone direc-
                to prnvlde backing tor trie Ilneal, tulit,er cut the        tion, Inthis case, towand the.recelving
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                      Figure 10: VSI Detail Regarding Soffit Panel Securement

 Mechanical Damage and Delamination:             Damage that results from mechanical
 manipulation may cause delamination of the adhesive strip from the asphalt surfaces.
 Delamination is apparent when portions of the granular base or asphalt mat of the
 adjoining shingles are torn from either shingle and are attached to the sealant strip.
 Delamination of the sealant strip implies that the adhesive bonds were s.tronger than
 those between the granules and its asphalt shingle adhesive bonds, much like a weld is
 stronger than the adjoining metals. This type of failure rarely occurs unless encouraged
 mechanically (Stephen E. Petty, Forensic Engineering: Damage Assessments for
 Residential and Commercial Structures, 2013).
 Evidence of inechanical damage was observed to a few shingle tabs on the roof slopes.
 A summary of the damage locations was provided within the observations and damage
 summary section of this report.




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Conclusions:     Based on the information gained during the inspection; review of
weather data, buiiding codes, and information from industry literature; and our
professional experience, EES has arrived at the following conclusions:

➢        The soffits were ultimately rendered susceptible to displacement as a result of
         inadequate securement. The damage likely occurred over an extended period of
         time.
➢        The roof surfaces contained minor areas of damages attributable to wind forces.
         Based on inspection observations, the damage appeared to be older and
         occurred over multiple storm events. Specific damage was provided within the
          observations and damage summary sections of the report.
➢         Evidence of inechanical damage was observed to a few shingle tabs on the roof
          slopes.   A summary of the damage locations was provided within the
          observations and damage summary section .of this report.
➢        The hail that impacted the properrty was —1/2" in diameter. The components
         which were affected by hail impacts are provided in the observations section of
         this report.
 ➢       A review of weather data indicated hail of similar magnitude was present within
         the area of the subject property on June 12, 2021. The damage was likely
         attributed to the June 12, 2021 or earlier hail event. Note, hail below 3/4"
         diameter is not reported. -




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                                    Figure 15: Complex Layout

EES Inspection Observations: .Observations made during the inspection of the
exterior and roof surfaces of the buildings are s.ummarized below; a summary of
damages is provided in Table 3; photographs *are. provided in. Appendix D.

Building #1 — "E" Units 1-4

Exterior Inspection:

 ➢       The exteriors we~e 'clad with- pain.ted wood sidi'ng 'and br'ick' masonry veneer.
 ➢       The    —12" ``' wide . soffits around the perimete~ ' ',,were sporadically
         hanging/sagg.in°g/drooping/missing: of varied..severity throughout the perimeters.
         There was a,-severe.lack- of fastenei-s"along:the channels to which the soffits were
         secured. Some of the -dull: exposed surfaces indicated the conditions were older.
         The more severe' damage to . the -soffit included:
             •       —4 LF'at.the east elevation
             •       -5 LF at the west elevation

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➢       A section of the gutter was sagged aiong the east exterior. The heavy debris
        buildup and drip-patterned stains indicated the issues were older.
➢       The exterior components were clear of damage attributable to wind forces and/or
        hailstone impacts.

Roof Inspection:

➢       The roof surfaces were covered with a single layer of three-tab asphalt shingles
        over felt underlayment. No drip edge or starter strip/form of securement were
        present at the eaves. The roof pitch - measured -4:12. The shingle exposure
        averaged -5".
➢       Representative roof areas for each facing siope were inspected and found to be
        clear of damage attributable to hailstone impacts.
➢       The roof appurtenances were ciear of damage attributable to wind forces and/or
        hailstone impacts.
➢       Eight (8) creased shingle tabs were present al.ong the west eave and two (2)
        creased shingle tabs were present along the east eave. The varied weathered
        condition of the crease lines indicated the damages were older and progressive.
        Note, no form of securement was present along the eaves to secure the initial
        course of shingles to the roof surfaces.
➢       The remaining roof surfaces were clear of damage attributable to wind forces
        and/or hailstone impacts.

Building #2 - "D" Units 1-4

Exterior Inspection:

➢        The exteriors were clad with painted wood siding and brick masonry veneer.
➢        The -12" wide soffits around the perimeter were sporadically
         hanging/sagging/dr.00ping/missing of varied severity throughout the perimeters.
         There was a severe lack of fasteners along the channels to which the soffits were
         secured. Some of the dull exposed surfaces indicated the conditions were older.
 ➢       A section of the gutter along the northern -24' was present along the west
         exterior. The fasteners securing the gutter/fascia board had pulled out of the
         ends of the rafter tails. Drip-patterned stains were present over the edge of the
         gutter consistent with inadequate drainage and probable debris buildup within
         this portion of the gutter. The damage was not consistent with wind forces.
 ➢       A section of the gutter was missing along the northern -32' of the east exterior.
         Additionally, the northern -20' of the soffit was missing below this area which
         likely collapsed with the gutter. Specific details follow:
             •   The debris from the collapsed area was present on the ground surfaces
                 below.
             •   The fasteners for the gutter had pulled out of the fascia board, indicative of
                 inadequate withholding.

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            •    Prior fascia board repairs were present within the area indicative of
                 historic issues.
            •    A large tree overhang was present above the area of collapse. No signs
                 of impact damage were present to the area.
➢       Two (2) downspouts along the north exterior (10 LF each) contained dents
        consistent with haiistone impacts measuring up to -3/8" in diameter. No spatter
        marks were observed at the dent locations.
➢       The remaining exterior components were clear of damage attributable to wind
        forces and/or hailstone impacts.

Roof Inspection:

➢        The roof surfaces were covered with a single layer of three-tab asphalt shingles
         over felt underlayment. No drip edge or starter strip/form of securement were
         present at the eaves. The roof pitch measured -4:12. The shingle exposure
         averaged -5".
➢        Representative roof areas for each facing slope were inspected and found to be
         clear of damage attributable to hailstone impacts.
 ➢       Some sporadic sections of missing gutter guards were apparent along the eaves.
         Additionally, the gutter guards contained dents consistent with hailstone impacts
         measuring up to -1/2" in diameter. No spatter marks were observed at the dent
         locations.
 ➢       The roof appurtenances were clear of damage attributable to wind forces and/or
         hailstone impacts.
 ➢       The roof surfaces were clear of damage attributable to wind forces and/or
         hailstone impacts.

 Building #3 - "F" Units 1-2

 Exterior Inspection:

 ➢       The exteriors were clad with painted wood siding and brick masonry veneer.
 ➢       Some paint repairs were apparent around the exterior.
    ➢     The -12" wide soffits around the perimeter were sporadically
          hanging/sagging/drooping/missing of varied severity throughout the perimeters.
          There was a severe lack of fasteners along the channels to which the soffits were
          secured. Some of the dull exposed surFaces indicated the conditions were oider.
    ➢     A section of the north gable vent cover was displaced. The nesting behind the
          displacement indicated it was older. No physical damage was present to the
          displaced vent cover section.
    ➢     The exterior components were clear of damage attributable to wind forces and/or
          hailstone impacts.



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Roof Inspection:

➢       The roof surfaces were covered with a single layer . of three-tab asphalt shingies
        over felt underlayment. No drip edge or starter strip%form of securement were
        present at the eaves. The roof pitch measured —4:12. The shingie exposure
        averaged —5".
➢       Representative roof areas for each facing slope were inspected arid found to be
        clear of damage attributable to hailstone impacts.
➢       The gutter guards contained dents consistent with hailstone impacts measuring
        up to —1/2" in diameter. No spatter marks were observed at the dent locations.
➢       The roof appurtenances were clear of damage attributable to wind forces and/or
        hailstone impacts.
➢       The roof surfaces were clear of damage attributable to wind forces and/or
         hailstone impacts.

Building #4 — "C" Units 1-2

Exterior Inspection:

 ➢       The exteriors were clad with painted wood siding and brick masonry veneer.
 ➢       Some paint repairs were apparent around the exterior.
 ➢       The   —12" wide soffits around the perimeter were sporadically
         hanging/sagging/drooping/missing of varied. severity throughout the perimeters.
         There was a severe lack of fasteners along the channels to which the soffits were
         secured. Some of the dull exposed surfaces indicated the conditions were older.
 ➢       The exterior components were clear of damage attributable to wind forces and/or
         hailstone impacts.

 Roof Inspection: .

    ➢    The roof surfaces were covered with a single layer of three-tab asphalt shingles
         over felt underlayment. No drip edge or starter strip/form of securement were
         present at the eaves.. The roof pitch measured —4:12. The shingle exposure
         averaged —5".
    ➢    Representative roof areas for each facing siope were inspected and found to be
         clear of damage attributable to hailstone impacts.
    ➢    The gutter guards contained dents consistent with hailstone impacts measuring
         up to —1/2" in diameter. No spatter marks were observed at the dent locations.
    ➢     The roof appurtenances were clear of damage attributabie to wind forces and/or
          hailstone impacts.
    ➢     The roof surfaces were clear of damage attributable to wind forces and/or
          hailstone impacts.



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Building #5 — "G" Units 1-2

Exterior Inspection:

➢         The exteriors were clad with painted wood siding and brick masonry veneer.
➢         The    —12" wide soffits around the perimeter were sporadically
          hanging/sagging/drooping/missing of varied severity throughout the perimeters.
                                                                                       were
          There was a severe lack of fasteners along the channels to which the soffits
          secured. Some of the dull exposed surfaces indicated the conditions were older.
          The more severe damage to the soffit included:
             •   -24 LF at the east elevation
                                                                                          soffit.
          Of note, heavy rot was observed to the fascia board in the area of missing
                                                                                               g
          The fascia board also contained prior repairs, indicative of long-term and ongoin
                                                                        the north exterio r.
          issues. The debris for the missing soffit was present along
                                                                                             ne
 ➢        The northwest downspout (10 LF) contained dents consistent with hailsto
          impacts measuring up to —3/8" in diameter.
                                                                                       to wind
 ➢        The remaining exterior components were clear of damage attributable
          forces and/or hailstone impacts.

 Roof Inspection:
                                                                                   shingles
 ➢        The roof surfaces were covered with a single layer of three-tab asphalt
                                                                                ment were
          over felt underlayment. No drip edge or starter strip/form of secure
                                                                                  exposure
          present at the eaves. The roof pitch measured —4:12. The shingie
          averaged —5".
                                                                               found to be
    ➢     Representative roof areas for each facing slope were inspected and
          clear of damage attributable to hailstone impacts.
                                                                                 measuring
    ➢     The gutter guards contained dents consistent with hailstone impacts
                                                                              locations.
          up to —1/2".in diameter. No spatter marks were observed at the dent
                                                                                 weathered
    ➢     Four (4) creased shingle tabs were present along the east eave. The
                                                                                 no form of
          condition of the crease lines indicated the damages were older. Note,
                                                                                of shingles
          securement was present along the eaves to secure the initial course
          to the roof surfaces.
                                                                                     and/or
    ➢     The roof appurtenances were clear of damage attributable to wind forces
          hailstone impacts.
                                                                                wind forces
     ➢     The remaining roof surfaces were clear of damage attributable to
           and/or hailstone impacts.

     Building #6 — "B" Units 1-2

     Exterior Inspection:
                                                                              veneer.
     ➢     The exteriors were clad with painted wood siding and brick masonry


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                                                                                 sporadically
➢           The -12" wide soffits around the perimeter were
                                                                             the perimeters.
            hanging/sagging/drooping/missing of varied severity throughout
                                                                              the soffits were
            There was a severe lack of fasteners along the channels to which
                                                                           tions were older.
            secured. Some of the dull exposed surfaces indicated the condi
                                                                          wind forces and/or
➢           The exterior components were clear of damage attributable to
            hailstone impacts.

Roof Inspection:
                                                                         tab asphalt shingles
 ➢          The roof surfaces were covered with a single layer of three-
                                                                            securement were
            over felt underlayment. No drip edge or starter strip/form of
                                                                            shingle exposure
            present at the eaves. The roof pitch measured -4:12. The
            averaged -5".
                                                                             and found to-be
 ➢          Representative roof areas for each facing slope were inspected
            clear of damage attributabie to haiistone impacts.
                                                                           impacts measuring
 ➢           The gutter guards contained dents consistent with hailstone
                                                                        the dent locations.
             up to -1/2" in diameter. No spatter marks were observed at
                                                                          les on the east and
 ➢           A few sporadic irregular/odd creases were present on shing
                                                                            ed. The creases
             west slopes. The shingie tabs were typically still well adher
             were not consistent with wind forces.
                                                                        to wind forces and/or
    ➢        The roof appurtenances were clear of damage attributable
             hailstone impacts.
                                                                      to wind forces and/or
    ➢        The roof surfaces were clear of damage attributable
             hailstone impacts.

    Building #7 - "H" Units 1-2

    Exterior Inspection:
                                                                          masonry veneer.
     ➢       The exteriors were clad with painted wood siding and brick
                                                                             were sporadically
     ➢       The -12" wide soffits around the perimeter
                                                                            hout the perimeters.
             hanging/sagging/drooping/missing of varied severity throug
                                                                           which the soffits were
             There was a severe lack of fasteners along the channels to
                                                                          conditions were older.
             secured. Some of the dull exposed surfaces indicated the
                                                                       -50' of the north exterior.
     ➢       A section of the gutter was missing along the eastern
                                                                           collapsed and/or was
             Additionally, the northern -30' of the soffit and fascia had
                                                                          Specific details follow:
             missing in this area which likely collapsed with the gutter.
                                                                                    d surfaces
                    •   The debris from the collapsed area was present on the groun
                        below.
                                                                                  board, indicative of
                    •   The fasteners for the gutter had pulled out of the fascia
                        inadequate withholding.V1/IND DAMAGED
                                                                                      of inadequate
                    •   The soffit framing was also sagged/collapsed, indicative
                        load paths.
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            •       Debris buildup was present within the gutter indicative of probable
                    overflow issues and ponded water within the gutters.
➢       The northeast downspout and southwest downspout (10 LF each) contained
        dents consistent with hailstone impacts measuring up to -3/8" in diameter. No
        spatter marks were observed at the dent locations.
➢       The exterior components were clear of damage attributable to wind forces and/or
        hailstone impacts.

Roof Inspection:

➢       The roof surfaces were covered with a single layer of three-tab asphalt shingles
        over felt underlayment. No drip edge or starter strip/form of securement were
        present at the eaves. The roof pitch measured -4:12. The shingle exposure
        averaged -5".
➢       Representative roof areas for each facing slope were inspected and found to be
        clear of damage attributable to hailstone impacts.
➢       The gutter guards contained dents consistent with hailstone impacts measuring
        up to -1/2" in diameter. No spatter marks were observed at the dent locations.
➢       The roof appurtenances were clear of damage attributable to wind forces and/or
        hailstone impacts.
➢       The roof surfaces were clear of damage attributable to wind forces and/or
        hailstone impacts.

Building #8 - "I" Units 1-2

Exterior Inspection:

➢       The exteriors were clad with painted wood siding and brick masonry veneer.
➢       The -12" wide soffits around the perimeter were sporadically
        hanging/sagging/drooping/missing of varied severity throughout the perimeters.
        There was a severe lack of fasteners along the channels to which the soffits were
        secured. Some of the dull exposed surfaces indicated the conditions were older.
➢        A section of the gutter was missing along the eastern -22' of the north exterior.
         Additionally, the northern -10' of the fascia and -16' of the soffit had collapsed
         and/or was missing in this area which likely collapsed with the gutter. Specific
         details follow:
                •   The debris from the collapsed area was present on the ground surFaces
                    below.
                •   The fasteners for the gutter and fascia board had pulled out of the rafter
                    tails, indicative of inadequate withholding. The fascia board showed signs
                    of long-term moisture contact.
                •   Debris buiidup was present within the gutter indicative of probable
                    overflow issues and ponded water within the gutters.
          • The upper -4 LF of the northeast downspout collapsed with the gutter.
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➢        A window screen along the north was displaced, measuring -30" x-20".
➢        The exterior components were clear of damage attributable to wind forces and/or
         hailstone impacts.

Roof Inspection:

➢         The roof surfaces were covered with a single layer of three-tab asphalt shingles
          over felt underlayment. No drip edge or starter strip/form of securement were
          present at the eaves. The roof pitch measured -4:12. The shingle exposure
          averaged ~5".
➢         Representative roof areas for each facing slope were inspected and found to be
          clear of damage attributable to hailstone impacts.
➢         The gutter guards contained dents consistent with hailstone impacts measuring
          up to -1/2" in diameter. No spatter marks were observed at the dent locations.
 ➢        A few sporadic irregular/odd creases were present on shingles on the north
          slope.. The shingle tabs were typically still well adhered; though, in some
                                                                                     ation.
          instances, the shingles were partially unadhered and contained delamin
          The creases were not consistent with wind forces.
 ➢        The roof appurtenances were clear of damage attributabie to wind forces and/or
          hailstone impacts.
 ➢        The roof surfaces were clear of damage attributable to wind forces and/or
          hailstone impacts.

 Building #9 — "J" Units 1-4

 Exterior lnspection:

    ➢      The exteriors were clad with painted wood siding and brick masonry veneer.
    ➢      The    —12" wide_ soffits around the perimeter were sporadically
                                                                                         ers.
           hanging/sagging/drooping/missing of varied severity throughout the perimet
           There was a severe lack of fasteners aiong the channels to which the soffits were
           secured. Some of the dull exposed surFaces indicated the conditions were older.
                                                                                            ,
    ➢      A section of the gutter was heavily sagged aiong the central west exterior
           measuring -20 LF. The heavily deteriorated condition of the fascia            and
           construction indicated long-term issues. Heavy debris buildup was present within
           the gutters.
                                                                                      and/or
    ➢      The exterior components were clear of damage attributable to wind forces
           hailstone impacts.




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Roof Inspection:
                                                                        -tab asphalt shingies
➢           The roof surfaces were covered with a single layer of three
                                                                         of securement were
            over felt underlayment. No drip edge or starter strip/form
                                                                             shingle exposure
            present at the eaves. The roof pitch measured -4:12. The
            averaged -5".
                                                                        cted and found to be
➢           Representative roof areas for each facing slope were inspe
            clear of damage attributable to hailstone impacts.
                                                                           impacts measuring
➢           The gutter guards contained dents consistent with haiistone
                                                                     at the dent locations.
            up to -1/2" in diameter. No spatter marks were observed
                                                                      e to wind forces and/or
 ➢          The roof appurtenances were clear of damage attributabl
            hailstone impacts.
                                                                          wind forces and/or
 ➢          The roof surfaces were clear of damage attributable to
             hailstone impacts.

 Building #10 - "K" Units 1-4

 Exterior lnspection:
                                                                        masonry veneer.
 ➢           The exteriors were clad with painted wood siding and brick
                                                                           were sporadically
    ➢        The -12" wide soffits around the perimeter
                                                                         ghout the perimeters.
             hanging/sagging/drooping/missing of varied severity throu
                                                                         which the soffits were
             There was a severe lack of fasteners along the channels to
                                                                        conditions were older.
             secured. Some of the dull exposed surfaces indicated the
                                                                        e to wind forces and/or
    ➢        The exterior components were clear of damage attributabl
             hailstone impacts.

    Roof Inspection:
                                                                           -tab asphalt shingles .
     ➢       The roof surfaces were covered with a single layer of three
                                                                            of securement were
             over felt underlayment. No drip edge or starter strip/form
                                                                      . The shingle exposure
             present at the eaves. The roof pitch measured -4:12
             averaged -5":
                                                                           cted and found to be
     ➢       Representative roof areas for each facing slope were inspe
             clear of damage attributable to hailstone impacts.
                                                                       one impacts measuring
     ➢       The gutter guards contained dents consistent with hailst
                                                                        at the dent locations.
             up to -1/2" in diameter. No spatter marks were observed
                                                                              The shingles were
        ➢    A few sporadic shingles contained irregular/odd creases.
                                                                          t with wind forces.
             typically still well adhered. The creases were not consisten
                                                                        e to wind forces and/or
        ➢    The roof appurtenances were clear of damage attributabl
              hailstone impacts.
                                                                         to wind forces and/or
        ➢     The roof surfaces were clear of damage attributable
              hailstone impacts.

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Building #11 - "A" Units 1-4

Exterior Inspection:

➢       The exteriors were clad with painted wood siding and brick masonry veneer.
                                                                                   dically
➢       The -12" wide soffits around the perimeter were spoi'a
                                                                                    eters.
        hanging/sagging/drooping/missing of varied severity throughout the perim
                                                                                     were
        There was a severe lack of fasteners along the channels to which the soffits
                                                                             were older.
        secured. Some of the dull exposed surfaces indicated the conditions
                                                                           forces and/or
➢       The exterior components were clear of damage attributable to wind
        hailstone impacts.

Roof Inspection:
                                                                         asphalt shingles
 ➢       The roof surfaces were covered with a single layer of three-tab
                                                                                 ment were
         over felt underlayment. No drip edge or starter strip/form of secure
                                                                                e exposure
         present at the eaves. The roof pitch measured -4:12. The shingl
         averaged -5".
                                                                                found to be
 ➢       Representative roof areas for each facing slope were inspected and
         clear of damage attributabie to hailstone impacts.
                                                                                  measuring
 ➢       The gutter guards contained dents consistent with hailstone impacts
                                                                         dent locations.
         up to -1/2" in diameter. No spatter marks were observed at the
                                                                                eave. The
 ➢       Five (5) creased shingles tabs were observed along the west
                                                                              Note, no form
         weathered condition of the crease lines indicated they were older.
                                                                          initial course of
         of securement was present along the eaves to secure the
         shingles to the roof surfaces.
                                                                               ned older-in-
    ➢    Three (3) shingles along the north rake of the east slope contai
          appearance impact damage.
                                                                               forces and/or
    ➢     The roof appurtenances were ciear of, damage attributable to wind
          hailstone impacts.
                                                                                 wind forces
    ➢     The remaining roof surfaces were clear of damage attributabie to
          and/or hailstone impacts.




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                                         the damages observed.
Damage Summary: Table 3 below summarizes
                                                                      Summary
                                 Table 3— Glenn Avenue Parkway Damage
                                                                                                                             Wind
                                                                                                        Wind
                                                              Hail Damage to
  EES        Building                         Exterio                                                Damage —               Damage —                    Other',z
                                                                 Shingles           Roof Metals                              New
 Building    ID & Unit    Faces                      ;
                                                            (Bruises/100 sq. ft.)                   Old Damagez
                #'s                          Damage Z                                                                       Damaee2
   ID

                                                                                                    W- 8 creased                            E Slope -1 mechanically creased
                                                                                                    at eave                                 shingie by PA
                                    W- Downed Soff                                                                                          Sporadic Loose Soffits
                                                                                                    E- 2 creased at
                                    E- Downed Soff                                                                             0            Clogged/Hanging Gutters
                                                                      0                  None       eave
    1        E-1-4       East       N- 20 LF of DS
                                    E -32 LF Missing
                                    Gut                                                                                        0
                                                                      0              E, W- GG                     0
    2        D-1-4       West       E-20 LF of Soff
                                                                                                                  0             0           E Ext - Fresh paint
                                                                      0              E, W- GG
    3        F-1-2       East        0
                                                                                      E,W - GG                    0             0
                                     0                                0
    4        C-1-2       West
                                     E - 24 LF Downed                                                                                       E,W slopes - Clogged Gutters
                                                                                                    E- 4 creased at
                                     Soff                                                                                       0           N Ext - Stored Soffit Material
                                                                      0               E, W- GG      eave
     5       G-1-2       East        N-10 LF of DS                                                                                          S Ext - Loose fascia
                                                                                                                                            E slope - Odd diagonal creases at
                                                                                                                                             racked
                                                                                                                  0             0            W slope - Odd diagonal creases
                                                                      0               E, W- GG
     6       B 1-2       West        0
                                     N - 30 LF Collapsed
                                     Gut, Fascia, Soff
                                     E —10 LF of DS                                                                             0
                                                                       0                 S, N- GG
     7       H 1-2       South       W-10 LF of DS
                                     N - 22' Collapsed
                                     Gutter
                                     N —16' Collapsed
                                     Soff
                                     N- DS Down — 4 LF
                                     N -10 LF collapsed •
                                     Fascia board                                                                                            N slope - Odd corner creased
                                     N- 30" x 20" screen                                                                            0        shingles
                                                                                         S, N- GG                     0
                          North          missing                          0
        8     1 1-2
                                                                                                                                              W Ext - Guts Pulling off at Soffit
                                                                                                                      0 1           0       1 damage
                                                                          0              E, W- GG
                          East           0
         9    J 1-4                                                                                                   0             0         E Slope - 3 odd creased at N rake
                                                                          0              E, W- GG
        10    K 1-4       East           0
                                                                                                      W - 5 creased
                                                                                         E, W- GG     at eave                       0
                                         0                                0
        il    A 1-4       West


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                                                              (Soff), downspout (DS)
1- Exterior features include gutters (Gut), "'12" wide soffit
2- North (N), South (S), East  (E), West (W),  Exterior (Ext)
3 - Gutter Guards, (GG)




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                                                        s and conclusions are
Discussions: Discussions pertaining to EES' observation
provided below.

WEATHER DATA
                                                             National Weather Service
NWS Wind Data: Wind data was researched from the
                                                              ns to the subjecf property)
(NWS) Nashville Weather Station (the closest reporting statio
for December 2021. Results are provided below.
                                                                    inute wind and the
➢        NWS Nashville December 2021: The maximum two-m
                                                                   range d up to 47 MPH
         highest peak gust wind speeds reported in December 2021
                                                                     winds on this date
         and 74 MPH, respectively, on December 11, 2021. The
         arrived primarily from the south.
                                                        the Nashville Weather Station in
 The reported peak gust wind speeds from the NWS at
                                                             threshold prescribed under
 December 2021 did not exceed 90 MPH, the resistance
                                                       reported two-minute wind speeds
 Tennessee building codes since —2000. Further, the
                                                           essee building codes prior to
 did n.o.t exceed 70 MPH, the threshold prescribed in Tenn
 2000.
                                                          on the NWS' website.
 NWS Tornado Data: EES- researched several tornado events
 Results follow.
                                                                   gh northwest Tennessee
 ➢            December 10-11, 2021: An EF-0 tornado passed throu
                                                             south of the subject property
              and southwest Kentucky. The tornado passed
                                                                 21-Tornado).
              (https://www.weather.gov/pah/December-10th-11th-20

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                                                                               and 11, 2021
                                    Figure 16 — NWS Tornado Path — December 10

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CoreLogicT"" Hail Verification Report: A Hail Verification ReportTM from CoreLogic
                                                                                         The
Spatial Solutions, LLC was provided to EES and reviewed for the subject property.
address-specific report gives a history of hail-fall activity at the location and within 1, 3,
                                                                                     with the
and 10 miles from January 1, 2009 through June 22, 2022. It accomplishes this
use of their HailScopeTM "verification algorithm" which assesses hail equal to or greater
than 3/4" falling within a 10-mile radius of the -address and produces a report of the
dates and sizes of the hail. The Hail Verification ReportTM is reproduced below as
Figure 17.

         .'.,
 ~I.~~:~•.
   u; k
                  C r  o    eLog       ic                                      Weather Verifiication Services




  Hai[ Verification Report
   Claim or Reference #             22-388-BJH
   InsuredlProperly Owner           State AutoVolunteerMgmt (Glenn)-Wind
   Address                          1520 Glenn Ave
                                    Lewisburg, TN 37091

   Coordinates                      Latitude 35.462428, Long[tude-86.810913

   Date Range                       Jan 01, 2009 to Jun 22, 2022

   Repbrt Generated                  June 23rd, 2022 at 17:17:30 UTC



   Storm Events
                                                              Estimated Maximum Hail Size

                Date                At Location        Within 1 mi 11.61 kni    Within 3 mi /4.83 km    Within 10 mi 116.09
                                                                                                                km
                                         —                         —               0..9 in /229 cm         I in 1254 cm
             Jun 12, 2021
                                   1_5 in 13.81 cm        1,8 in 14_57 cin         1.8 in /4_57 cm        1.8 in 14.57 cm
             Mar 21, 2017
                                         —                         —              0_75 in 11.91 cm         9 in 12:54 cm
             Mar 9, 2017
                                          —               12 m13_05 "cm            1..6 in14-06 cm        1_6 in l 4-06 cm
             Mar 31, 2012
                                   0-8 in ! 2.03 cm       0.8 in 1203 cm           1,1 iri.I'2.7J:cni     1.5 in /. 3.81 cm
             Mar 2, 2012
                                          —               075 in /1.91 cm          0.8 in 12.03 cm         1•in 12,54 cm
             Jun 18, 2011
                                          —                        —               0.8 in 12.03 cm        0_9 in /2:29 cm
             Jan 21, 2010
                                          —                        —               0.75 in 1 1-91 cm      0.75 in 11.91 cm
             Jun 17, 2009
                                   0.9 in 12.29 cm         1 in 12.54 cm            1.3 in 13:3..cm        14 iri 13.56 cm.
             Apr 10, 2009

                Figure 17: CoreLogic Hail Verification Report for the Subject Property

                                                                                       on the
  Review of the information in the figure above indicated that 1.5" diameter hail fell
                                                                                    property
  subject property on Match 21, 2017. Other reported storms at the subject
  included March 2, 2012 (0.8") and April 10, 2009 (0.9").


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According to the report, a large hail event occurred at the property on March 21, 2017.
However, based on EES' inspection, it did not appear a storm of that caliber had
damaged the components of the subject buildings. It cannot be ruled out that the roofs
were replaced at some point between EES' inspection (June 2, 2022) and the March 21,
2017 event. At the writing of this report, the age of the shingles was unknown.
Alternatively, the storm on March 21, 2017 may have been less than 1.5" and below the
typical threshold for hail damage to shingles.
Note, hail sizes less than 0.75" in diameter may have fallen at the subject property on
other dates not listed.

Determining Hail Size: The size (diameter) of the hail which likely fell on the subject
                                                                                         of
property was approximated by inspection of the metal surfaces and measurements
                                                              For hailston es measur   ing
the impact marks which appeared consistent with hail-strikes.
                                                                                       the
up to 2" in diameter, the hailstone size typically ranges from 1-1/2 to 2-1/2 times
                                                          most commo   n metal  surface   s
diameter of the inner dent created upon impact with the
on average (Petty 2013). The inner dents of the impact marks observed on       the  metal
                                                                                  ranged
surfaces measured up to —1/2" in diameter indicating the hailstones may have
                                                                  accoun  t the  average
conservatively from —3/4" to —1-1/4" in diameter. Taking into
                                                                                    likely
multiplier and the maximum inner dent diameter, the hail that struck the pr.operty
was —1" in diameter.

 Hail-Spatter Marks:     When hailstones strike metal surfaces,_ they leave behind a
                                                                                  surface to
 spatter mark in the oxidation layer. It typically takes one to two years for the
                                                                                         are
 re-oxidize and cover the mark. Thus, when dents consistent with hailstone impacts
                                                                       that the  dents were
 found on metal surfaces without spatter marks this is an indicator
 caused by an older hailstorm event.
                                                                                     marks,
 The. dents to the subject downspouts and gutter guards did not contain spatter
 which indicated the dents were from an older hailstorm.

 Wind Effects to Asphalt Shingles: Wind traveling over and around a pitched roof
                                                                                     roofing
 surface creates both positive and negative (i.e., suction/uplift) pressures on the
                                                                                    occur as
 material. Wind-related damages to asphalt shingles on a pitched roof typically
                                                                              the individu al
 a result of high suction/uplift pressures and the localized effects on
                                                                                  pressures
 shingles as air fiows over its surface. Further, these higher suction/uplift
 occur along the lower eaves, rakes, valleys, and/or ridges of the roof    surface . Hence,
                                                                                          s
 wind-related damages normally first appear in these locations, especially if the shingle
                                                                                      Wind
 are aged/weathered, poorly installed, and/or poorly bonded (i.e., un-adhered).
                                                                                       the
 damage to asphalt shingles is typically identified as lifted shingles, cracking in
                                                                                         of
 shingle mat (i.e., creases), torn/missing shingles/tabs, and, in severe cases, sections
 shingles displaced from the roof surface.
                                                                                        the
 The roof surfaces contained damage consistent v,iith wind forces. A summary of
 damage locations was provided within the observations and damage summary section
 of this report. It should be noted, the damage appeared to be relatively oider.




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                                                                          around a
Wind Effects to Exterior Claddings: As mentioned, wind traveling over and
                                                                               res on the
structure creates both positive and negative (i.e., suction/uplift) pressu
                                                                              d in order to
exterior surfaces. Therefor, all exterior claddings must be properly secure
                                                                        and 90 MPH wind
prevent damages. Tennessee requires exterior components to withst
                                                                             s well below
speeds. When damage to exterior claddings occurs with wind speed
design wind speeds, other factors are typically the reason.
                                                                               sporadically
The sofFits around the perimeter of the subject buildings were
                                                                          Additionally, the
hanging/sagging/drooping of varied severity throughout the perimeters.
                                                                            vations of the
condition was present on all cardinal direction elevations. Close obser
                                                                       proper securement
channels to which the components were fastened indicated a lack of
                                                                     design   wind speeds
to the substrates which rendered the sofPits susceptible to below
and/or gravitational forces.
                                                                       ation Manual was
For further review, the 2007 Vinyl Siding Institute (VSI) Install
                                                                      . Figure 18 below
 reviewed for pertinent information regarding installation of soffits
 shows general steps to secure the soffit sections to the structure.

             3, lizsert ttia panel into the ahannet on the wail,
                thsn lnto the channel at tiie iascia bozrd (R9,
                BB).                                             ucuioy                                        ;:~:
                  ■ It mightbe necesgaty to flax tha,panat                                       WbodfaacLz
                     sfighRy to insert it into the seconc!
                      channeP,                                                     f                  j         `
                  0 Make cerlain the panel is perpendicuiar                     vl~v
                                                                              zlun~ndm                    /     ~'
                      to tlze wall, then nail: Depending on the
                      ihstalla6on mathod being used, nails will    covee                     /                5otittpm~ti
                      be hatnmergd elfhar inb a nailing strip
                      or a fascia tsoard.,                                               f          ~rrIM
                                                                                                    I nxu             /
                  -11 When ctsing a nailing strip, do nol nall  ..~
                      tightly—allbw-movenient.for expahs30i5.
                       Conljnue the installaUon by tooking                                         Figune 68.
                       and nalling'the panels: Make cettain
                       11ie panels ara'fully loc*ad'along thelr
                       Qritlre length-                                       Na'I'E When nailing to the faecia hoard,
               4. To tutn a corner, measure ftorn the. chan-             u6e trint nafla. arive the nail through the
                  net at the wall comer to the channel at tha            nail fiangeanil "tJ"-shapdd groovewitltfn
                  corner qf the fasda b❑arci (F,g. 69). Subtract         tlie 6ofi`tt panel (ptg. 68),'I'Itis is oneof
                 1/4' .(8.4mm) for expansion. Gut and instaEl                t:he rare 1nnances that face-naiiing Is
                 eofflt double channel.lineal or back-to-badt                permi55iFile Qnoe a soffit panel ls face-
                 J-channel, If necessary, Install tiailing strips            nalled, i't wll) expand oniy in.cne direo-
                 to pravlde baddng tar the lineai, Miter cut the             Cion, In tihi5 case: towand therecelving
                 cort5er satBt panels 8nd lnstall as descrttied              ,ohannei. Be sureto-leave space far the
                 In stepa                                                    fttll expanslon a IlowanQe Itt the receiving
               S. To compiete tha inst,ell$tiori, appiy U'►e.utillty,        ohanttel.
                  tnm and faaten the ttlurninum fasaa oap or
                 1!&mrari Ahunirultn r.till btnCk UvittS netnlai!
                      Figure 18: VSI Detail Regarding Soffit Panel Securement




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                                                                               nical
Mechanical Damage and Delamination: Damage that results from mecha
                                                                           surfaces.
manipulation may cause delamination of the adhesive strip from the asphalt
                                                                                mat of the
Delamination is apparent when portions of the granular base or asphalt
                                                                                     t strip.
adjoining shingles are torn from either shingle and are attached to the sealan
                                                                bonds were  strong  er than
Delamination of the sealant strip implies that the adhesive
                                                                             like a weld   is
those between the granules and its asphalt shingle adhesive bonds, much
                                                                                      raged
stronger than the adjoining metals. This type of failure rarely occurs unless encou
                                                                            Asses   sment   s
mechanically (Stephen E. Petty, Forensic Engineering: Damage
for Residential and Commercial Structures, 2013).
                                                                               roof slopes.
Evidence of inechanical damage was observed to a few shingle tabs on the
                                                                              and  damage
A summary of the damage locations was provided within the observations
 summary section of this report.
                                                                          iation (ARMA)
Shingle Installation: The Asphalt Roofing Manufacturer's Assoc
                                                                               ng shingles
Residential Roof Manual was referenced for industry best practices of installi
                                                                        l.
along the roof eaves. Figure 19 below provides a detail from the manua
                                                                           -,<-N — Deck
                                  Underlayment                                                    Self-adhering
                                                                                                  shingle
                                                                                                  underlayment
                     Drip edge
                                                                           F `,~1 ~,~`                     edge
                             .~      y~'s   !:l,ni-'~:,y.;r~'•... {` ,




                                                                                                   Nails located
                                                                                                   11127 - 3" from
                                                                                                   eaves

                          Start 1st strip
                          with 4"= 6"-,\                                 Self-sealing adhesive
                          removed                                        positioned along eaves
                                                          Starter strips overhang
                                                          eaves and rakes 1/4"~14"

                         Figure 19 — ARMA Shingle Installation-
                                                                         g into the gutter.
  The subject buildings had shingles installed with up to —1-1/2" hangin
                                                                 g.  Improp   erly bonded
  This rendered the shingles susceptible to improper bondin
                                                                           s. During EES'
  shingies can be susceptible to wind damage at below design wind speed
                                                                                 tion along
  irispection, many shingles contained damage as a result of improper installa
  the eaves.
                                                                            tion; review of
  Conclusions: Based on the information gained during the inspec
                                                                      literature; and our
  weather data, building codes, and information from industry
  professional experience, EES has arrived at the following conclusions:
                                                                            exterior of the
  ➢    The displaced and/or collapsed soffits and gutters aiong the
                                                                              ement as a
       subject buildings were ultimately rendered susceptibie to displac
                                                                             and long-term
        result of a combination of inadequate securement/poor installation
                                                                           wind may have
        effects of gravitational forces. While it cannot be ruled out that
                                                                             source of the
        affected the poorly installed components, it was not the main
                                                                             occurred over
        failure. Further, the displacement of the soffits and gutters likely
        an extended period    of time (i.e., years).
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   EES Group
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                                                                                wind forces.
   ➢      The roof surfaces contained minor areas of damages attributable to
                                                                                  and likely
          Based on inspection observations, the damage appeared to be older
                                                                        provid ed within   the
          occurred over multiple storm events. Specific damage was
          observations and damage summary sections of the report.
                                                                                          roof
   ➢      Evidence of inechanical damage was observed to a few shingle tabs on the
                                                                 was  provid ed   within   the
          slopes. A summary of the damage locations                            .
          observations and damage summary section of this report.
                                                                                       which
   ➢      The hail that impacted the property was —1° in diameter. The components
                                                                                           and
          were afFected by hail impacts are provided in the observations section
          damage summary of this report.
                                                                                     es likely
   ➢      A review of weather data indicated the dents within the soft metal surfac
          occurred from the March 21, 2017, or earlier, hailstorm.
                                                                                     with generally
   CLOSING: EES has prepared this report for your use in accordance
                                                                                       ined within a
   accepted inspection practices. The conclusions reached were determ
                                                                                    in this report is
   reasonable degree of engineering certainty. The information obtained
                                                                                the date and time
   site-, date- and time-specific and pertains to this project only, during
   of our inspection. The conclusions provided in this report were           based    only on visual
                                                                                      materials was
   observations. No destructive testing or collection and analysis of any
                                                                                      limited by the
   completed as part of this work. Thus, the conclusions reached were
                                                                                        ed should not
   extent of the work completed. Any conclusion or recommendations provid
                                                                                             additional
   be considered to constitute a repair estimate or specification. Should
   information be discovered, EES reserves the right to revise this report.
                                                                              Auto Insurance, any
   Although this report was prepared for the exclusive use of State
                                                                              Client may rely upon
    lending institution, third parEy, or entity expressly designated by the
                                                                                         is subject to
    it, provided that EES is informed in writing. The use of the report
                                                                               distribute or publish
    the limitations and exceptions set forth in this report. EES will not
                                                                                 by law or a court
    this report without the Client's written consent, except as required
    order.
                                                                                        t be in excess .
     The liability of EES with regard to professional error and omissions canno
                                                                                    Group staff as a
     of the fee charged for this project. Prior to the identification of any EES
                                                                                          of an expert
     testifying expert, EES shall be notified in writing, or by the execution
     witness consulting agreement.
                                                                               ence and available
     The opinions expressed in this report are based on EES' experi
                                                                                 at the time of the
     information. This inspection evaluated the conditions that existed
                                                                                    future alteration
     investigation of the subject property and does not warrant against
     of conditions at the subject site or subsequent changes in regula     tions.

                                                                   of engineering certainty.
the conclusions reached were determined within a reasonable degree
THERE IS NO ENGINEERING STAMP ON THE REPORT.

It is not site specific.
                                                                       of our inspection. The conclusions provided
-specific and pertains to this project only, during the date and time
                                                                     tive testing or collection and analysis of any
in this report were based only on visual observations. No destruc
materials was completed as part of this work



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    EES Group                                                     Engineering & Environmental Services, inc."'
Mr. Mike Wakefield                         53                                    June 29, 2022



EES appreciates the opportunity to provide these professional services for State Auto
Insurance. If you have any questions, or need further information regarding our findings
or conclusions, please feel free to contact our office at (614) 798-4123. Please refer to
the EES project number (22-388-BJH) in all future inquiries.

Best regards,
                                                                          /
                                                /    _ ,.%    `

Benjamin J. Hall, P.E.                                  . ~ni~r~mf'a ,.~K
                                                Project Engineer




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                                                       Engineering      of 137 PageID
                                                                   Environmental           #: 114
                                                                                 Services, Inc.@
 EES Group
Mr. Mike Wakefield                    54                                  June 29, 2022




                              APPENDIXA

      Photographs for 73 Hobbs Street, Arlington, KY 42021




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    Group             Document 1-1   Filed 06/20/23    Page& Environmental
                                                 Engineering 110 of 137 Services,
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Mr. Mike Wakefield                   59                                       June 29, 2022



                              /APPENDIX B

        Photographs for 205 Ringo Drive, Clinton, KY 42031




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                                                      Page 115     of 137 PageID #: 120
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                                                                                                                                                                     ;~.;:y.4~yi'.•                      c' .t':`
                                                                                                                                                                                                . .-:~;,.;:,•   -f .~-<~'•3'-.-•'i             ~-•_;    - _.
                                                                                                                                                       s• ; ;s,.    ,',~`',;,.. ; ...: `.~r~' =~:=-i                ::-.r,_.,,.'.~(~~~~!;,_: `- .      '-`~
                                                                                                                                                                          ~.•*•l.r•:'r .-_~;.s•;'~.""•9,"n:'.;,~+..;~';.~r•:
                                                                                                                                                                                         :.,;qA ..'s4 ._r. .__•,-S.. ,'^~•'"•,Aic• =:ti
                                                                                                                                                            ~ -f~' ,w:i•         1 :^'                   .;.<-~wa...'r•, t~~                  rs',`,;.L'.'k
                                                                                                                                                       .r: ^. ~,~.                      -_                         '+•':':.. ..'•;u'..r_`'^•"ir:
            `„~~''             ~'~~~     tit'•'''Vit: ~i::                                                                                                                                         =.'+. -                    -.
                                                        «`i ~!r± _<                                                                     .•             't A~"~l'- - ~             .~±:   ~,;~ '•.h't                         ~...J..''•~-- %?`..      -,f.
                               -~.~' •Oib~F                                                                 - ,
                         ~                  ; •            ,                                                                                              ,. , ,:~;~ +. -
                                                                                                                                                                                                     --_        ~'_- __     _                  =• ~+.
                      zja-,~.~~fi+r3•~F~;,"'.>.kr?,}              .;r:          :;r~~:                                                                 ,•,~~;'i.in           ``~~> ^' ~' ~^? =_' -
            ry .     t'
                    q,r:-       .`'~r-~~~,;,f.. r~,;,?.
                                  .,ri:•t~:r                                  ;i.,s .                                                                          y              r~`-                                   `F ~~''1-:r' ;         • ~• •~ ~C'''
                                                                                                                                                                                                                                                     ~ J
                          ,! • ~      ?f-,,~?Vy, ~?:'                                                                                                   i`w'• ;y'\ i•';7',':                           ::~':',~i~h''                         _
            ti         '~
                        .~~•~ei_ :^t,•"     -`•.w.L~f!• ~ •:<iu
                                                              rr ~'.r_''- ~~;-t~ _
                                                 •.Ai,.Zf;,..f~-':ry:.;~t'e7.t';a-                 ,'-                                                                               `f~a ~M i:;;~. '`~        `r-,-^•. .. rte~                    1'..r
           C~},~~                 .f~i:~F'fr:'y
                         S.~?,:+r2~' •r ' ''L..el.               .`'Y~; .: .. .. .1.'+'' ~i                                                               _`~         +'~'
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                •' ~.: '~
               ~•        ,     •_     ,IS   ~  :~Sr'r•• .-+~•
                                                            :  .    .     tii:a... -.:.1. •' ~:,>'';s,;S,..`-
                                                                       ~"~i':5y~`                                                                                '^                  "=`[.`,~'~''1'~`',1''- ~`. _: •~.M_:.~,~~,;~~...                    .
           ~J r.rl    ~'                      •~';:,;~~~       .'~ .                                                                                     y~L~''      '4 r.~~r            - ~ '''~\        , • ~l'-•• •a'[.i^-'A             r=      ~,r<
                                      „      '+~'       ~~~•~:}.a(~.".~             : t . ^ ~ ' ~• t'1~,
                                                                                               ,                                                         '
                                                                                                                                                              aF ••'~'         "a,r.~'i+[`L=«k'  ^r~:_ •._`.a .:•y ..tiy'' 1,.,' 4•C.:•y~ ~.s
           tv
                                                         >i~`~~ ' .   ~~F~+r         '}^~ t•:'J.•i•                                                                      4~_                    ~~., f .~".. • ~ /'. •~..,. i•.~
           y       3                                                                                                                                    .11_+'' • C'                    ~ 1 .•.• ~a\ _ , ''~"~,           c11'/" •''        !Fp• i.'ti `l
                                                                                                                                                       ;~t..'". _•, ~`   ' •.'          -r, .:.,.~`~`.•.~. :' .:ti.•r: Sri:::.,?;
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                                                                                                                                                             ~."~'L~'.' '.i:„~•~_~.• .~y~4                                             _'~,C,...y'~
            f".. 3_ ._ A,- .4 n1t7c ..~ ~~~ -,_ ~ ~'•''w _ :•~l .-. ,.1C~S




   ''' ':          '-:._•-'-...r.:•.i;;;.`
                                      -                                    ".'-A;t: '.•                      - ,.r-.v~;;..-,~t:; •
    - .::1                                                                                             :::;:. ' 4~..i-              :'1
     .:  '.  • ? `;`_          ~~.~          :                    . • ~';'+;1,                                                Y.'F'~"S
 ,_~~t,        '-~f
                 7C „9e                  r•'                            ~: •                                     i
                                                                                                     -•t,t"..-i',..'.4•=''{i^
 :-;.'la~;;`            T A-
                     :..~~,-1 ~:                                   :~',,, ':~
                                                                                                      •;r...;,..L;,,_.....,.:c'+L:
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                                                                                                               t'~l::x: ==:''::-,;'
   ~` ' 74 . ~~Ti"~"                     ,•x>t.rr   •;.."''S d". r ~~6iii~                                                              .
                             1.73' •            .. ..•                                             .' ~f~         y''~.-t;l~i:~
 ',i•~y ''.f'             .~.'[7, ia,v.                               -+~'    L ~      ~~~~                                 `- ,..t,
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                                t'.t.e••1 +SY:,:1.:.             '~ ~~ :.                  .''•',.,
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                                                                     ~~'    a'r'?•'',FdV:}S';''~.   • Si                         ' ~• ~.~ ^''~_                  -   -_ -       'r - ••..%' - -...a
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                           `~,,'a.   '!. :a•~i r•:'w`.            •'?'~'~l:• '4.y-%-~ 1•:f:                             • k:.;~••~ [::,;::c'                ",:,fi ';Jy%p`:_ - •:'_s. '.:~•~       f
                                                                                                                                                                                          •4".~ ~..~-:;         : -i{:-
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                                                         w ~.                             :~41r::                            'x:»n- : rt:                                                                  .Y~•f,y.
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    ...'iJ?.!; • t .                             r~•
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                                             '=p•_•.yy. ~~~'~.:,     k•„               l.             ,~            4: ,ei'•: ~ `-"% :`ti`• ' _                                •.vi.~~;i":~~,•                               ' .`..`.:.r:~a•~!~y,;,C•
                                                                    f~~,~.~+
                                                                              ,~4r~~~-~,         ~'ll~                                                                                                ~'' ~,:~'::.'`~~~. -~ y;'_.
          ••1'~                          '.=l`~~.~
                                    ;Slly'r•1n~.~;      S ~ ' ~i':~YS lF
                                                                       ~, , i~                                                     ' ~'•'"'_ •            ~~i,s-r_'
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           ~:':                                      A;'~ii-"~7W4;~'+t• •.'                         ~:~'1                                                                                                                "':i.
                                                                                                                                                                                   ~~•v.,y~'..S i= - y.a, ~.;~~~:"'~.` ,,,~v'.;:~'•✓rf
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                             • y '~'y~~.~'
                           .'1•               ''r)i''w      ~'(~•~S  ""'.a~~a                             Y•,++,r.'J%" ::;•~%' - -                        ""+.+L'a5:4    Y`:r!.:
                                 l ::~ti"~' ~yr~}~•1.           <7•               ..                         -,i• U.:         •''r ,,,
                                                                                                                                    i S •'~'~;:;            =, y ✓     t:.r-. ,~r: .   ?~ ~~'~. t''e•'                .      >,•+
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                ~'r •' ' f {.1 • '+=                  '                      .. '+'                 'S~               :'i:;" ~J' v•:_                      -„'•,,,. l .~1'i~"I, j+r:;' ':✓'-f:   ii%_"•       j,., •n'~rr,~.`•;~s,••r`
                                                                                                                                                                                             a~"n` 1~~r~' +J.<' . "
                                                                                                                                     ~ t.                        `".n" '• :.5 •~ , ✓                                              ~.;i
        ,",      .:                                                                                                                               i                              • d ~- t.. ~ ..,'}.r/ .~ ,~.( '~iw'f:.-~
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   ''4.'                                                                                                                •                                                                                                      ,l•
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       ;" /,?'! .E:;:,'r.F:f. ~—,
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                                                                                                                                                                                                   ,-,.••.i..,; :~:t~~,•%t~Cjl~- •..A'~~, >y'~{ • :.
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           ~~'                                                                                   •'~'          .,r' '                                        ~ l3''yi.~
                                                                                                                                                          '1',L   r,-~f--~..,  „~. ,~u~ '.•+;i~:"~~~f.
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      ~ •. _~"y;:. ~'~-                                 , ,. r„:f                         .~,,,;.                                           .             r4S`i'•:7''.,;:•'2        ' .f 1-t~•           •l; 1.. •ti+ •r~'
                                                                                                  r                                                        +.,✓,r.,1i:,.:i.;... -~'vc-.a.r .. . i '.. _- ~. : S:L;. _.~.•




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                                                                                                                                                                        '~._ .~.c~=x..
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                                      , .     .                                            .y' V          3. ^        ^ •i':
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           :~7.•,;.til-`+- "- _:1                                         ~::                 - •'~
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s.4d=:•=.~~:.~:i:~-"":~-~-                                                                      ` `~-~- '~•~
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                                                        ~r                     u-                   . _            ?3'                                                                                                             ~.'~..~;'^;.;~~:'•i'.~_~
          J~
                         '.~~ ~•                                                                                                                                                                                            ~•^;''     •,,_,.           .•.' •}
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~+G♦.;,-"'_ *'.                                                                        ~--                                -~ C ~
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         Y•'l~:il,'                            ~        ~S                                 . l • ~+~(     ~~~                       ~~fi

                  , y '4l ~: Y
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                 y'1!,•.y.~           ~' r „P   r • ,~~.~~         4; .
         ?'E~~ , s~~~w~                FJf' ~
               ,                                 ~. A1'     ~i    hS - '!•4'         ' •+~v_J'           '~']
        o..~~s         _ .. s..:xf".~'~Y:.h: Ati'.l.~if5.7,':i~rif._ ~~• ,
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                                                                                                        ~ Y~J      4 ^_~ ~         i !••'s




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             ,~,~~.,.: , ••               - ,~F                •
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                                                     .l'+-_I• : .Ia1••-(                1.~...-. -1`:r.rrv.,                                    ;a       ~r,.v-,n,:s ~.-..v ~~ '•                    -a r:~r        ~ - • v: -
                                  "r+~tF~'{, {,'~LA,I~~'U•'7Y : , ":~}                      'd.] ~ri' rf~qq                                     ~ ~~~~.;~.H           $:~ 1~ 4 ~~i
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                    . ti;..~,.,,~     4,~•:r.    ~(, •  '                                    ..  -=..;?i''`i~;y~~~~                                 ~%: r:c          ~;~:/•~~~~,•:i ~' •~~~:j - • ~'     :G•"rj~
               ;          ?} t •!~~i;s{'0<                  v;k~fe-       ..•._"~i'i:'pLss''.' y y.~r •;y;,.,q~rty/ ~r}.
            •                              i`+s•    t   w '~r ~i     '         .:•+r••       ta: SfiH:l   jt•~ ~r,,'~   tr !'lc:.{r
               i•'~ ',r~'l,~o-f.:~.'                                                                                                                                                            i'•+• ,-'.<~• ~` ~~✓`~..:•'             _~"~~-•,'~:
             •:YZ+~a,+                rr :.I3.: j S~k',#~•~ ~ ~/ ^"~-~~ ?y}~rF!i!Yj~ ~x~~'./r
                           •T:.► r_'.,~aX~;                                                                                                     -=•rt,! '•,': .~ `.  .i.,
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            i.q~.,'                                                                                                                    i                                         . J>• ~J,,fi          +::~•• - Sr:                . ` /'. v ~ ~~:,
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                                                                                       wr's                                                     ~G~:.tt;'~ :i:. :y..;                       .":`, "'✓.•:~„ :-'J =:.~<. ~• ~~: ~_A y:
                                                                                                                            ~•,..!'r/e.'                                                                         ✓ ~y/• <✓ '1~,          ~''yrf == -
                                      `         ~'~'-        v5{l ~~`~y                  ~'ar•?+x'~:~•~'         i    t"r y                                 ^'.•6-•'~~,S;~fv.~~~.~.F'. ry •%`-•:~~.,~                                         +•,'ri;.''i'
            • '~'~~`'1"'
                               ont'th~c / ,.~il 1 ~`)t
                                                        i~ t;~t~~' ~ +r~a .'~`~ -~~+{y                        !•fi-~ •~, .f,•                   :~far «•t-e -.,t ,.,,.:. ~:~                .!.~,y:l:~ ~h' ..y..~
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                                       ~' r5~1+•s'".{~{~...`~~',v~                                                                                                                                "''^
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                 t'        ~.~~~.•r~~             '         '~i.~,~r"         ~~
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                                                                             {,   7?,.;&s~4a.~           ~'~{~ 44+~     r `ri c:                 ` .s-yar °;7,~5;'=c`*:
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            f:4rc: •~t' ~             ; ~~.,~~~'.~y',U                      ~s            ~t~~     I^~
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                                                                                                        .' -&  ~ .w.•?'.,r~•.                    Y;~                                                 .~., ..y ~•                                      ;
            ';7~~1~~'i~.r+i~r:Y~~"p'4~ ~'~~                         I '~~~f~'            dc~~i~'k ,'             ir~'•.:as~,                                                ~~            iti                             ~,,•_'.
            ~;/ ,J.,tial,y+;~ s'1,:~~ ~;`.+ ~rir-cb1.~;yl;~?,v,~~~~~~yt;.r9'•~•~e~' +~.J..a, °•                                                  ~i              .~;~f•'`-;•!';++~.=s'.~.~~a•,'~ '' ~}~. °_~~;~i'''~+? -f                   ', ~ =j' l '~'
                            iC;Y
            r'.N:'C~I.II~:Iy~                        k~:,                            ~~hr.'-
                                               1'tr~.,~". .;(};~+'~rY14y~r'•.~~..V.;h1~~
                                      ;.2';~Mmy~                                                                               _:~,t~E.          ~^ N„•:3 ~.'w~?:r i.'ri%a. 4x.k~2'ti'




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            .•I;, •                  - '.h: ,..191y~.~•
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    - •'4,l• ~••                   i •'...'-.: }P:. t : •+. ~:, .~+-?li"',r j::.-..•.s                     ''^- G•  .~ •~43.~Y..
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                                    r.  , :+i,..,:
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                                                          .,.                                                                                                                                                                    ,            : n••i'" `• L.          '        ..-.
                   , .'•,•.. ~y ' ' ~'.. :'~Y..                     ..'`.~~J                                                                                                                                                                                ¢J=
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                                       ' 'h••   ~''~;Sf;1<~'i                     •.- oif~             ca.',•~v^.'-                          .,,
             , .                   :~~•.'                                               ., L, t kr""•yL     ' r,.,s: .r.;1~!'''i'•" h ,~..r..
                                         ~4rrti~"`iis:✓.                     S'li.:~irr                                           : ~",i,'s;`~
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                     • ' . •.r .                 ;;~     •~~,
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                                                                                   '..•s. .f.3_.r l ,ra~
                                                                                   .
                                                                                                         S' -,C -,•':r
                                                                                                                                yy,•,m.};'r'i~-,~:
                                                                                                         4~.-, ,_.~k;,:~ Lr;:=,:, y:'•`.~~:
   . . •                                           • f~   .t,J'!n'     "       'ui~
                                                                                 '    ",.f•'..   i!,-i+:
                                                                                     3~~ 'p̀~ <~V~         Ir~     i~~"i.}
                                                                                                           i+• -,J,`<i+~:%c
                                                                                                                         ~ ~ "f'ru7•~r'.i•    ' .?::-I:
                                                                                                                                        ~ !Y.'.__',i•tP.
                               ~4:y ~ ~.! !                                                            fs:i:sLC
                                                        ' ,. ' L~'a•,S'.::.c
                                                                                                                                       ~+ ~rv,•
                                   ,':,~ir."                                 t ~``t~.*'';:        '1:~  ,.~;"       3"n~•!J~~i~''Fi(t~~'~j:•T:~~
 '+~~.4
    •..       ;..•.. `;~~%''•                             ,i        1    . t..,              ,    .     `•cz;•n,,.
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                    •..a'+1'?,vr :1',}                           i'x..,-..,~'                ,          , ., ~~'''~1~`i'
                                                                                                                  , ..~"r,,;Cv.yA ~'        •-_ '~:mC
  „Y:.~t.'r,{f,, _n.' : F~9:•                         ,                    . n:;         ............                                     ~          „M.,.
 i•~;`     h    _             •~.                .           -           ,y     ).        ~'%<.S%~'X•+*r,r„~                       -       'y` -.'i,r .r
 i';~~, -R` ^'~w _                                     ' . •`~ :                        {••.,~4R:~~y::a:e'4 ~•:'~nz;;.                  ~~~ '            •
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                                                                                                F.~:: ic'_   > ~ y`y              t
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                                                                                                                                      ~•:a 'i•~'...r:
                                  .,.                                                                 :y ,11:                                r.s•'+r:t~:
  , ~•                                                                                       .L t ~;n2~S:~1G~i=. )•.!%`'. )•;,-!
                                                                                                                                   ti~+•i i<.11J'~ ~
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       . . ..                       . .               ...                               _l•NiCw• ... .:. . -




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                                                                                                                                                                                                                 y •.. -r: sz-,           4    a'.-,• a,.
                                                                                                                                                                                                         .'i'":~1h~A:.:_^k,fy~L_~y_„~~„~•.. .}: .r:.:'i~"a ~• ~                   i.' iT.•.]
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                                                                                                                                                                                                                      J4~~                   4+~.'K~-                                              .~_~L.
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                                                                                                                                                                                                                .            . " T.'^e•...,~
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 .                                                                                                     .~.f . '_....~ %; .                                                        .:... '     ' ~,r ~         ~..~~                          `t_•~i~~. ,
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;.}'                                                                      ~                  ' ~ y,` •V '-i•5s.:                                                                                    Yiti,...d~
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                                                                                                                                                                                                                ~ _j,..f
                                                                                                                                                                                                                      V...~i T ~.:~°`~:.Fy,~`.,~-,i:.:S     y._~_~S't
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 -, • . , a ,                                                                                                                                                                 ~p1 }      ' • i .yY`.
                                                                                                                                                                                                 ' `i,'?S. ,'•c.•ii.           p,'~.. . ,r c.r-r̀ `",; Fq.~„w'y,~..~~:Lr;'.p~~,af
                                                                                                                                                                                                                                   - JFJ        .    _.f-'a,
                                                                    -
                                                                                                                                                                                          '",:.-~'             ~y "*•-̀'c~-"~n-:,~'iY'•~;."'':~~'                            •:" '• .i"-' ~„'''              ~•!~,
                           -                                                      -+        '~+.'~1~ ;` ~~ ;          i ~ t     µ ', ..                                       `'-'~~
                                                                                                                                                                                 . f-,;..          ..`.c-:                              Y.~^}i' ~^tc~~:d.tt~''..:
                                   "~~                                                                  ) E'~,~~ _ rtll       , r~                                                                   • .y. .~,yw                                                         ;'•:..t A. •Sc• •: R~•:.    !~
                                                                                                                                                                                                                                                                                                    •: -F~:., h'•
                                                                                             t                         - ~I{~      `
                                                                                                                          •1.~~: ,i.t!                                        :'t'+',`~rG:~'•"i:4~ai          .;~       -,.t
                                                                                                                                                                                                                   ,::'~'"      y                          ~
                                                                                                                                                                                                                                                           ,, w•;    q~
                                                                                                                                                                                                                                                                    .' ~T  ,.~ . •;'                  .hi*r•.f.
                               i   y ~•-~-•-~                         ..~ - i'-
                                                       ~'~`-''-_---'~~-~`=~•y,s-:
                                                                              ! -~=~—.`.e,
                                                                                  -~ -f T, '•i-. •-                                                                                                                        ,~e~.,'~~*.~~-.`-al~•~'r.~•~g~• i?^~,."~ , '":- -'
                                                                                                                                                                                        j . w.,, ., ,, .~i~,:.~N.^y...,•..,;r.-
                                                                                                                                                                              ~~a'::'yu':.                                                                                                                   ,.3
~          • >.-9.-_"'                     _ ~:E:,_ o ;~_~_                                                                                                                    _•~ *• -,_~ ~' ,z;~-;-:               ~ Y.t;a      a. -
                                                                                                                                                                                                                               ~...>:~'~:
                                                                                                                                                                                                                              ~~...                 r~:~~`;v 6.~q..: .,~s„tiT
                                                                                                                                                                                                                                                 . '•.~.;t,...                                     _'= _-
~                                                                   ~                    i                                                                                                        e;,:.;~;      ,   .~      3~n                  ~:   r„                ~':;`;~,•.`~~~'
                                                                                                                                                                                                                                                                               ~~i                      '
                                                                                                     r
                                                                                   , . _-_ - j~, l:j,..                                                                         ~~=•~'• ;'                       ~v:•'                ...             `       ~-•p,                             • .,3
~...
                                                   ~
                                            _ ._ _-.._'~ •T' ' ~-~ J                                ~                                                                            ::7r!?'~.'.,;i             k:,~.I,•:?~,T.
                                                                                                                                                                                                                         ~ ~~~ .:9'• ~~ ~_ ~ ~.
                                                                                                                                                                                                                                ! , y.te~.
                                                                                                                                                                                                                                                                            a
                                                                                                                                                                                                                                                              .~•~.,';+:,~,,'.i.:~     •s- .l.,~4~
                                                     - . `~                                                                                                                   q`>-'' ~                     !~.1t~< ~ : I •' ,~                       a~;,.         ir.;_'.}`i ,-;,,'r~•t`q'    ..r ~•.
                                                                                                                                                                                                                                                                                                              , ".
                                                                                                                                                                                                                                                                                                       •{~.+^i.,,,
                 .i..                           •s_7A~
                                                  •                         •                                                                                                          o~~~'tr  ~:• «.;;.~,~..
                                                                                                                                                                                                        4~'y          ~;~.
                                                                                                                                                                                                                       .    ,        ~~,=    ...v:.~,e.Y",s~v`  >:
                                                                                                                                                                                                                                                                 y~.     y•_•`~.•-,?``
                                                                                                                                                                                                                                                                                 _   .  ,a..
                                                                                                                                                                                                                                                                                         ~...:   _.- •r. .:a;_
                                                                                                                                                                                                                                                                                          '^~':'`^i,,..        '`.
Sr              : ir~     - _
                     ~,~_._~„~."G`=~"-'pCa~             '                             _ -•...._--;eK'*r                                                                             _
                                                                                                                                                                              • ~~'•'~'.-1Tx~!'~':,   ~!  .   +•'.c > ~' r•., . •  -   :  ;+,;t    y~   r                              w
                                                                                                                                                                                                                                                               iT . ^N. .+~~.•.~ fi. •~•...r 9`~rt't~
                                                 " . ` ,. .y.e~a:~.;                                                                                                                                                                            vr„'~+.i.~
                                                                                                                                                                                    _ ' •:t.,..s l                      ._                     ,~~, ~     ~
-..+e'•'•~Cr,...,.e^+ (                    trr`.            _            '  •          ' "^                                                                                    °~.
                                                                                                                                                                               ,. _. •iff,$~•      ~. • ~i-.~'-'-,;j±t e . =%t^
                                                                                                                                                                                                _:^. 5 .
                                                                                                                                                                                                                                   •                   f..'1'il':+;.e : • y.•'~a` t..~~.              ;. ?;I~ .
           :.*`£,i~`r.'                  . •r...'.:'~'._:•,^"'ap .i'S:vk.             ~t~.xRy~                                                                                'a''.   1:-~<:~.~.'.:::ti~,.,iT~.~d.         ~~a+ ~:       J
                                                                                                                                                                                                                                        }-
                                                                                                                                                                                                                                              .~/;~ :'
                                                                                                                                                                                                                                                                                _<,'j~ i •r.                  "``+.
   „~~               _          _}^ ~F•• :ii: -~'. • . v •             J,          , _.~        -    ~                                                                             ...     h ..0 .
                                                                                                                                                                                                                ~~   _!!;. l ~~~~'~  s: ~>•
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                                                                                                                                                                                                                                                          t .~.        , .': _ _ ;:~ ..j~ ° • `~ '•~ .~1,
;~ .                            ~'~•        1<a ~~->~r ~~'.,_.•~"e                                                                                                               'X~:^.
                                                                                                                                                                              .-..-.`:...9:
                                                                                                                                                                              ~               • f,,;',i:.r .•_.«     '.,. .     y._,y   ...,.     '  rs.^a           w       .                       h;      ~-.;,:
                .a•ikti;:c:
S„c•-:y': "+'S.:"
                           ,-
                 °` '•tvi;X~.,    »`!=~i"+'s,,,.„.';~&:-     _,.i ~`..r    ~%•~i~'~'+̀i:~s=::^~a
                                                                        ;~3i~~
                                                                                  _ti'^•~.~.                                                                                           ;;•'+_t ~-,,': ..~•:,ri?+ar~c^~,• s~,",
                                                                                                                                                                              •.h,.,,~~,
                                                                                                                                                                                                                                                         •+s.:~v,T
                                                                                                                                                                                                                                            =~~r,cf.~k~*'•~'".. a'.'wq     ; :;    •
                                                                                                                                                                                                                                                                                     ..t..;;.
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                                                                                                                                                                                                                                                                                         ''u`ry        _
              _ - _ ,131~•~;_          _                                            ^'~- ^'t._                                                                                                                               ~'.1,-..`-.,:          r.~..                .
~:ri.,'yi:
         •                  '                        "_J• -c.a.t`zir~'~ ^ha='-                                                                                                  •a'
                                                                                                                                                                                  ..r.-~'•~"    ~•,:'' y' r
                                                                                                                                                                                             •~:•'....t i • ~'CPt
                                                                                                                                                                                                                        -t
                                                                                                                                                                                                                         _"' _.r~:ci                    <~='~_.;'1;.~•,°~ , '+.''JR~:      • •.,.i'r-~          ~
                               ₹`..,M"+i'~.A~-
.•',~~•'"±!i;~=ri~,~•:=,i;v:;>~~                                                           -,_..'x,..:*~3r`t:ti^.`•H...~.".~~;y:,ta~4~•~=~~-'•                                ~»x~s.;t•                   .:k~.~r~st•`''.;:~':                •a': ~Yii~~C'.•Y".~= ,~'`='=~,.                      ,r .. .`~~•!t




                                       `.~.:__ ~ ,."-., V,`: '_ ....-•_: _.. .
    ~~a:::c.1_.-lL_v.                                                                                                                                                         •,t~~:
                                                                                                                                                                                 . ,.w
    ~~:s:".- •v,•.-v..~~~~_    '_'~'..^w'~!~V~'~.+~..i~~s_•          -~•..~ ,xd~._sn~x._u
                                                                       _                                                                                                      Y~. .,
    ~~         s
                     .  .~..'--f-~i~.~?F._."~~3
                       ..r'                                ` "Z
                                                     ' 5'•~:aL ' _3•  -~'~:`~_6,.~'^ ~.`-                                                                                     i~`'~r
     "t.:~1_
           = .               I `_:-~c.~.  `   ; Sc,=..._~~.:,-y `t~i^  'x._:... ,'-.~_ t_._1
                                                                                           >~c~•                                                                               ~:5'.:s:
    ~V - :P-• --        :•-•c^:'_,~ l `~' - ~' : •m_vryr. ..~.i
                 - '=^•^~
                                                                                     _
                                                                              .,•..._ r~:x.   -••1- _
                                                                                        • •-':_,
      _                                                                                                                                                                       ~




                           - „            '       r.' -•--'-..~ '       •:-
                                                                         ~i',;:r               .,.                                                                                rc- •~ash+'i'-"=
-                           , ...j~y.j` 1 . .. •~ _"                       •
                                                                      1         -'•:' •     ":c..
                                   4._a••,3...~ .-~~~..~.o-rt~
                         -                                                   'e-...,,.~„T4 ~'-'~:a                                                                             HE~c! a~
 .!/                       : ~.z,,..a•Yw'}:. `~:`- ..w~:~:•..:i.;,w ~5+;y~;!--`.~
                                         ✓..; •r, 'u'.•:_.  '•~' 'r.L~                                                                          •. a..
 ~ ~                 •     ' _ 4- % - '~^'a>;                ..•-;`a'~ y _ ~t"•,~'~~
                                                            ""`                                                                                             '~+
                                                                                                                                                                               ~13•V._.
                                                   s{jM• •~:.                      5                                                             -a.-f'•'~~                                   . ~.~•.
                                                                                                                                                                                    •;.:,i;t'~`'
                `•~      t~_• ~?,~                  T~_        ~.a' : ✓.•.a
                                                                '~                            ._-;~..~i-             i~"4:qC'y.4               ~1%~±,y~ri£v~"'`r
       '                                                                                                       ~_J~''


                                                                                                                                                  LR'~~                         Y't~ •r       4~T      y An
                                            :~}                         ~ y                +a -   .§~,SYA.Y:••I • -• '^~SA               t~•.
    •,                             ..                 .                                               +Pa }       `       ~~•*•"~`.,sk'.,~_~,,.,"S. ~..
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                                                                                                                             } ~ ~ t'^~.y~L •t y .Mt'•r y,. _.:
                                                                                                                          • ~yrY:n~f
                                                                                                                                 • y.
                                                                                                                                     btiv1~~.~..m. ..        t
 _..       ..-Y"rd ;               ;                                                                         `                                 .~y.~a•*~i,:.t•
      -     -~=~:'-                                           • :;"-~~,'-"'=~;••:`~•`"i-                                  ';~~t ~:::r.;r'•'."<"a~:=
;          ~..~.y.' -                                              • ~~.~~, 7•.                                                             ~y , ";~(
                                                                                                                                                                               '•~',~~:'~a~`-•~'Y.~
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                                                                                                  ,...^ly, .-~'
                                                                                                                      .      ~Y',~ .',r,~yo`,:-'s' 4.~.,'
                                                                                                                                                              ^   .•r
                                                                                                                          • i            :•`        1`,.'1~.v                  ~~r~             • M
                                                                                                                                                                                                  a .'~.: •
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    ,                                        -      .•-
                                                      :. '                    '              ~             y .l '           ti          ` ~'~ •~.~ ..~' . .i .i.
                                                                                                                                        _S,".X                                  7             ` •`
                                           •,~--.'`,'                                                         {•' : `               n                5•.: :1`v..:                                .~r.~i{\FSS
 •-1•.           .         _ .•                           _               _            .          _                                            v
                •_           -                                                                                              .'+~_                                                   ~     r
 ,N,y      ._ __ . ,                                      .~_  -__    _ •J                                                ,(' . •' J~~~   "                                    3
                                                                                                                                                                               ~'i-           •`~S~~'~Y~~~
    •'~;_J t~ ;} , •, ,                                   _ !~~ _ _r.. •t'                                           ,~' •~~• ~Y.•} ': e ~tS'
                                                                                                                   -                  .       .
 . r ~. ~.~                            .              •       ..                       _ •        -_ ,          .. .J'' •,i.   ~ ., , . r .




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                                       ,.. .                     ~~•...:,..,:.:;             '                        .
. ~~4•,                            , ~':4'         •                                                      •                      ._                                                                                 !.~
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 ~          .'~~rij.;':~',,•;~;' ~.:. •                •.''.-~ , . ~-•                . C•''i.~                   -                                                                                                 .•.:            E;~~
                                                .~                              ..;,,.If.~.^,1                                                                                                                       ~?t
r _ ^~= ~ - .;~, ,,.. sy,','
                                 '• ..,
                                     .~.-.-••rm^;'.~ c"``;~•ir-~-%—    ' •.":}•'•..,,,;'                                                                                          -• -, , . .               •s~> '~~~:: ~k      ~'     F+~ ~'~Y••x ~'
                                                                                                                                                                                                                                                   . wss+'9
:•      -+oi~wr..'i^+"`      ~:'           i -i ,*'~.;    ~ w ,y:"}•F.~;    ~--'  ,    . ,t.~ f                                                                                                    .          ..                   ~ ,c~~':`r~s'~
~~,r'-~.-„ ,r.•`K..c%-.`--_"~..,.~,~,,k ~ L"3%.ai~'+~ ~                rs:~~ :~-̀K                                                                                                                                                                    ~i
~_ -. ~ •,ca '- ~~,~    a • ;i•• , . ..: ..• ~ .•,~.s-.r.    '~"~'.:;~~-~
                                                                  r-;,~ ~` ..                                                                                              ..                               ••     ~'     •. ~'+4 `r ' ;~' •.`~h'.a
                           ~:~~~_''==•"—`~- •~:H•_'-- ___
  , ,, ^ •,Y.~;~. "•"`:--`"."e
                    -d~~=                                ~ .
~---                            - ,.~r;~~°,~.r:.~~ti• —-e:s'                                                                                                         •~ Y         • •           ~• •                  V•y'`                 '    ~~                               ~
                           . '_'                                                     - `
x..T'dC+W'd3~..w'.'-+` J+•9
                        '.~,•:''~'    .    .~ ,~'
                              .- -̀,.'~'~•~~                         ,.~a_...w•'_,_ '~;^..
                                              a•'Y'--n4'-.~+:~~~rc'.'_'                 A          '_                                                                ~~
                                                                                                                                                                     f•-P~S'eÀ•' '?:-'~~.::;'`~;"•
                                                                                                                                                                                                    ~'•r7~; - r_ • '                   ._
                                                                                                                                                                                     . ~ - • -%.,
                                                                                                                                                                      ':~~r:,,- 3'd' 94.'.. ~ +~i-.-...,.g:.    y.:.•_.'•4 c~.'.r'.~:_
                                                                                                                                                                                                  —';rl" =ti:.'•~"•                       :                                           ...
                                                                                    s.0 A -"`u'. - -
                               f:~'C•                         ~ F}~ ,
                                                                          .~=••3
                                                                           ~:....•~+
                                                                                      a'~
                                                                                      `-.-'-                          ' ~           _ _.                             s+.`~,33_,•~i;4yt~+:s~s,a
                                                                                                                                                                       ~tar~'    _.s'.,~x~y, `;K~c '~.; ?e:•'r:e~c•
                                                                                                                                                                            ~G' '_ ..s .~;£;e>;r'
                                                                                                                                                                           r~.
                                                                                                                                                                                                                           -_ -%' ~ , .                                      _
                                                                              ~. ~"-                                                                                                   i'e~'.:a=.!':•G..`.C. ~. _r+,...;[-., "
                                                                                                                                                                                                            •~i:
                                                                                             •-~~ _ ..                                                                =:a`i•                            •",a~.
                                   ~r:F'k•ER        .~ ~~~,s,•;J.•`..~'S+Iis`n..
                                             . !'~ F'                                   ,~.+•N..-r-~~`,~                                                             -.,:-...~...,~~-.-•,
                              g "3~'"            - - R"
                                    .~:i~ •J+tJ~r`                      _'       .~5.
                                                                                   -~;-•            .+
                                               v                       ;~5s=~:":,7..            ~;;~~F~-':r'~...< r
                              ~t ~~'',r.~,~:.-~,d~                   +
                                                                     .
                                                                ,^o-.•^:j~j'r'.,
                                                                               -~          '..+t•.'                   .
                                         ~,rn ~
                                                        ..~ .i,..~y,::t?_. ~'.`„ .            ...J~' _••-.a,: .•
                                                                Q   ;~:r;  ~' s."q:r.. hG      .  -:.:     ~•,...•
                                 ,,,`f~1~M~Fi;~:r':kr.r:`a14='-,.
                              ::•'
                              •j...a'v..       ~'M- ' - *:.` .: +s                   _ . L:,:~'-i;,j•—;_ ^`'.s':;- _,;•
                              £..,, . ;~,~:~...• ::~'`"~F^"~            i~; c~~~`.-~. ;1' ~: <,
                              :•=.:"'_;~% "+r° -  • `:,`'~. :'j T.-'• 'o '          %r_::.•1
                                   '             {::          w_<'w..+:..~.r:C:.:~:
                                                                       r...:,t"I-•;t:_• .`•-..:`' A Y~` i •
                              ~ t•r,'' - .,%_ ,k~'-i:'~t`~:,~s;
                                                                `•~.i,                             ~::'
                                                                                                    .
                                  ` - .• .•-r. '=.~'•:'. .,'s~.`.~
                              :.":•~_                                   .'r~` .. r,4..:..r,-.r•y--
                                                                ~ j"••.,:r;~




    1           Z'.        • -;Fa~'' • ?y;;`a=• ~ ' ;<~
                          ;r:
                ~f                '"= rz?+•?.;',i .,'^;,.5,
                                                 y:r,
                              ..~•~r                      ~r................
                                                                 ~y~i~
      •                   '                               '-Tn/'i~'~.~.
                                  1a~V•

                                                                      mA                                                                                       _                        ~QlY~~'.~.~~
    .,:{..                  `"'"' f
              ~ ~', ,' 'ir~-`            •
                        y                                                                                                                                 •'        ! ,~                 ' , '~   . .

               V~•'1,e3   ~.~k
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     .., ' .,                   .~"~'' -. .




    ~,:"3r;'Y+ 7!G• ,•                                                 1"i9
                                                                     r.a~       Y•,H~'ji,',~
                                                                                           r~'~
                                                                                             - ,x Si^."'%.~'i•"''j' ~~~c*iy                                 7y4' -                '"p~'r•w.                                             y-`•:~
               Y; r +
    .{ s'kn ~.~:
    ~,•
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                                                                    •1t'. Jlr~'f~~
                                                                          •,✓           y, E.• "' Jlt                                                                   1 • `~`-.N-srtL +J-        2•'' i-                 .•a i•
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       :"~.~                  '.,r'• ;:.~;               r i1                                     ~ J"=
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                                                                                                  i'
                                                                                             ~ ..a~''•       /^       7y•~            ~,                 ~r}4 ' i~a'ir ..~•
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          FF'                                                   •r+%':i'rl'uF-r;•T:         M.r..Y     J` •                          li                                          `t:
                                                                                                                                                                               .;,     `~f,,_,,,,;.atK"
                                                                                                                                                                                     F~.                         Y•x~. '•:~r~;t                 4: *y::
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                                                                                                                                                                                                                                                                     5.i,•~   • - ,~.a.•'y', ~"'~..
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                                                                                                                                                              ~ ~'~~31~~'~: ti ~rS<n~..' l;~;dt~ ~ ;`~'F, : ~:„ =
                ~              ~~iP`~s-`1• •                                                                                                                                                                                                         -
                >Z~:i                                     ~    °:~r     rF~dM✓6ir~...rri•y~t•.•~'+C    A„                                                                                                                                                   .r.•~:    -.        -':           _~
        ~                                                     •
                                                         j Cr",•        ~       i' 1~~pa       l'r.':~•h:?                           a°.^i '!'                                .~:~~                       4~.                    .  •'       `'e~y-,.
                                                                                                                                                                                                                                                   y                .,.~~
                  ~ . d- '~r'•~
        ' g. .                                                                                                                                                `~!y'                                                                      ~
        ~P".                                                                                                                                            ~f~-_,~.+-~r'-'y'..:: :l~i ~iR.inr'•:y1' i . i:t`t•~r'~y'•,                                         VV._               .Y ~w
    v~+en• r:'_;•;~.                                                       ':v:;?2..~'.=::f:.f:.~`,~tyyt             ,s~~c
                                                                                                                  s,~+                  r.y                                                                       ra-~..~q              ~,.5~' ~ a ~r,                  -. %r': •„<:,~'• : =`•',i~-
    a                                                                                                                                                                        .        . ~~i: ~r- .:.'b' . •                        ~:CS~'
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                                                                                        4u
                                                                                               1       w , t1•y'~•~..~~~~              '                 ,tI i_~1 ~ 1 e+                                                                                     .         ~            ....          s.
    :7 ~~ y~,'+                                                    .7 r '~~f i+~:s `^+'ht~s~'y•( rr/sy+k                   c~t~`°"`.                      •; ' •/M_ .^'z F .                        +1 t `~_ ...rT'..` tf
                                                                                                                                                                                                                          { ti',r,'~.#;!~`:~}.'^,
                                                                                                                                                                                                                                     F~..✓                    y, „                r'\~w ~, ~:i, 5.
         S                                                , ~l: ',l,'y•t: .;?t.~.''';Cltil'w-.                   ~            ~'     r,3,zx                                               ±}..                 r    1 t ::~t•;.~'.tia.4r'-~'•
      •~?.                                       • ' l',i,l.        '~'i•       r:J.L~.~.~ n.i, '~j:tlY~~~a.r~~~~~                                         µ J.c,~          >r',                             '~C,:X        'n;~t .     '*       ^r-.Q;;.  ~~..,•A   K'j.~~.
                                                                                                                                                                                                                                                              ,.+.;r+,•• ~x^.:;;;f'          1`•
    ~_'                                              . ~. !'••                          .i"               ~tet..T               •d '                     ~`,+e:.i:~                                  S'
                                                                                                                                                                                             '';..~'^~.•'        ~~Y•.     ,:'F:5';d~r.~ .0'r.~• :'S;',~%71~iwSI^.v`._;.'. =_r~~                  n,
                      .            .               _t.5• ~/,. l           '^''''       ...Fi.
                                                                             ~"•i+l:.'.;.ir!"li_rt                       ~-~,~.
                                                                                                              _.:'~C; +.••~.1~
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                                                                                                                                                                                                              r~. ~.'i' e,Tv
                                                                                                                                                                                                       ~'~.~t•~' r:~%.. ..:-i..                   =_ ~   ~.~•• ' 1'~ ,, .l+ - r': - ~~:           _
                                                                                                                                                                                                                                                                                                   _
    :~Y`~;`~ -                                               ; r'    ~'S~yi           ^ •~ ;i,;,.A,,,,L`, `;^   l~:{±~+~: rrY.YS-                                          J               ' ~,~.5;a• 1:,,'         - }r:      4%%.'•         ,                   _•y'1~4 l~ ••
                               •        ,              "1-.,.y~i~..
                                                               +                                                          " -                            'y dt .,                                                                                                                            `
            r._+,                               . '~~:=-,:`:                                  ~t`~*;.r. ~5~~'        '~     f`!f{. •
                                                                                                       7•~j;'r::^c~.,;,~,.r~.'.•;;i~
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                /.
                                                                       - •           • r••.
                                                                               ..{.. r; 4:i'!•C• 'C2:~ .a;::,,;r;1""^, r s'~.s..~?;.~
                                                         . - lii[t¢'.r7:.;;a•4(.'r7't~r~i'r
                                                                 ''`i;,                                                                                 u '~`r~y~;`F,•'                    .i•`•+k~..'~L                         ~~*~..C'.'~3.7::'..:'•:'r,l.4i , ,•-
    ~}~_
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    +,~               4
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                                                      „in.ffy }~~~+/•1:~ '':~.`~`~j ~.~'t~,w.!~r~r i SA{..•M ~'f-"T%y                                       .:,i, ' .if:~;:%i•`            ,r'               ~.x;C"';'.'ti+.~~+~`:...v'. ~. ,6~'s•• - ?1
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                                                                                                                                                                                                                                      = C~...,'y'ir •i ^i                •' ~~Y
                                         'v: , '.' ' J~.r~•
                                       - •:ei -• F .
                                            ;:-~~'f.i.
                                                           Xf,- 1' •T "r=~ yi.,...•.. '1.. 'k.i•."~; r~
                                                              ,' „c~i?i:i;~'              ~a•,~ Y5i~
                                                                                 ~.~, •F,.•                  ~fji
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              _!-,r'°`", ".~ -~'S..'n, +Y;,Jv~~';rr,t •       ~,i.    ~ti,~e,; ;:; (~~ ...~,J ;~ ~~:+•rr,.,•r
                                                                                                             u's.+.
                                                                 .:d; • !i:w,,.•,clit~s,"~+~r,,~'':.:r",€.'-e:'
                                                                                                                'l ;•~`
                                                                                                                                                         •y.,              ' _               - - `+• 3.f'      • 4:. ; t'''•.Fj=r'  .' ~ • `
                                                                                                                                                                                                                                 "''~y                              ,.~
    1 `' y, ~ F'f1( ~    '
                     +i~h~ ' A.+,~~'"~~g ,~' ', •iX '~s~i:•h
                                            i~                                                               ,/  4
                                                                                                      ",,y M"fw ,.,rie                                   .p~ '4.'t+R`r•'
                                                                                                                                                                   p,i.?.~, • 'ts                         '       ,                    '.-     •'4C- , 5..4,{'~~Re.`^
                                                                                                                                                                                                                    - .-'~N:~'~;:..,•
                                                                   ~N                                           ~
    `~ 17 iy~.     / •:E,•F,A~}      }~ dp Y~IW Y . +`/>     ,(~ '•1,•'(.•. Jf: 5 j, / '       .                                                                                                                                                      •               ,'+.^~':.•
        ~'•~,~+~.~.~~.c,~ ~t~ •'~rj~                                 •4, 24F''            r    F        y~ W.•
                                                                                                                                                                             ,' ~ +-9                     •        ,              {.
    A,~                                   ~         1r t+d1_. r~;;~~•+;;           ~r•.t:..r2;n.+rr.-.a.,.;r,tl'Y •.                                       ';
                                                                                                                                                              ~;la:.-
                                                                                                                                                              Yi'~'•i    •• >."';~', ..              ., .        ~               :i~piir
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                                                   ~a~l.:~•w:f.. rd ~-,. n -. •~:~r+!i1r' ~'..5..::+•y:.~, _w ~.'.~                                      1                                    ..




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                                                                                                                                    ._                                                   ; :fs1-~.;'... ~. • ti,                     t'
                                                                                                                                    ... -~':~F v
                                                                                                                                          :~~r~-    ~.-_                                '`'a  -        F ~, ~  Y.  r~    • ~  ' `•• .
                                                                                                                            -•,~.                               .g~j,~..~.-n.r•ti.,~.-./':"^~~. .~ ~ . 4
                                                                                                                          '-.+!' • ....r•-.h'~~          • '+r̀j;9- .~ati.
                                                                                                                                                    ~l ~;a•                                                                               _
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                                                                                                                                                 .`~^•'            ` L. ~  'a .ti.:"+~'~ N ?~:.~_y~" ~f ~ _ •--_y",-~~'Y.'r--.~ —_
                                                                                                                                                                        ~-,3
_          .                       -                    _ +                                      • .: 4,r ~             •                                  `
                                                                                                                                      `~                          . 'a•-L ~," <p_'a~~Y'"~        "'^.
                                                                                                                                                                                                   ` yw '`~"'::.a ;--•4., :n,~
    '-                             _            .         _ ~_.i1. -•               .         . "=•~;~ •                                     ~ .                                                                                   `
                                                                                                                           `           • y                              ~._ ,               h...._•=> ~1 ::.:~ .~.,.                     ,
                                                                                                                                              / i ,_~ , i- .•: ~',~ ~ t'Yy", ~'.'                            "`,-
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                                                                                                                                            ;,.r.r.:. _,.`...:..s~~%;;;+a      •r.~..        ,ny',N,   'C~3
                                                                                                                        .•~                 ~'~c~j4 .,.ti , .t~- 's,a, ,, ~'`i:K-J••s~r~,~ :•-.+y.:a,~à~,~..".~                        t
                                                                                                                                                               t
                         {                                  -•                                                                                                                                                  _v          •.e_`v\,
 1 r•              .      ~`                        _      n' ~                      -
                                                                                                                                      r~,'y•-'         _j{. "'...-1
                                                                                                                                               '_mr ''M.FeC"^                  '..., q•'~~ f •~~...,   •.,. ~~a.;%s..":,.:
 ~~ 4 ~'•~                                      t         .fi j --J !              'r`~      ~           __
                         ~±. i . ~~ _                                                  :
                                                                                                                        ~i,, ~,                      ~, t ~~                                -                    :`_         * „~ _ ~
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~~,'~                          ~M1—. ' .t.",~ •===.:~1                                                                  , .               -          -        -                     ''` ' ~-",.•
                                                                                                              `                                                      .                                          • '~,- - . . ; ~~'"._
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                                                                                                                              _, +rY                     xy...= {]„ys,•~~.«""• • r.'caL • r^:;'.                             • ,•d;' :Jli^~ • Yi; .
          _:;:-~~,   .         '-CT                                                                                                   /          .             'd.`-1~~f:•.~- ~jT';`~~e.ag -••-i                           '.~:.. .:`i' M
s+s-,-.                                                                                            , a
                                                                                                                            :or' t:
~               -~~, ~`_----•~.~,_ •~_ u.'a~``
                                            ~:.'••~
                                                                                                                           ". l', f • J '
                                                                                                                                                    ~; •~R1;.,C~1
                                                                                                                                                                  .s•
                                                                                                                                                                               "~ y,:~;.~`.'•. : ~,~.~~,.,
                                                                                                                                                                      t., i".~'c.::z.                   ~~ry''~;    , +.:~"~
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-,~~,;                                                                                                                                             ..~,~''~' -w•:F~ .' ~;                       , ' ~f '~' w - ' --                              ..---r+-:.•- -
                 ~,:.~--`!'•                                        _i'-~r-;~'+`. '-                  Y •~                                                                                                     '_".%
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~ :_.,~-'
       —~ ,r j
     -..
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                                                                                             _ _ ~.                      '•r"~" `~ ~',c:t'a:r.:N' .'.•„"                           r. -;_,•w`                                              ,¢~~~^'?;,~,
                                                                                                  ~`"``                                 '~'•,                            -      -                                           :;'t• r . '' ' ^''' •s:^ .
~~           -                              _      - '•~y-' •.la_~a.--.m-            ' ''.,
                                                                   ,:•r':~,','^c~':"y'       ~'
                                                                                              .y1
                                                                                              ` ' -r~•:~.m                        ,;         t -_'_.:.~
                                                                                                                                                     . :.s:c;.....I.~c___::•r..~d,:~,is`' ~-r:=             ~--_ i.:.:
                                                                                                                                                                                                                 ,    y~;._.,, ,~Y  '„~"'s           Tti
:~.:                                                             -                     '.r`; i. ,?;~;;.s~                    ~ - ' •'Y.': -"y-``~'       ~~..' '„ '~fl'i"^. - ~.                   y" {4c:1~'                                             .~
                                                                                                                                                                                                                                                         7t~:'~.
                                                                                                                \.          '+, 7iF • .:i;:~                :~ri'- ~ ys,!                                • '• x'                      .:~~"I•~ lx .:5•~.,t:~.
   `~` . . -                     _ .        .. ~_ '. "-..                         -         _
                                                                                            r
                                                                               `w•'.~.-. • _•_   ~~i•.''F• a,..                               .                                                   :;::en` ..
                                                                                                                                        a_~~.,i.~ _ ~~-~ :~' 1'ti-` ;.~tr7r~r'=':~-'-_.•.._• .litl7:,~.:
~    ^ ' '                       -                         ^b., •_i '        ~ \' ':e`~::!`Yr~l.':                                    .27             S ~ '`' ~.:~                       t-n:. ~ ~~ r ',:•' y',.•'. "r :~
                                                                                                    `S `~   •?'`..                                     T                                                                                               • ~~~s+`
 - -                                                          ' 'w.', i                   ,~                                                                                                                                                             (
                                                                                                                                                                                                                                              '+-'-"f",?•j
                        Y ,. - -r. i -            •                                                                         -.. .f. .               1   '~            .,,r;   r        ~    a ._ _,.~.;<~;`•:..,: " ~ J(.;~.=}-=~; a~e:
 +~              .:                   '•.- , .:.- -}-_,                         ~~.e;Y:'.\~             ~~,.                - ' •'++                         ~2j..              .,-•,.r~.°"r~a:                                     ..r      ~"
                                                                                                                                                                                                                                           ,,,     : Ntz.
                                                                                                                                                ~t- •'t„h,'e. ~^~'•                                                                 '~...                   :7•,~
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 ~ .                      -_             -y , - _.~•                                                                                                                                               •=i:-,it'_ f ~t._~
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                - • .,                _      -.         c :.~ .                ~tii' 't';:t; ~`; , i" _.t                                                         "ti~~r~~ .—?,4a, ` y :                        _ .                       t - (~. '.•;.:
                                                                                                      .
                          ,'l. ; . ^e~— u                                                                                   +• •~e•~ ,.4'!.^r,•E~. ~'; '~'l^Y„ .•                                                  ~_                   •           f; .,
 •                      _           -;        ` ~~L.--~ . . L•' ?`1._-.'1V'.... , +6+,~.,. ^. , `.V.           _             f,~ ,•.:• •F r.I . ~ ~ s,.b},.• j
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   _ --                        -."• ..
                                                                                      1... `,F~
                                                                                                          _ -~•~',          y- yt~'- ~ ~,q^,k -•.rC~YY., 3, _ ,                                                                   •        ~'e,, e('t,•,,
                                                                                                                                                                                                                                             ,.'};• • .
                                                _ _ ^ ~i.,                   • ~~ -:Y~ .,..r                                                                                        •y
                                                                                 y^                                        , zY.~^.     •~             ~.al`
                                                                                                                                                           ' `'~'.", f                                                                     ' •.;.t ~.Y .',.f.
                                             .. ~.~,p,u~''- -";~;.. `;\ ~ 7~ ,~•~ ^ il,'_r                                    C , f~L.y'~~•j                             •~i .i~i:' t "F-,    ~ •
                       ___ ' %+''~ '                               ~`4~ ,~'' .l .` •( '. ~:~. ,~ti
                                                                                                                                                     Jµ '°~,'f4'g ' _                           ~3         .
                                                                                                                                                                                                                                                      •:
   „~:             _ '                                   •                                                                                    FL
                                                                                                                          ~ ~~~•~.~ '~.i} -. . 'C -kY'`                          n ~ , •+ .L.,y~
                                                                                                                                                                                                    ,.                                        ' i.
 •'C _ ., . . ,                        _                   _--"--~ 4 - ;•V.`-%s:i-'                   .io..-'-s•;'~.                                                                                                    •
I . •=.r9'.'i--                 . ,, .          -. - ' 4' .1 . _ _ , \''




                                • '•+rt _.;S;T~           ~:i'..,=.•',

                . .,.. ... ~.'~,~,~.?•........ .....YY„


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               fo.~•.:t~ _     :;isk:                 - ^ it^i~A,
                                        SF_-
            .f;• .;?i~         ';~'=._.i'• I - ;•~:iCj~~..:.
                                      e .,f. •,,r , •.t. ;•..,t,~ ~
                          •'     ,y ~
                         :•:~• ,: a'_,` -          ` :; _..Y: f.:, _,
            .      ~i •,...r -i;v: ... ..: s~-%('n.ta's..a;




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                                     69                                         June 29, 2022
Mr. Mike Wakefield



                              APPENDIX C

            P.hotographs for 1230 South Ellington Parkway,
                         Lewisburg, TN 37091




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  EES Group                                          Engineering & Environmental Services, Inc. @
                                                                                                                                       ._ `J i-- s% ^ ,                              ''{,;~.,.~ •,r..,: _,:- .~, , , .
                                                                                                                                   -         ,. u                                               Tr-        ~~c';i•...:;•r


                                                                                                                                         ~~"F~•_ Ti.S: 'x..r: _~~~'•`.
                                                                                                                                  _ ^9~+L'
                                                                                                                                                 -    - -••i':          "..~i.'•i -                                             :y';:, ! •.              :c
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                                                                                                                               ;`''•n~.:               ~dai;".:' :.: ~'.=ii    :r
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                                                                                                                                                      t:,+~:~:~'cr_-i-:         ::
                                                                                                   _     _ ,
                                                                                              Lt                               r?~'  '~~~               '"`i,:~r~.,.t,:.•;.~:.~f'.`+i"~.;~]
                                                                                                       ~~_ I~,                 .~F'.~~^-..,~_~'; `   `,•;i• 'C?.`.,`'~~'ti"^'=         -
                                                                                                                               '~gt}{,n ^•~/a ,Y~.; , n           ,e'+~:'~~~.,Zr•y;'., ,,,
                                                                                                                                                                                                                                            . ..•~,       ' F '.
                                                                                                                               .                       .        ~.                       Y. ✓'•,"~               •'fh~.x~
                                                                                                                                                              a                                      r                           '~.~i{r-1 : ~ ~1,` •`' u~M1• -
                                                                                                                                             •               ',_                 •..Yo'$'y.'~--.v

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                                                                                                                                            -     •?F=•         ~'<::ST.v ~:_•'~r;~ ~.+'::~' • ~t
                                                                                                                                 :     'n ~. ••              i•'~'~.tSi:i
                                                                                                                                                                      ~- ~^r   ..'.5 ~' •'i_'"f'._                              .~      ~5s~~.~_r.'L~Y •.-•               ,.
                                                                                                                                                                             '              A~
                                                                                                                                 ~~~ ' ~ •l~            ' l'       ~t           • .:4'..,^_.
                                                                                                                                               .                             ~_r'.•c.  a:k:'?:Fa
                                                                                                                               -^~,t:~ '!; .` ~.'.rc•',: . .. _




                                                                                                                                                                                                     .^ ..                                                         ~J ~_~
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                                                                                                                                                - ..v'~`.-.+~'n'm;'~.:n;-:=~::.,;.                                    ~                             i ,~;,,                 .
 ,..                       :~. -                                                                                               ..a~~S'n yr~~.:~%~                          .,r•'[~,:~:[~.;,~~:, ,~~`.~;"•
.                n ' '       '~~,•    '!~ •'a                                                                                                              ~_ }                                           4                                                           y ,_
\•                            . .,~`` •                                                                                            k {f R^•.'.~u:~rr.                           < . .l               r: :                   .•r:.                                          •,•
                                        ~~r ~~ ~                                                                                                                               6 ;L :t                             ,t"'=•- r•, ,'::,,.        •„' •`•'...,               .. r ,
 .                                                                                                                                         1"f',r'A',y1~-.' 1 [k.                                                                                  -
'~           •
                  -                     •~°`4.~•• '•f r~
                                            \       • ''.•l ,i e~~+",~                                                         s'~~'a't~~:.:.;                     " 1 ti "  ~ -.i ."::',' :; t; ~ , ~• S'.  •     <.,
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                           •          •~a~~~',                                                                                                      _:a,.:f-•                '~"«•... • :-. .
          ' .                    . _          ~;4•' `~,                Y,4q
                                                                                                                                >.W
                                                                                                                                ~...:i   ~r. trk''.i[:v?' - .: •~ vsr-r:
                                                                                                                                                    Y .rpF.,~..y,yi~„~`_•;r'~=,4r.~•0+~'                     `•- •~i.n"+:• ~%~:,,P   :-i.:oHr,ti~                        M.,
                                                                                                                                                                                                                                                                . . Y• ..,•..
 ~•                     -                                  :~~'- .                                                             ;~=;•'-.;~-d~,.     Y~-^.j:,          ...                                    , .,,~ =~,~ •
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                               .. - ~                   b_`+-^"~dk('Y.~"'                                                       _~it•+::}~ ~w.,'``•~                                                      .~~
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               . . ~`.           ,        -                   •y,ti~
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                                                                                                                                                        ' ~.e•'s#:=         ,~i,,
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                                                                                  ~                    I~i                      .~ v~ =^,'~ .N~.~~ii:_..                                                                %t"Cy;:'                       .~,-::'_•'-_...
 ,                        ~ ~,          . - +              .•S4"'J~r.
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.                     , ~ [f f f, '                 ;.'                                                                                                                                       -                                                         :.               •• F
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-. _                         '~~        ' ` ~Ak l.t~ ~~c~i;~                                                                        ~::~~!.'''`'!•;v.r;':•~f:l%i"~_                            t                                                  ..r'~.s
                                                                                                                                                                                                                                                       .t•.~,:F:k.•'"~_.,'.
d.           ,                                                                                                                                            {
                                                                                                                                   ~~::~~y:i..;~` .~r;::~;•,,--                         __..-y'x„'''-¢,•~..:              "~`'--+~:
                            ,      ~ I ~ ~k •[.{, t~1~.
                                      l~15.~. .Ifi,°`F' [                       _~~,.a.~~  )~+~                                                                                            ,,~.,₹
u:_             .                  ~ 11                                                  •\" j`%Ki,~' .,~                                                        L.i,
                                      i                 •q• 1                                                                     `i.: :!'[i}'~'-c.~t'
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s
i/tt-•  :~~
         ,
  • _ _;c'~`~•a-'                   • i ;   i I ~~•  "1 '   •~  1 ' 1  ~                 '~~         ::- V.                       =i --• :~J~.;:::.;:,',',,,'_                     " `,'r_. : -'^i 4~ '~~g..~.                        at.'" y :
                             . _ ~.l., .il~i~,:~' 41: .r 1                          4' ~~:~                                                                             t•;       +                                       ';.-'
I' r•r             "Aa*i~                                                                                                                                            •,            .r_~'~ 'l~,a.;,,F,' -~~~'.:•~vr~J             '. e'v+~.                    `,,yr
                                                  ~..:~~9{ 'b~,1~~,                        ?.1.,y `~.,~'~,
                                                                                                      ;w', .,,s:                    •i1.iY'.??S'ti;~   .a,. •.:..
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                                                             ,.`''-                                         ~~ •y                     '`""r~;;~,~~;e•     :        r'..
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                  •°~x,~.~
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           ._r._ __ c- _•_. .
                                      _         ..                  .               ?  .                                          ii~~:.._ ....~[ti,1;.        _ . .,+.ai:j~'    . e'_T.•.:nf':✓5:~.~.-..~   • ~t~.                 'hc_`; ?' 4' .           - }1:,:.~-.-~.




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        ~T.•l ,+~'i.'.   -- •\,,                iT,{~~d~                     II                                                                                                            _             ~~ y                                • _ _         ,a
                      r.         t •y'~:~'i~,:5'` hi                                                                                                                     -                 •)_                       ~          — '                      ~-i.
        • -rT'::4        _ .~L,.a, ' 1- i.'.(.7s'`"'e`               , -;~;                                                              ~=                    -              y,,-•~;i. ::•                              ₹ ,r i r . -
                                   ':t'~.yf'~j;`fr':[i^      M%' ~ 6
                                                                   C~rii.i.'        -.}.~ .r•~^...G.,'.~                               : !;~ ' ' i  ' ~ • • ~! •*' ...~    _,, ;•
                                                                                                                                                                        • f.3_.:       .,~i5::..                           r3•s~w           .             •'"
      :i~''_ ~,`^:;
               +.0 :..                                                                                                                                                           .«.                                     '         '
       _ ..-tAt.:.•,;
                         `'J°:•: :;5 ,       ~;y, ~r,..       i~.•~?~~: ."""_-e•
                            ~~ ".~,^~..~;r_-``,r •Y~ „`~r;~~~J.'__           .
                                                                                ~S•„'s~„
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                      .a                                                                •~:,;'~                                           - _                                                                        "nr .~                                   5
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                                    ₹ , _•uTa^'b'~-~~i.r i~:;~•1tt„      '~.V                      C~.• ~y ~'„ 'ia.,-,n.                                              r.~ •.~,:   ~,,. ~ , -
      5i. G ` a ~~                                               r.~',          ! ~a. ',P,'C«R•..'//lf+.^i.~,_•_•
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             :`,,; ,. 2^Vs~
                           ~ . .`',' ,...~r y,,,,4~":'C~°,.,,'a`      Y
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                                                                                                         . r •`'.~~                                r ,n"                                t                                            L        `~'
       x' '~`;',~           ' rS-' w :'~'.e.:y~" fi:r•c             -                                              "-f^~zit            ~'•.1•',`''~
           M                                        -'. ~~~y ~                   ,... ~                    i  " ~ -                                        ~       Tl~:i `i. _ -                                       •7 :f'~.+x~,~.•   "~. '~,         ~i,r•'
      'bi'~"'•j.t+S'"'••,'w`" ~: yn ,::yr
                                        •        ,,~{'",~T:' ~.:s`-~Y~;`~' ` ✓-                        ~_ ' , -
                                                                                                                                         ,=:`              «                      ..                         `    _ :e:•r +•                           .                       .
      'K~,~r ' _'~J~+~.Y ."'-~°~ ` _.u•,~t,aw'~.Tati,!                            ~S~^-,~.~-'a•'= .                                                    .                         ~~/.                      '+r,Y~^ ` °       ^•~"^^'                 ~,f f•,
            '                              r y' 'r4.''.' i..; _                             _                                                                                                    -
      :;i"~•~'~J::        ;'~h, y'                                        _ _                                     . ,                  ~~i:'                        '•• <. r'        ~I                  li ,
      ~z4;.t",:.+<.'.-s•'.c~,'.';gir~s.+ "~;i
                                                       y ~,
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            ,w~.             'f, ::+'.•                      '             :i_'                                                                                                                            ,✓t:.•^ ,:y..
      .~y;~' -fi" .,~:.:~;,•    ^3.          ki~'F'.4 ,.Fi-;'.•..,5~.                                        .~'Yti_:~                                                                                                      - ~jt       •      ';` •
                                           '`••y ~A•~ s -s''
      I~ei.•.",-"17i,        y •* E t • x.0 A w"~, ~' •••                                        F: ~. r,f ,                                     '~'`                          +' ~ k~'•~'~~3'r.,.,. '.'~~n.`•' '..vS c 'i 1~} , {b:-•:•' ~,•~FT-.::;.
                                                        7"  _~~          t•                                                                          •[, ,:5. •4 ,.                 :~'              •,! ' ``eyYK:";
      a~P-~-vr3,~~c -'~~ •.:'q y, }~       ~ :,i~,'?t4
                                         rwl'           '               . ,  ₹,t-  ~'   -.              -'•
                                                                                                    ~s w- t:: • .                      l+.                                   .~_n:~ ~;"5 .




Case 1:23-cv-00041                                                   Document 1-1                                        Filed 06/20/23                                         Page 126 of 137 PageID #: 131
                                                                                                                                                    ~-'',.--~- :.::;:ut.,,                                y, -„•-,,        w.,..,:,.~.,~,.
                                                                                                                                                                              .       r ✓••       ~     ~. L~.         `:...G... ..,~ji~                         .
                                                                                                                                                    ~i~           ••:1•..~~        y:                             :. :          ""'•-*>:r•:'~~,                    '
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                                                                                                                                                      »ri'~.          ` . ~':Y ••'y ..'~~     ',                           '._'.1~`
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                  ra.~--•_                   ..._ i,...      _ - -_ _ ---~ j                                  _' i       ~
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                     ~'=          _        ^.`~;'f.                        ,_1
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                                                vi:r.,:»sc-a . . :                                       .       "'                                 `,C~'':tv,
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                  •F -          ' ~•,
                                  -       ? ~ I.                 '      -.~,                                      : ~~                                                          •,:a'!.~'                  '                            l.:
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                                                                                                                                                                      y`4•.                          wa~'.,~:V
       .,.       ' __.:_~                                                                    _-:..,...~_—._                  •       .               .. - ' : ..             ;'s.-
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                                                                                                                                                                                          y,                            .x'';r.'~`•                             ~:.~';4„-~i~:
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                                                                                                             F,. ~~                                          '`h--.,,,~'                       ''~'~m»~,'-'e: t              '1:,{;.:
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       ':,Yy • ~'                          ' ' ~ ' +r'~:J✓~~r '.it•- •' `•S•••-'.ir~'i.I'                                                                                                              ₹.-x_y;~iX•~.F:`~•t"Y•`1:              :n1,~".:w:   A  •  .' _
   ~.Y`•.
                                 •:" . J •: Y'~~Jw ,- y,, . - r ~_"P~ ] ~y; •
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                                                                                                                                                            .V                                      ~. :ti..yG_} ~ '~i.t -:J/:K".,+}d ~~ '.FF • ~'J   .. j_at•:
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                         .                                                                                                                                            !~T; ':3•,~'~r ..4.~r"' •.f'a"f;"'.~':•F"'t:'4.                                                 _
       r...                          .ri?fY•s' -               F:•~~~_ '..            •`'                j                                                                                                                                                  ~~
                       '
                         - 'r''~y'✓•''"-. .rye ir'- ».f:: ,d'             J:f
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                                                                                                                                                                                                                                                ~ .~a'~~~,.{'.
                                                                                   r ,X• '7; -, i •                                                         ~F9 ,         :,;i.,e-:•        ;=JT• :.~                    •1,,,f:;~';_•~: ~ ~~r          ;"         -
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  ;               ; ,~.':'.rM' rr*'.+'_^.      .-                   '_f -               -`~-i.i~..~,.•.                                                                  . , ~j                •1..
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              ~: :Y.~i':~ "%'F..                  . `• J .'tY•               •;,.,a~
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~ ~r~n                                   '.                 '' >y !~~.     r                        .^.                                                                            `itx. "--                                  ` ; :,N;  Y       • ...•J'+''~'
  }:'.' p,          -              -_           _         J            -r •^•:                 ~.±:•
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~e:„
    " %'Aa'        ••'              '~"` -'.~.+~~ "r'.:s..r`y,._ „a,.».~` ,'.•~`..,- J,,.
                 ~'"p„         !~'1-.F,.'.;, = ;.r •~l•'...-.•_ }. •Z': _ _c~--~{; .,••


          e         0         •                 Fxter ior S o ffits H anging


 _                      - -a,..y"--.•....:, ..;. ~i;".'+;
               a^~~:.~~,r                               _'YFy...w $,~,+' ti; M •
                                                                ~ I
                                                                                               - +~                                                                    - ,r;•; ` r.-
                                                                                                                                                                 ':' =-i:.         .+~.._~e-- ~ - :;..r : _ :i= :..~
                                                                                                                                                                                         „-v:'.        .._~d, ~
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                                                                                                                                                                                                                                      •_ •>. r_ _ .....
     ,^•~r:^,`"a~,. +                      ~::r . 'a:'r `„
                      • ~_;+",.fi~!`:` 5'•t-.;w.~.t'                                            •"~`~                                                                                           _
;.:r',.                             ,                ~:s~~?,"-   .xYa• s a£',-'."'~ «j"~,,~ -•- :?-.                                                             y:'    ~..~yly =                    ~:s,'a"~.z.*+-
~.-•                    '      ~..;.;,i,`s_•: r~'~                                                             .:£>fti               _                                            _ p`f~'                       ''.' jr ~r~7'ti
                                                                                                                                                                                                                            '         , t ::r'~.   •._ `'"'~••+'';.
                                                                                                                                                                                                                                                         'xy,: .. .
                                                                                                                                                                                                                               a~.
     ,.{''                               -__ ~F`_.i."Z`- •'}. +;1:~ • 4.:•r r.'4~r .t,t:':                                                                       .     _ ty +0.^.~rj+i                                                        _ +•.d'•" ~.          ,ja•
                      nt~""42',n                                                                                                                                 ~.~ .~.•~e:i:. _i~Y.~'Z'_:'                                   .~-)t_l~'ty-                       ;.~.
. ~,1•                               +.~ - ~- :•f••                                             ~•                                                                            _ _ :. •~'~•r[L'F• .n.L . _                  ~ f,yg~     ~'. • . ,~ -
                                                                                                                                                                                                                                J ~.' .1[~                ~:2 :
~. t ~~~~•;                          _}. •. ./~. '                             h'.        - .                                        -~.                                 -.~.*""•
                                                                                                                                                                           ~f-
                                                                                                                                                                                  7f~- _ ri•~            ' ♦.~^^. 1-~ • ,(^// .f( ryT,.•
        _      - .:~.~~~' 4:,ft'                       .                      ._h''V" ~ ~y.::                    _              - •.l;il                         ~"•"` _ ~:~-;                            - ,7`~    ,`.              •~-` •..n`i.:~ J;~~'„4 ' +.:t.
                                                                                                  .., 's'.                                                                      .. sr'r~~.SJp;
                                                                                                                                                                                     ' p,.                                       'j~y                               ',l
                                                                  ~~                                                                                             n•..' _ .'.t^.;F_,;~5-7}:'•.:.: f:=                                               ;iF~~:_:
~.~:.~-~~ _S'•' ..t.S:,, ~'~~=.,~ ~-                                .':.,':*              _...           _       ;r - 7,,,:::;.~~~                                                                      ( ..~
                                                                                                                                                                                                      `•r'.
   ~        ~                       -„ ..i-. -                                                                t,i~,•-;           :r,"i-.                         ?~'~_ .... ti:19•'~'.;-.~.~:~.":x':i~::Xi:. ....                    ..e..., w.S'i ~ •'i~':: ~L: ~
                                                               :=
                                                 ~•.'-.               57             _ • ~4"' ~ -                     .
~" ~                           }
                             ~ .,~r~af"       •                                  _ ••r't:                          4.`,
~i" •       ",4,:. _            _                    _ _ »                                _ . ..
                                                                                                                              '''e.                       '!i~'cY :~F.                ?      ;F",m'"-. r~:_^-,ry~ ,'~-''^'~r•~.~.::~'h~=. ^ti~hA~!
                                                                                                                                                                                 'e~"~.C:.n•v^                                                               .'4',
                                                                                                                    '„~~~"'._~                                     ;.~,.,- ~t,  '•„                               --d '. •          •;1++ : ~ .{r ,4•,*.' '-?' ,
                                                                                                                                                                                             r:'~_~`•r.'• "'~: ~`~t~~'~::~r•:f~•w..~:G.~
., '"i. -       :7•l~''J7 ' . ~:^•         ` •;u _                        :: '_'••. _ ~,_~• ., ,i.,'     ' _ -'ie::
                                                                                                                  ' ~' =                                                    •'•~,
                                                                                                                                                            _..::t;u'.,.:..a.'.   -_.
                                                                                                                                                                              N_'"':~-.~Y,c;a!•.,i%?..        ...                           ._..,i:_ • ._' . .
                 ."                     • ri:r': '"" ti:   "         '.qi~,-•                         •,.      ' y{._'i..
~rr.~`x.'4 ~'`ii'i.::                  m.-i .                     _ ^j,~~•c~_ ._ _~i' _~:r: :: ~A,L.          ,.n,''.',
                                       ~J   si. .+ki_}    .    ,            '•    .      ~~e~-         " ~L.   r.i  • C f' t••-rii lt^
~L.r• '.f. i,f• ~                                                                                           ,
        , :                                                                       ~p..k,a           '.f                 .'.l,.r_  .
   ~ ~.               ,~r^r '`.~,`,
                     '~         ~ : cwJs•i-.'
                                            L'~,~~..',
                                                     T`..• . _             :`1_ •.,',' •'•'1,'-,~,            ".,•
    r
                     ~. . i,             ~j'...ti,.,          ..               - j,• : . ~.,. •. ..._.'_ ~a~~: y° .
                  .'.+!~             ti'          .~_       :          :,'~.' ~41. ~'~Jf.:.':y'i
                                                                                               -t1r           .., .•_..`•' ,~;f • .
                                                                                                   .1~._i •ii'-''~v~
 '•%'^<.,                ,ty '`~.Y°.'•      ..     ~:~          '              .       .
                                                                                       f  .
  '•                 "~'k ~`y~r' :            ~: Ti',i: 4 ,x •':. ~.~w                                                :.~.~t :
                   ~;~,                     F-~~yit '`:            r ~a ;.~ ,: i:... f>~.,.~.. •"~,~~,-
^'.•Y.
  . ..          . .. ... .. . ...e ...•~' ..-k.,.:'•L, -.                                                            . . _..




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                                                                                                                                  r?T~         p+~'-'~              '^r- "~•-T.-~,.~
                                                                                                                                                                                  ^..a._~~„ `j" '~~~ ' ,
                                                            ~y. tz~;~~, i~',,.
                                               5    ~Y       e-• f•d- zr •
                                                                   ~ r
                           •             ~,~ ~             ~ ;y~. .                                                                                                                          ~~~' 4=         ; ~.*F,
            ;4
                                                                                                                                                            V
                                                                                                                                                                           '~;.,                         •                           . ,
    }
        r        Y     .n,,:,vt+sry.CLw              '~''.4i'2•~~'~ sl'•t~~:'ti''9,i                                             ;.'                   :. '                                            "r" .n                                     •
                                                                                                                                 fw:                         i J^is. u •_"' j',_ ,                                                     _
                                                                                                                                                           :,y . r ,'•,~''`. - ~-T.a_                 ~Sti-
                                                                                                                                                                                                                               :.          •„5~•e ._ _
                                                                                                                                  ~"~'s~'a~•_ P _                               „
                                                                                                                                                                  :•-~c. S r?; 'y                   -_ ,;'„'';;         •'
                                                                                                                                                                    da-
                                                                                                                                                      '~• ~-    ~           _ __L^      "  -  _
                                                                                                                                                                                                            ~,,;;~;'           _
                                                                                                                                  ~,+,..' -' J ',r~j:,, . :;. ~• -                       +r^-.✓-..G          : _ .<,.`•;a.          ~~ ~.
                                                                                                                                     .-'' •' t                  ~
                                                                                                                                                                y p*. 1           •^ _ :''~.'~'•'2. ~:L Ai t' ~ ~;.:a:b.'
                                                                                                                                                                                                                       °             I.LL
                                                                                                                                   `                                      i          ' ~'"
                                                                                                                                        ~',, '°j,...             -:~:t;,'i':i             - F.f^'r~•              i'1 -                  '
~,~.,_:.,Y _ ,,:.~~..~'~~:~•a;_~,••~~ y_
                                   ~y^,~,k~.                                                 ,;~,~`.:.,,                                         •;d ~        _     ~.~„             ~ac:`-.a...                ` =,.                    ' -
                                                                      ,Yy                            n                                              'y~' : :.':,~C.. = ~-
                                                                                                                                                   . .-
                                                                                                                                                z                         :.~•. ' . "~3~`h •...-% :'r _;,. • c!.z`..- ~~ - -    - ' r'• .
                                                                                                                                                                                                                                       ~
                                                                                                                                                                                                                                            ,
                                                                 .''..-__                 .:.v..            ~..w                                                               ~•:`-_ '         ,~ :: •.~.~-.                  ~ . ; . _`•
                                                                                                                                                . :-%"~;
~„-''`~'`'~~,~                     - '             '•~`=~-~ ~._   "                 ~--; ,r ^~
                                                                                             ~.                  .,~
, -w4-: j!.                                                   t~.                                                                           _ _ : `.5:.
                                                                                                                                                   ;,    ,~.~
                                                                                                                                                         _'•`w:`-~      '• `^_:>;;: • .r'~,:.. `~, ''                    -        • . .~',
                                                                                                                                                                                                                                      ~
                  ,+F _              w~.'~'.M•'t.' ';,I _.II.•" 'l^cun~••. -'s -
                                                                                                                                                ta,+u. .e _ <t•+li': ~:.             ":r'~;.-%:A'                                  F
}!'~~aC'~:'h;~ '°i.  . ^'A '';^'?-: ~, i.4.:ra~-•.-r:•+'.nc.t          _
                                                         ~', fi~_5".. '4r:N~•_Yi ~'.                                                   . . , ,.~                                                                          .' .:,. _ " •' rf_
            -_ _ . _ .. .                                                                                                                             _     _....a.k, a ~- '~•=              _ 'I.




                      x.,c:v-•s:•-                          -           . ~~+n:.                     _ ..,`~
                                                                                                        ?~'•
                                                                                                      w~•
                                       ~~:i;~;a J~                                               }
 3a~ c 2r,,ror~ _                                                                 ::'•r~'~

                               x
                                     ~
                                         ;.-        r,
                                                        ,.' _ -                        "'.:',~'; " -
 ~a''                ~~            , _ __}•:,:,,"~_:: ,                '~,;.:,,     .
   _                                   ..,.~;Yr.u~~•+      '•. ~'~`'r_ ~r_•1..,''. i.;, ;i•: ;6=. ~ ' P;:
                 '         " ; "",-'"j_-.;"'c , F.iar~                           ~ :3.•.-+-';h~.:';r
    _ -'a•:.
 =V+,.           . ,.                                                     -.^'T-.`.`;.-r•'.•,
     ,                 •,!~. _             _ ., _         -...~--_                                ...
 .\..__        L ga                .~..            • ' '            ..                  •             '
 ~-:.._...              • r....:z:•a_ " ~ `.~-_i:r.l.~t-,. ..,` •;' •,' ; T_ ' _
  ~'•,~         ..      a ' ,,          w'~''' . .    _      ,.      ~,%.:w:.:::;..-, ` ~.;..
             .'"'r^t+''ma:-i • " ' i             ~ C, ' • ' ' •~~                           ..
                               ~4•,'a;;x~,.~,..,:_',:x.,xc.;,._1                 ,.N''       '~'4_ .~
 ~;-~m"'~^~+a-nY~
                                                                                                  ;='..t
      +c~.z~n.•
           .            , • .;~• ~•.;~;-•,~
                                          _            ' ~C''+S''''   .r ~Y•..
                                                             ~ i} D::` a..1.              °.•" .~._
                                                               ,
       •,i                           :                                      "'~'
                                                                               +~~'~y
                                                                                  -      '~•,~. •,,-y(~
  ~.~1~~.., „? _ ~ ;'a'+~'~~                    s~ . •~c.p E%d~t~~:_i'~wi:,:.          _. r':.' ~.'s'




  ~' ~-~y,.: "- ...:"F:.,,
                                                  ;i:;.y:.;'wm ~- ~•_`«~:':y=~"
                                                                                          -
                                                                                                                                                    •,}'`"W~b~n•.
                                                                    -:r,:•~"~;~.~,';-;                                                     ._
  ~::`?'"~r "•~t"•"~` ~ .:...''•...          -~
                                             ,cce~~_..ca,.:
  «:} a•' . +   y•_ i.`    ;='~:-     <'                        ~ -,~".Y.:- '-=:. -~~:.:
                      `a,4~° ` "`'r.- -`_: c:°'~'•          -~et.t;3=,:'?":~
  '.~ -'•~'" tir~. ~                       T^.i^,~~                          , .;Y.c;= 1A,                                                                                                                                                    Srr`a
                                                                                                                                      . ,, ,•: . .` !. -i •;  . :'.'}i[~
                                                                                                                                                                       y ~                    '~Y'      'iu ~ `r'.•'.';c~"':"ac'°:~`,..~'.,.
  ~_vJ                                                                                                                                                                                                                ki'_~~i:r1Jy'•,•: • "as'._
     a~ ~'., F '~` .a=~
                      •~               ~           - _ ~'L ' ~~ ~ `+'~
                          , +.~F , .' ~'I • '1. ',. ".`r'~.•..;.. ...,,
                                                                                     t      •                                       • 'ti ^,r~              -. ~'e1'
                                                                                                                                                   , •;•.r~y^                                              ,-~           :;.~.,^..._   .
                                                                                       ' ~"                                                     .~,.                   ~1~                                                     . ,~•-,'.'
                                                                                                                                                                        ,y .
                                                                                                                                                         ~' } y ~, ti-+~Ry                                              :.1.';:;;4.:r:•_\.,~. _
  •''j'' ., .~"r• . .~~•
                     .'                             ' ~V"'bi' _e;,. _ '~,;_.'.-.+~'~~, _ ;'"
                                                   .~.'i
                                                                                                                                   ry-~` ~f-  ,'~„• ,..:F '`~~ ,._.k
                                                                                                                                                                   _ .~Sa~r                                   t           ~'-       ,',,'•t:;r.`~,
                                                                                                                                                               l ~, ~
                                                                   •`,-;,K .•i -•'.. :'<:`• ~                                                               ,'+,r,.\~, y?                                               Y\ r ,~;~. Y, ~.~• ~T`.,
                                                                                                                                         ~,~~           "~~•$~~. ~~"\                                                     `Y:'~~~:~a;~?~?;~~c',
                                   .-t.,:. `•'~-}•r";`; - .>. ' .                                          ~~`.
                                                      .r~' ,r' ,..w~.- '...~.y,.~ ,?                       :,:.
      •`^'.~              ' _-      ; ryar.~:.••• ,r`
                                                                                                                                    ...~                                    -.
   Y~Y` ~;i^- ~                  : ~,:•csi } •W'L ' .%~,         . ~,`-          ::pr. •?,S.-, ~~,~ , ,.• 5'•                                                              - ••.y~t°.~1i'~~aP~:
                                                                                                                                                               " _. ...,.~,~_pz                              ..~~ f
                                                                                                                                                                                   ~rw,• r '.,ri`S'- ~ "~ ;nt; ~-3 ~t.:~'i i:.~..+.•
                                                                                                                                                                                                                                          r'
                                                                                                                                                                                                                                               .) ,^
  ~+ L •             ; "~~~(                4i .                    ;~ti .~ ',ti.'~,~ '
                                                                                                       ; ,\       ~                  ~'r                     .~""'` a .R~s; 'p':,%%~t~                         , ).
                                                                                                                                                                                                                                y,<~ i.;••`<!
                                                                                                                                                                                                                                        4` `J,:~r"J
  '..r',t ''.•I'.,:
               ~ti .'t~W-"~'9~.                                       .      .a9iy            x
                                                                                            . ,° g;,~M1r      ,y _ _                                                           `     .~,'~ ~~flfr f,.~~~'
                                                                                                                                                                                                      J      ,I p~ ~d ~,`'~         • k .~ •~i:!.,-
                                                                                                                                                                                                                            : 4.S'.::[-          a,•
  ,6  .'~,~f            :!•Jf'    .~K.'~~ '~~.S;~S"e` , Hd.+r ." a-,
                                                 •'`,~>SY•°:~                             M,e, •                -                  , .„'L.-'
                                                                                                                                         .\7                                 r :3".          !! p;•, _r7F~c .'S' :~i,tw:~                ;i~diy~:,
                                                                             `                                                     7._ 1 ~_,                                               ',,}d.   ,~~?
           n.T.''~- /~ y .'~x ^~i                  ~ ... L ,r •                "1'        ~~'S:              :;, r ,-,,                         ~
                                                                                                                                                            •     .
                                                                                                                                                                                                             jy.~'"'M„r•="'~~:%:j;wi%~''~;;•t;
  u.~. o                                '.,-             .~.:.                                              ';i.,. -
        =  :r.,•r.'}',         '~'~:                                                                                                          y                          ~~ _ ~,{f     ~ ~ •',~^'~t'':     .!.            =~~~'.:'ti"f••~_.+.'
                                                                                                                                                                                                                                  .%:~•,.•;Yr.F.•
  ~j~;~w ;~\~=},: -                    .,t••:'S'•~k       ~,:                              _            y~•~r                                            4
  ';r\y"ir.'C . +.~,`                                        .•a4,•,`; \,i..       ',,~         ,; `i• , ,.f^lµ,E:                 ri~.•               ,  .   YiP~"              _      R      ~  s'-'~jk9~'~,:!`?'                  u:~.:.i.~~~y
                                    ..Y.s7'G:.•i~:~.
                                     t        r.~                      ;!"r , '-4 •                                  --
                                                                                                                                                  ,•},
                                                                                                                                   '~.;.....\xla..~....___ ^ r.
                                                                                                                                                                i~'               "
                                                                                                                                                                                 ~J_•    '            '  S
                                                                                                                                                                                                • r :~:4:`;:r :~5~• • -!i=• _ `~~`~:'a,`"-}         ,
              ':6:   14~:                                                   +`<                                                                                                                                        .:;'_ .;~,;: ••'"'~,~";_
         -•h~: ~.; .r^s~ :~~r                  r        " '           .~ir,             i: ',J~~;<~                  .'!,                                           ~~~'A}"; ~~ •:,~                    '^•r
  ~ :t . .. . ::~~~. ,.                                     .            . ~,: .. . . ..~~%t.; •.




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                                                                                                                                                                         '~ ~;-.a~'~•..;.~«^'•..',`5'.::..,:';~•--.:.''~" ,1
                                                                                                                                                               -'e"`--•,~`-                                                                                                                              •        • I
                                                                                                                                                                                                           ^; .r.r '~:'•                                     •.iy'                 ..                        -'"`~':-
                                                                                                                                                               , >,}. •.`-3?" _                                                  _
                                                                                                                                                                                           _           .       ti_• .         , ~•~'_
                                                                                                                                                               ~"~ ~-. _                                      '~"         `~~'                                _                              .•- i                    . s~
~,~;; :L~~;:~:;1.~.';:ii'i•                                                           [~s'•s',^'rY.            .                                               ~,~„~,                                                ,• -                                      ,,`'.i'             •         .. .'                           '
  ~">~r•r`~
'~,;;.;.;
              ;~~:.,n';i ^ ~'c
                        i
          ..'F' _~.;f.3x...                           : ~
                                                         .:~-
                                                            1
                                                                          , :;~-y:' _
                                                                                       17:
                                                                                       r~ -,('•~,~ L.-_
                                                                                                  ~ . 45
                                                                                                         „
                                                                                                           • .
                                                                                                                                                               ..  -F' ,-a~:..`
                                                                                                                                                                        ..                "~rJ ~ c,
                                                                                                                                                                                                                    •=`
                                                                                                                                                                                                                 :;r~r' }+.' .                         .
                                                                                                                                                                                                                                                           :.,,'
                                                                                                                                                                                                                                                                 .,̀+J-.          +f     '•
                                                                                                                                                                                                                                                                                                                        °.~'
                                                                          _
      ::1.'~-•w .y':i~. : ~ `                                                  .4           ~                  ...~^,         n-6j/
                                                                                                                                                                                                            " ^.`.7.!`'`~'
                                                                                                                                                                                                                  ,, <'*..:~,,_.~' •~`:`~"};:;
^'7.','        '--:1:~                             ~ ~_ k y f - •V' •"          r~          ~ --
                                                                                                __
                                                                                                                                '.~
                                                                                                                           ;-ai >.,.~•                          . ,.a°~?'"•;~
                                                                                                                                                                       c:.. ~
                                                                                                                                                                              ,.                     r:~,                                  '     •'                                     ~:f~..~                  .'            i

                                                                                                                                                                                 _                         ~`~y. _               •,-°6'.' . .tR.e . ' .                                                       •t[ :F:
                             • :~,~ :i                         •-s~``                                                                                          1,`i.: :
                                   i                                            r;r~—~;                _ F•c~•- • -•.a+~„~
                                                                                                     . ...                                                          •:.:~ „• _,:•s•~.,.~{d'•`'~`r •+' , ,.,';'••`-~~.
                                                                                                                                                               • = ,~:,;.                                                               !' _f                        ;'r.-'                                   -
             •• ~::~~;; ~~'i                                       • '                                                                                         ^'.3•      .~S .^'';"d.'4~;T; •e •l'i;s,'~.:.. .,                     ;. ; 5;                                                                     - .I•
                                                          ,                                                                                                                           '*''
        Tt'.J' -                      '~'~                   .'..
                                                     ..v~au_~.,_                                ~—•_._.                                                        } .=::~(`
                                                                                                                                                                  '    v ::^•
                                                                                                                                                                              r,'"rt  !'.^'-5,. ',~'' $°''^•.: _ ~r ';='~..~~; :' _! X!'
                                                                                                                                                                                  .'4..•:'                                                                                                                     't • •J~•`
                                                                                                                                                                                                                                                                                                                      ' -
                                                                                                                                                                  ~ A,, F.,i '~,'.          . .1                    ~,•✓" •                -                                                                 ~
                                                                                                                                                                                                        ~~ ~~ w. ''.f:                   `./ ~   ':•    : "~.11" f r                    .-                   .Y.'                  1
                                                                                                                                                               --3     F' N }           •}.'"                                                       x•' n i1V                                °f'' ~'. ' C                           ,_
                                                                                                                                                                      ,k.                                 -: `; •.;                                                                                                       ...
                                                                                                                                                                    ; x:_: - - ` , •",...?'.~•y~~,' r ~- -                                        ~ ' r,,
                                                                                                                                                                        ..• . .,, :,           ', . •                                            i• ; ' . .,. . -                        .
                                                                                                                                                                                                                                                                                                 _
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                                                                                                                                                                                                                                                                                                         _ :~`
                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                               `~~.,
                                                                                                                                                               ;::       , '           , :;~4~ °C.°"~`;~C. ;°                                                                 .         r, '               ,r
                                                                                                                                                                                                                           • '~•ti:         _ " •~•• ,y , :S
                                                                                                                                                               .Z;:L ~~~r                      .     L'.~'..~L,_         . ^      .'        ,.      ~' L`:3,I~~:,                       ':••_.




 ~.i ~v`- ~'i'`t~,.` - ,_'c'~i..                                                            T:'•`'                                                                   • .~ '            - ~         _--            -'     '      :,p~.        .(~,.•... ~.
                                                                                                                          !~                                      "~ . ~       .                        - -~`.~'7' s~.:r:F~1.' ti~'. ~~—,..';°;~
                                                                                                                                                                                      . t. ~.. ~-~~r_• ~t~~r,
  ~~F~t'~'n°';l"'~••. •"~'                                                                                                                                     ';'-,..~-r. '~'`'r~.gr   --^p•' l~^n~e~.e,`;~
                                                                                                                                                                                                          ~"~°,~,:~                     :'C:       _
                                                                                                                                                                                                                                                     : Y'
 .1~.
 ,+•i~•.. ~ '~ `'^:.~'~ . .~     ~' {                                                                                                                                 ~ .....• :'ir.•
                                                                                                                                                               ^y ?;~'(..:~        S  ,tt.;+~•:~.::"-'.~-''5- M~S    -~,.-. L."y      ^'s••.:
                                                                                                                                                                                                                               ~~•-,:},ti, •~
 '.1,y       ~~,•~t:~ ,. A,I                                                                                                                                                                                  ,/ •-  _ %•'
 ,'h.          .~.'~;~ 1.• ,`w~'ty`
                                                .*'R:.                                                                                                         ,t'-`~'i'.I,'.'I,.:'~ .         .          `''      ~'~    . ~-:•• ."•.
                                                                                                                                                                                                                                -..           F:•,.9h~:{,;: -R ;"      L • A-_~~
                                                      ;.s-                                                                                                                                              .~i:F'"~      .,,~        - "'~r                     '.:.'4t
  .i ``
                           ,
                                                                                                                                                               ~r'^
                                                                                                                                                                      :~f' =.ir'~ • • _..,`• 1._ ._t:,.
                                                                                                                                                                                           -„',  _     ,.               "rr-.                  ~€"N~
                                                                                                                                                                                                                                                    e          :i-t`"~.. `•~~{
          s                       ~a         ~' }        .'h9rr                                                                                                                                                      ,                                              ..       ,~~r,'l`,'P}:~
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                 . '''~ .          : ~°i
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Case 1:23-cv-00041                                                                      Document 1-1                                                     Filed 06/20/23                                    Page 129 of 137 PageID #: 134
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Case 1:23-cv-00041                                                                      Document 1-1                                           Filed 06/20/23                                    Page 130 of 137 PageID #: 135
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                    , ..           ~:y.,            • f p- 1<                   5 J--L~r~i'?.~/~.~~
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      k.              N:+ •.r: { i' ~ h:A.`,~_" ~..~•~ .~~ P.. ~                                                         :
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          +~~';~        ? • u:              _ "~.:~'~l ~'-'w,~,? ~~
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          .a.~i;~'~;•sf
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                                       s::•'W,q,.~«.  '-~.,.,• _:•-~ LL~"'`r ~r f ~     ~i
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~`x..'~ 61_~     S~'1 ! t              ~ ta $, : #"r'"'    "S;.~
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                  ~.'
                  '5,_`%$^:'A.'~k3•tti~'UwE'.~"~f5~~,~^4.aw.~1Y~..:'Ys''Vyf~Y4''i.•.;=
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   ~     1 .rJt.~.                y,.}s _:F'..T:Y=''          ,'~'~       :• "
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                                  •              •- -                                    ~``"`""~.:`^'-' ;,                                                                                                  q                                        ~.zt..y '' ~ '•~'~•
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                                                    •i'-w...,:..r _                                                               "~-~                 ~„~ f                                             -~ F{               ~                 ~ • t ~:•; ~ ~
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  ..          _ .f       . '                                  `       .            ' -           --• ..__




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                                                                                                                                               .•S•w?:v ~~r'~.a~1„';ii~.. ~ - ,t_y. y `~1+~~";,,~
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             ~L~1~'~!'t",e'~,.-al~it~~'




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—     ..''"'i
          ~ybr•~_y1_',+:s•~yJ'~r._ .                        .,_                 ' - -'                        _




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            .~.-                •-•~~, - ~• Y:~~~:,~^-~"'~-i ~           , ~,;--.                                                                                                             ~-,!l
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• .        ..-__- -. 1.                               .- 3




                                                                                                                                  Yr_:. `~.:w~i                     `~b: -,s 4 a . -}•r ':: ~~t~Y: .~ ~ ~+y . ;~. •M1 ~Y
                                                                                                                         :yCd✓ ' ' ~~-' _                                 r~.~t. ~;y • r~ w ., wi ~ {+
                                                                                                                               ` S, r                ~  Y                                    t t'
                                                                          .+1' o:i .77.r • v~~~~~~~..,,                  .-=utL: "~
                                                                                                                                               •\.>s.      ;. ~    •    •   ,..5 ~..                                                      • '.~;~j .
       -                               :ic~`•',r~y      ' ._               . , .. ~. ,?~''if''~CS~.                                                                          ~`•-:.,:;= r ~~fi~..`t'f?~                                •~' ~ ~
. . .... . ~ _'~                                    rA_                                   ~;~7~t>l'•'~...                          ~.'`-F,'.~... X r"~ ~'~.'~,._                                                                . -
                                                                                                        . J                                        .t~'Y:                               .?'~~           .'i       ✓;   '''
                        " -`             - '                   ~'•:                         f,9•Y••"                          •--.:~.'` y • ~ :'=^V'           ~~     "y_:.~~~.
                                                                                                                                                                   ,{.~w^•
                                                                                                                                                                                 l ', =~; - 4a'-l~
                                                                                                                                                                                           _]'a                `,•'• •~`~•'4 ,.`•.(''
                                                                                                                                                                                                                                                     ~ •
                                                                                                                                               ` ~
                                                                                                                                                       J~ ~ ] f S,~                                   ~•~~•• •uw
                                                                                                                                                                                                 L T̀. ..' ~-.._=
                                                                                                               •..             f• M
                                                           oi (                                                           • /. ` _ +~                                          A "~.
                                                                                                                                                                                                Tv
                                                                                                                                                                                                ,                              •                         -
                                                              '~a _ . ~,,..`~e                   A''f_~'                                            , f •~       •:.~r. •,Z_+~•
         ~, !               f^ Jt..~%
                                   r      _•
                                         _'                ,~ .         '               •• ~'`~ - _
                                                                                                                         , • {id~
                                                                                                                           ••.>,=~~,~: _:,,,~~:~                            _ r., .,_; .;••.
                                                                                                                                                                                          ;~
                                                                                                                                                                                                       •.Y~'n'a • _l
                                                                                                                                                                                                         -':~.., K.           ~;
                                                                                                                                                                                                                                `             . -
                                                                                                                           l.•,,. h              '+4,~`3                                                ``,     !                              _
..,~r~`'
~,                           f         1`.~~''~ax v•~`~`              ,     , ' •~fa  ':t -                   •"                                                    ' -.4w'4a
                                                                                                                                                                        i                          .: . ~~
C~.. i              .?,~ ~~„ty~; e''~       &3
                                         ~`~-' + :~•'.. -_=3_ `~ •                        r;,
                                                                                                                                ~
                                                                                                                         ..w..,a..;e},~~`   r ~ ~ ;.~; `~Y . ,' •:a • `'•-~         ~                      b `_~'ri y '.r
                                                                                                                                                                                              ~'~.. ..~~~' ,'l.~ 'J:q.:T•s .
         K                              sg                                                                                                                     _                                                                               .
~•             • ». ~•` r✓~,.;..~~4s~~ ' ~ .                                        ' - ~\                      ,                         .r         `•
                                                                                                                                                     .,~„•t. ; ~,F1..`                                        '_.t :~y-
                                                                                                                                                                                       ..-•.,::,..~.~ -i:•::y'i~                                 .. M
                                                                                                                                            t ..y ~4a.            4
                                                                                                                                                             •~e~ "                             • a                     ~.:.        i, '         . ~':
      .x_ -p;,w `~.;.:Ss. ``.~~ E^~ .                                            ` '                  r`~•,.
                                                                                                              ...                  s t.~:~. ~~..-,,,..k-•                         ~            ~`nl.w, .             w                     '~:4
                  ~
                 5.                                                                        .  .      t   ;, 'm
         ^'y'f-;i '~~rrr•~'y~~'t~~##•:~i'/~b1r?,^.,u~ 5[ . -..
 ?.•.-~',~                                                                     _ . ..         ,        '~ 1
                                                                                                                                    .. '•a ~? •`~'.~'            ~r`~'- :F•° _• ' P•:.~:1'                 r;~~:' ~
                                                                                                                                                                                                      t ; ~-~v.'tt.. ~
                                                                                                                                                                                                                                        r         .',~',~o
~~ ''>i,'•~•'~.'-.~;,~:~' ~•-.?R~•*.~j Ci                                                                                                         '~L~                  :(ys                                                                   :.}~•
   t=~'
      , ~ • x_~ ,~ .i-; ,,? '~~"
                              •.. ':r:~, f..:̀~.'-'~' z «•
                                      ~~'.;                 .`]. .
                                                                      .,                        .                .                                            ~~='v
                                 _.r                              ,   _ .,       ,                  .
   ~i•~;;xs~                                               _                               .
       r,~+,,  A~::;•.y,; : .~•. • ,,        —       -                                                                                                        E`~~,"                          ,.~'
                                                                                                                                                                                        z~J'• -F -c•'•~ ? ~•t.:                       •_''~-
                      y~~~.`ail':.C.' 't... ~:~ai~..:^                                                                                          tj;~,•]~wj`a:ji:..                       - '.IT'~..~T           ~•''.:i ^             ~a               '
   .~.~ ."•.S".~ N...ti                                                                  ~~L>_,..             - .
~•.~s»_4—~~:~:r:~: ~~~',~~,-~' . ,              ~.' ..~                                    . ~            .     ..




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                 -           -       -         - y:~y~-.:::t.`:`i:•r..-.              ..b...^~ +ii~l~'`'                                                                                          -             -      .._-'®
                                                                                                                                                        ..w._
                                            ."'i.-;".t:~'                     '~          +=~"'•    +".'-'P. 1 r'..•.:i          _~,.-+•—•.'~R~S"^
                                          ~~t~y. n •                    ''-~-%,r                 ~' s•-~ (~~~~_
                                                                                           .•as"`'z'-,          '+,~,            ~~~s
                                                                                                                                  '            .,,aC' ~~!
                                                                                                                                                                    ~l                                         ~ ..d ;
                                                  ' r~- •                   -  :i•. .,.~~ : -.9~% -~                ~,t~                                --                  _ _                            _        •
                                    • _ •~.••'-~'~ 'X ....~_t.~,~;T?.
                                                               -      ~5..
                                                                      _             - -_~"=wn-••' 'r•~) } ,.~ 1                     . .
                                                                                                                                                    ,
                                                                                                                                                            4   - ~t -.'i:::~:.~.                     -,                •
                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                     -,
                                                 ~-+~.'.:?~a• • -                . ~s'-"~              f. i S'                                •     -
                                 q'Y-•:'l:`~'                      ~                   ~~1           ~~ h`~S ~                                             .. -      -- - .                            -                     .


                ,.a.~ -~— -                                 - •               ~                          , ~_                                                                      . -                •             ' _, -                . . =-..~
                    _=
                     .~~=                                      .           .. ~ _. ~.
                                                                              n                                                               ..        -• - -.           '                   ~- ' - - ..           --'                   y`'•'-_--—~'
                                                                                                                                                                                                                                             -~-~  ' .'
                                                                                   •                                                                                                                                                                ;
                                                                                                                                               ~             -.+.e!`~•.




                                                                                                                                   •._ ~` '. ✓Y      _ -y(~s~'^~<~~_+-_~ __ .                           - r•N~,~•~ .        _: Y• v             .,s
                                                                  Y M~                                                             r..~.~.                                                                           y'
`•.         '.'' t " .    . t        + ,•                                                                                               ~Y'....sr..~~~'~ ~                     ~~~                 - ~•9" ,:.~: • r',~,.r-..,;:' ... _
                                                                                                                                                '~ :~"~ _ ~                                    ~~                _.~--~',~:~•'~
                                                                                                                                     ~a         ~-~`?~
                                                                                                                                                rr_ ~-y. ; ;,,~,~   .-...~•~c^S%'~~
                                                                                                                                                                             a;~ ,• ! ,y ...~rt y: f"i .,rx~'4.t^..-4                  .ti. -.~
                                                                                                                                   J
                                                                                                                                   ^ ~y~,;.~'~m,i'   a,
                                                                                                                                                      '",i:~y'. ..s              '.:-w;.e`m,';<~=.'•~-yK, - ~ '_~~`-'.~:..      •.._'C: •_ ;•.~
                                               TY•: : ~, ^                                                                                                     • i . ! '•=n=t                                         ,~-a.:•.                  '.:
                         • / ;_. '~- ~- l'r•.                                                                                      .Y'-~ _~• .,4~1~~'•t~ ~.=            ~.rv'U-u  '. - '-~x• _i
                                                                                                                                                                                                 '='i~~
                                                                                                                                                                                                :'  ~     '.'',}k~   -C~'PU".:t•i+-.S-  w.'fy
                                                                                                                                                                                                                                           ~ v f_
                                                                                                                                                                                                                                               ;-
    , -'                               `y;,P                 ...4:.- - ..
                                                                                                                                          ' ';,~T:.a. 7~''7.?-.4iu?.- `^v,,;~.+:'•; ~~:
                                                                                                                                                                                     ¢ ~            -           , '. .~ `, _ :.'~.:.
                                                                                                                                                                                                     ~ ~'G ~..'.,`'^
       _'                    • ^             -                                                                                                                                                                                               •  ;_
                                                                                                                                       tV=~~;`z,~~
                                                                                                                                                                                         h y'•F;r...!_           ~                    ~r:.t'..
                           „~.~ 'ry,E''".,•r• f~`Y~L • , ✓Y' ~ ' - _ Q't`r~••      ' '.
                                     -              • ,;~~,•G.' `.l.''. t ~   `, ~ .
                                                 , _                        -
                                                        a                                                                                                                                                                             '' `~' y • ~.~~`:
                                         -              •'~+.                        • '1G'~..^~'y'•L'
                                                                                                   ~
                               1'
        '~ ;~;.-~~w4H~y`~. , ----~-=~-~'"•-
                 -~;~,.,..~                        'i',; s•:~; -                                                     `•.
                                  _^~rF     s,.           r _._•^,:'                                                   .
                            "r it         ~,:~t's,•~ .s•c~-r,                                                       :s..
                             k       -  . ~x~ri-
                                          '~ `~~ ~ ..   y ~~~V   •-.i
                                                                   L'~,                                                .
                                                                                                                     ~'s
                                           F i •t'4

I               r a'..~'       ~ .-lf                                              ~ •` :~`.'~.~n` '~.::^ .:.
  ,'~~< ~-+,~           •-a'AFt-'.                                                               EE y?^t
                                                                                    ~`•~ xl.,f{'•:~
      "~y'~        _       ,^:.s
~         (f~.~f~.~
    y+~~j7~~~ ~~~
~ya.-'l4~1.••..
     -                     . 'er.• 1
                 _ Yvn•n~'~~'a't                    _                    _ .
                                                                                     l_•         y
                                                                                 . . ~~ •~'. ~.,Y'~
                                                                                                 .̀   t.




              • ~`7~`jM.j~ S'%~               -^"S~ k .:i'
                                            I.̀'      •    t• ,;a -~  ~4`e:"~"~-'~"y.:                                                    ...~t"r* . , .t'.i~'':l'~'_.:.•.~y.-•;    -•        ..4       - C'^' '.. - .A,
                                                                                                                                                                                                        -.
                           •~.           i::.f~~.?~                                                                               :`~'   ...                 ~c. ~.:1~. ~ .:• ~ •.c`                       .p4. #:, , ; ..•„~;
             `Y' a.U",-'.~'.~••' -r~               r : •:+. v ^'.uf ~             r:~                                             ;~ ~ ^-'y+'1•~~-,~ .      _'"
                                                                                                                                                                         , .ri
                                                                                                                                                                             ~,',~'P':.-
                                                                                                                                                                                 ,.             ~.   .!~.`~
                                                                                                                                                                                           ~•.~"'.^,~``, =".~`'-•l~
                                                                                                                                                                                                                 . . t.'''Ri
                                  -t~`?F!~a .,-~'; r.w';i:~ ..                                                                                                             -~
                                      ~f ,f~"'r *# ••~           3 '~ '~ F C' "                                                                           .t
                                                                                                                                                   u,~• •,a      2'°.~                                  y:'~+
                                                                                                                                                                                                           ..r.~•.'~'. ,}' f
                                                                                                                                      .       -
                                                                                                                                                                                         .            '~t.       ~p ~x^`';
                                                              ~                                                                    '"~ ~ ' ~             `-`•`mt'r 'T^-!~~'~ x•J' •
                                                                                                                                        y^ ~a~- :_~.''`~:`                                                     ~^
                                                                                                                                              .e                        i.~L,t,.'h; ,' •} ?.~.                 :ti"~ a,+~-~'-
                                                                F- •L~ .                                ...
                                                                                          r~ ..~3-.~.i•2~1
                                                                  ~~..%~3!'~- , -        i~'!_-~                                      r       ~.:`.        - ~'3~                                               ~,~;~. ~ -                  h y,,' ~. v.`:
                                                                                                                                                                                                - ~~~i •                                   , _rl
                                                                                              w•
                                                                                                                                           ...'~, - i';`+;.        • Y.                     x -xi                               ~                   ~~
                                                                                                                                   r.C               ''     •   _      .                       •      +t        •    r e
                                                                                                                                    e->"y;:.:•r                            -•-;`,A..;.r;                     .~~                             .,Nt 't~. ,.~.,
                                                                                                                                        .'i:: vil;' . ~`~ •i~h-~,YL' • ' •    ;•: ^  "-•.-         J'     .          4v           .
                                                                                                                                                          •: -y;' . ^ s :'Sf'y.:; ~ 7:~ •,.. ::~~i~~ :9f -.i~, .',~:'
                                                                                                                                    ~.y: a'.-,~r.~~
                                                                                                                                             :{                        .,;;~p?..
                                                                                                                                                        •''t.' i't,:-•dr       r'f,,,...i,_           u` , I•         `                 .,;, jh~gl 1fi!
                                                                                                                                                                                                                                   ..,t~~yr._
                                                                                                                                  :                                                                            ^g                                     •~,
                                                                                                                                  a4.+ .            ~              r              •'ap;`                    . ..
                                                                                                                                  !Y      I"<:'-~ 1. : _........+~~yy
                                                                                                                                  ~.~~~~;(~;..                      - ,e ..;.'i~'...t...
                                                                                                                                                                             .. r+~r~ 4•`n;.•t•.,r  ~i..v:'.'::,.;•f:,•:'.c.i:`•,'~
                                                                                                                                                                                                                 `'l,•rs . ~Pv̀   ~' .'?~~~~




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                                                                                                                                                                                                              _        ~N.•,: h~•


~: :~             " ~~'' •        •1~' .:~                                                                                                                                                                  ..•},_ i..~'.i~                              ~:,•; r.
•'• _~.              .                  r~',~.,                                                                                                                                                                       .
                                              .
                                                                                ,a _       :r
                                                                         .. .,:•. ~ "r T✓r-...                                                                                      ~/           l "-';:. ~,'{               ; -••                         r:'-
C;,^        .~ •'4^ ,1..• ._ ., `e:.~•                                                                                                                                                          -l            • ~~   C,; J~;:7...-f~  `.:
                                                                                                                                                                                                                                        1
T* ~ lt
,t .                                     ,~•  ,..:.. . -'.•ew ^'"'-~ .r,y:.-~;+-+:.   ~{~s
                                                                            . • , _~.i.•.                                                                                   ;T`, ' ~~,.f:•~i~,..:c°"r
                                                                                                                                                                                                 't'•:f•     $:.:r.~..i~;      ~~i..'s
                                                                                                                                                                                                                                      . ,  .ti
                                                                                                                                                                                                                                             •`_~
~                                     ..         .       .,.           . . .         .,.. ~                                                                        -• ...;                                                                Z' .
`                                              ~~~•', t ~ r u;-                                                                                                   n`'~,.~✓.,:1_~..~~~^y3n.                       '- _•_•_ -,...,,_..q
     , ii^-             ~ ' •j'        _ ~•                                                                                                                                       .•~.^~.~~ ~..,: ~~~y-'ti- 4.nsc:.    ~?~~.~.~~'0.+ « n ..
                                                       1.. ~ ~c,t§ ~ i                                                                                   "z ,~ ~;r~,`'"• o:n'•x_`                  _. .                         -  ".~:..,:-~•    -, r'9w
                                                                                                                                                                                                                                                     .
                                            j
     ' I" w            '~                   4(•"'~       .1 • 'ti>.             ..                                                                   "_•..+T:       ~^l w•-,;.:~:r           ._s.•"i•      :~,:,~c  tiu'-r.'~.' 1,• ~.. - _F Y',"•
                                            {        ~
                                                       ~           .--•{                                                                                                             .                                    ft~':
                                         _~      ~
                                                 L _y.,..r
                                            j„~,~,x        „                i•. ~ _-~-3'                                               ;- ;`~         --~~~.:- '~^'    --i + :'t.~='-~'r'~~y~:-~~,
                                                                                                                                                                      'T                                                                                +>y ,1 '
        r~i             ;•      ~                                                                                                      : r ~ '~ t ;• -r,,. ::F
     s
                       . ,                 l     r ,
                                                - a=          ..6'.1>:                _                                                                                                 ~ ~ , >i .:- . .:• x,i"= i,.Y~
         , . ... .- -..-.,..~—~.    '`~                      • . , . . . ` _...                                                        4'%s';          .   ,., ..
                                                                                                                                       ,~ _ _ ~~.-- ~ ~._:~qq•':          --~-#~•J~'»i-    .i~   :
                                                                                                                                                                                 X'A :a~_ ~m'~^..4:h
                                                                                                                                                                                                .:         ' ~y.rr4.;;-~;~.-:;•:at ~ ;y d't                       t     _
                                                                                                                                                                           ,t'+..T."•L~._                                                  ,
                                                                                                                                        ;' f.: ~Y j '• ~ ^~✓,r` '>.,..•"' :`t-~^.;~                     _                         -+~, ~-
                                                                                                                                                                                                                                                                 /'
                                                                                                                                                                                                                           ~,~- _:.                                    _
                                                                   i,~r                              •      ,                          ~_n ~ _ ~~. 't: _`ye~r-4 ' i~'~~                   ,.~. ~,.
                                                                                                                                                                                                                      3':`• ."; c
                                                                                                                                                                                                                                  tit;,
.              ~       . _         , ry _           -•    ~,,,,,rn•.                                     ' . ,                         :.' .. ~ :•, • ~ . ,5•, -              x.~~+s•.:i~;_'-+;
                                                                                                                                                                                        ,:_
                                                                                                                                                                                                                   v.`ygr~t,.i
                                                                                                                                                                                                        i.. _ , r"'r                            .                      `.,
~                                                                                                                                             "M?"~~''9^r•:;+`.'..'!.a~' 'i.., :~, . ._.1J ,.+~. i~.~~~."r..~
                                                ~,,. ~                                                   , .         .     •           ~
                                                                                                                                       '   ^,~,~
                                                                                                                                               r~^ : i.f:-o«.;:~ S:sP.` ..•. ~x•.'...'. S-ir ':...y,y _.,r                       ~ . i .. ..•'•.
                                                                                                                                                                                                                                        . • ~
                                                 -- ~    ~                      •           _                '           '             '~-:y;~.~ _r;i~ -•-- ,_~'-~7*.~`,~+,c'                                                 cv .'~:'         • . .:J:`"•'+,,.`,......•..
                       .r'
                                  -r^
                                    .                                       '                    ,       i._,. _          .                                   r`Y,t'= ;•«-,tut,;.L`.~•t+v-,y..','~.`.... r"'z''




     '';..                        9;K4"~{~.~   ' ~ l ~-• .                                         •„                    -
        '          f~               '.'+~
                                        .T
                                           'i; r.:.;
                • . .:' _                ~       r.•J' .   ,
                                                                                               .~ :J}
                                                                                    `: ~.~.•t~~~,;  F.i.
      r.lr~                            '.                                                                        .
                                   . "'1.,,• •                                                                               -


                                          •~r~ .~;~~~.                                            • . `~-,,-~ .
                                        : . k.~ .' .. ~f.'- . ..                           "~`a ~~•sr.: >•.~a..
                                                    y~


                  +M~';;•• • ~ +i"c ~~' '1'.'* '7~ •, ~' S.
                ;.~                                                                        - - '~~
                         ~t~'~ ~   ~'• z`~.:~ ;,,••, _;^:'                                •-                       .
              •'~'":` ~ .-~,'       ~w•,~:~~ r. ; `                                         •.                            -
     ~:m
     a   .~. ,
             tl"''~."'                  . _ y.`!r-'sn :-'~'..~C-``',''St ••,     r-,'a+a .                    ,- _ ._
                                                                                                             •`.•
      c,, : x,y„~,,••                        •3',+~d .         !, }1:; .+ ~                              -      .
                                                       "~.~~            •-., , ti.i. ~                       ,t,~. •
     ~7 f." _'~;~ Y                     ~;




          ,
            r• -a r"^ x?';~r'...-'L•~t~,ry,y'y
                                          ' .- '                          k' ~~''` •" ~'~'
                    ys ~ ~                                                                                    ~'                                      ,r                                                                                      .f -.~"~•e5
        )]1
      .'l~{~~•                        ~ "Y ~~'                            Yi              ~ ~ n 7 ,s.:'L. '                                          .; .~ '...
                                                                                                                                                                 ~'C.
                                                                                                                                                                                                 -        _'?'
                                                                                                                                                                                                          ..              - ,.,',:`^`•.
                                                                                                                                                                                                                             r t , S. 'N"'~'`''"~~z'~          ~`
                                    V i~,p.d',                                   i •a        •M~." "3c                                                      i•~-{`~,:~           , ,                                    .....•                 f-.`^u:k,Y'~'a •
                                                                                                        i.'~'
                                                                                                           a~                                      .L:r~''w                                                                         .... .,.ur,•
                                                                               2 ~ ~~~x a                                                          `:'~'rvf '' .:'~• i •N                                                + .'"i';"•"'"`~9" ~••^-'~
     ~;ir~ •                      .\.;, :~'~~            ~~
                                                                                                                                                         '"i:i 1 p:-.7
                                                                                                                                                                      ~             .: ""`f.r,•i.                                                      . . ,tI
                                                                                                                                                                                                                                   „ "......,y'~".;.`~,"
       ,'
                                                                                        '
                                                                                     ~ j ~ ~ ~ •~. ~f ~                                       .                               ~'~•_,;",                                 ^~..~u;•
     ~                                                                                    P} ~> t .                                                              ri9~"n'; ^:~.:J~Nf.~~"           ~•.-         :       .                    I.1`       "•,~
                                                                                                                                                                                                                                                        '     "
          r                                                                                                                                • . ~ ` ,.~                    - Ic Firt~,,,,t.
                                                                                                                                                                                   cti         +.'t- ':_°>'. ~                                    •p"` r.1
                                                                                                                                                                                                                                                    ~j

     ;~~',:f.      _                                                                                . •0 .`• ~                                          ...~~x'..r a                         ^--"`::'_..,~_~
                                                                                                                                                                                       —t .,y.        -.«.•...~.~•.
                                                                                                                                                                                                                 ~~:.                  ••. :.••-y'  r~"
                                                                                                                                             •                 i i F tF'Yuw;                            " •          ~                   _ --
                                                                                                                                           ~ .~Y_-s~F~~~~
                                                                                                                                                                              ~y

                                                                                                                                                                                         r Yc'i}'tio`_   ,L+:..'.+trr~y
                                                                                                                                                         - 'a           ~;+ i.:y4'•..       w: ~a._:~:~ .                ,... •~`;i ''•:q ~i. `'yr••' •
                                                                                                                                           :NJ'1P''°•'.co-
                                                                                                                                                       r "Fr~ ~y:            r -~r:"F,}k~.•k    -'~ ~~ " ~`•~_.•. y' .~''`~`
                                                                                                                                                                                        sy.~:,:cP~t'...:.~a...                ' ..         e~ •:';">,._:~:-
                                                                                                                                                                                                                                                       .:_.. -~r.
                                                                                                                                                r. iY,~.~ •• ` t"' ;'        • ,~`'P:.; , . ~                    ' F'~. ~ y.•.,.  .'.. ". .. . .                ~
                       i                                                                                        rl                          s`~•~ ~r~ R t                                                          ~'~ ,                     t-r       "."" -' t `       ~+
                                                                                                                   qr                       !sa; r •r               y~       ~~ ~'~ ,' `~
                                                                                                                                                                         t t L,r . r~
         '~ •".~:,.~`
                ryks                                                                                                                                                                            r rt K                              ~+'~:
      ~6"'~'t;             5_'~'~x~~::~                                                                                                           r    . ,li~'7i~'f:• ~l~~~};';~                         ,~~:t!.. :. : " .::" '• • m:."'•-
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  ~+r",. '             t ;'•'^'~ : " .'s; :i'._ ` `                                    1...:."t~.a..                                                                                          ~              _
                                                                                                                                                                                            r~ , .'t~lr.'~-1.-                                                            ''
  ri~'.~'  .''T+a.,, e:^_..e7'!, ` : 'r:.'..'S.<
          ~,                                                                               • K. i ;               t~~_.•j~~,i..                                         •                                                      ;k~ .,..~''S 'iZ4~.-c- v               .~':~:: _p'  . ..
  f. f ' _ ti_1=.../. ` ~,l ~e'~_S• -                                                                      - - ~' •~•                                                     _                   .T~';, p'                  •,~                    . ,, .' i:.;?n'.
                                                                                                                                                                        ,i '.           -";;'u•i ~! .             r ••.       ., .,`~':AT..-v++~•.:::.            -•is'.''q"
                                ut
                                        ,                                                                                                                                                                                             '9:                   .    '~       Y• • s.~,'.4Y,t
            `r           ,-N       •        ;~'     ••'  ~  !..i  t                                                                   :., h:;y, t'S                                                 lF.=                 M
                                                                                                                                                                                                                                  4'
                      +-                ' .'~~,.,~• y",n+ ~                                                             ~ ..~~-)i•r..,_                                                                                     :.a~                        .^e''        ~
                R=                                                                                                                             ~            lr't~~ ~T ^,i:. ''i:'a`,`c,/T: r.c~ -.2er •:~~~ 2,-~t-a.                   •~+~'.,:;,`i~                     ..y'. ,,,;xM:.;
   o~            i.~_-~„•~~~~:                                                                                                            `-'r'                          :       ' •~;~'' . ,+,Fn,: :-::'+,•'_"~'                                     ~
                                                                                                                                                                                                                 : -• '•,i~..,..'. ,r~ j..,~:. ',.S'"•x.~-                   ' ; `:'~
   -•' M•i ~,'> ~i••' •f.E•t `x'ti,'"•~'4.ti~.i : :~M'~
                                                      ,tr~•..',;_~i'•`•
                                                                              -,r:S~ ..                                                                                                                                             .,:arffi.
                                                                                                                                                                                                                           AL:<~'ty;K                    ma~o. - ~ ' • ~ -           ~e,:.
                                             ':~.~. "  'x                   .a~.,.•T.,~.,
                                                                                   :;^;4•..  ::,?.                                                                                                                          ~~,~~;,~-
  ~~7.i,
                    .•:•`,~:.7~':i,:~r,              ] ~yw~;:--9i'1::L'+'r',•~t~.r.k                                                                                                     ~'                    ~7t~,                                              '` .
          1t!          ~ G.=+,~ - y '~'>C'34:11.+:•y.•~,~                e,~-             -'.'<--j.A: ,                                                                                                 ,. ~ _ ~ : x ~~";..:~'-
                                                                                                                                                                                                    • ~,~i"sr?.'•FA'             4.              F~•
    ~C„T,-4i~?~f~,,•fJ.             .`r'' ~''~r,;.:T:      {•f'I.i:',•'+..         Sk:A~O;•~t;•'     :`ir....~~~n
                                                                                                    '?`i`Y                                                  !~'-^                                    s.q.fG-Y', '4.ry.:. •~~_'
                                                                                                                                                                                                  .,t9,                                        •~'~:Y'° '~Y,^ r»y;.
    ,,:+~h ' ,•1r:         •✓ .                    • ~a
                                                      .'aE!:r' 1'^n'.Y..            :t~.;~ :/ `.!-       S •...                                                                                               ~-             i '~'                                   l~ _
                                                                                                                                                             {•^                              y,~
                                                                                                                                                                                                                                 • i, -           L-N  d:
    ?~'Q'                                                                                                                                                                   •C           - ✓.:~~
                                                                                                                                                                                             '%. •
                                                                 r• 4-: ( '~.a .`-1 , . ~
                                                                                                                                                                                                            ~ ~
                                                                                                                                                                                                        :.{.~.    ~                                 _'ti`.
   ~=                                              F.                                                                   ~F                                             ,y,.•:      ~ ~t.                                  •'bk.':i,'¢                          _
     .~r " at^`f,~-tk 1 J,t ~,F'eta                                                    ir                  '~r : ~:,47::             1;'~'t •                       _          ••,                _         ~ Q    :     :/.~}}     l    -   ~      . <7           -
       ~%~                             '~r        .•~ -o t                    •n1 4 .1r~f~ ~t y' *+•'4•.~ .,^~." '                                                             +¢,~ ~~                  r,~`h'e~ ~ti            L i        t~
                                                                                                                                                                                                                                            i.x ' r~'Y'r _               .
                                                                                                                                                                      µ                                                 y; .,t' .
    ;~^. r~;'                             ~}~~ri~;~s-;•::
                                           .L         ' ,~ j'        -:-.<;' i.,;f~•t
                                                                                    r    ,c:^
                                                                                       :^3      ,     ,,. _J3aT;!r•'
                                                                                                                   ;ti~.t1i':;:~_iF9:..f
                                                                                                                          ,                                                           ts..,•              r.Y{                              . Yp r ,.. _ ~, •
      yN~~                                                           ~ -.:~ ~ r~,~,                                     %
                                                                                                               _ r: -~f;..a..  .: ~:r..;.E;': ;'                              •,^'...•S,~'°~ ~                                                                       - ..
           .r„•
      '.-.~ , •                              ~=5~i'-'_1s,'av~                                                                                                  •_-s, `-       ~*                                   :;`..      '~,,..                       ~:`4,-. ~   ,
                                                r-̀.~^'~"Ty .,x~'v~ic`:f,~l.~.~~-)c:h~'~'.i-~~i=}~:                        r ......... :~J•. a:e'•-,::
                                                                                                                           ;+;•":.                                  ~                             4• , '+t••r~✓ ~
                                                                                                                                                                                                                                      ,~
                                                                                                                                                                                                                              '~•~~ ~;•
                                                                                                                                                                                                                                             ,             ,~~.
                                                                                                                                                                                                                                                                y'       y
                                                 :,.•       .              .          yn1"          rVt ~.. r•.~YI:•:t        ~       ..~..~rr._                  N4                          ~~`''@~".:`„~`iy/)
                                                                                                                                                                                            ta',
    ..a                                            ~ t ,.r
                                                   .... +.~..e~- _.:.<-^.~.~..,.
                                                                                                 y
                                                                                               .~'.~ L..~„J: ,r.7 ' 7ry.'::'~':~;
                                                                                                                           ....,.. rci7:.....
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